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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16640 ANDY GUY                                  VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.16641 ANDY GUY                                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.16642 ANDY GUY                                  VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.16643 ANDY OROPEZA                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.16644 ANDY OROPEZA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16645 ANDY OROPEZA                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.16646 ANDY OROPEZA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16647 ANEAL SHAH                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.16648 ANEAL SHAH                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.16649 ANEAL SHAH                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.16650 ANEAL SHAH                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.16651 ANEAL SHAH                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16652 ANEAR, KATHERINE                          VARIOUS                              Wildfire               UNDETERMINED
        7425 SHARP RD                                                                  Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16653 ANECITA BURQUEZ                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.16654 ANESTHESIA & ANALGESIA                    VARIOUS                              Wildfire               UNDETERMINED
        MEDICAL GROUP, INC.-HUCZKO,                                                    Litigation
        ERIC                            ACCOUNT NO.: NOT AVAILABLE
        2455 BENNETT VALLEY ROAD
        C219
        SANTA ROSA, CA 95404


3.16655 ANGEL ARNOLD                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.16656 ANGEL ARNOLD                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.16657 ANGEL ARNOLD                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.16658 ANGEL ARNOLD                              VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16659 ANGEL ARNOLD                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16660 ANGEL ARNOLD                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.16661 ANGEL ARTEAGA                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.16662 ANGEL GONZALEZ                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.16663 ANGEL GONZALEZ                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.16664 ANGEL GONZALEZ                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16665 ANGEL GONZALEZ                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.16666 ANGEL GONZALEZ                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16667 ANGELA A. CHAPMAN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16668 ANGELA A. CHAPMAN                         VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.16669 ANGELA A. CHAPMAN                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.16670 ANGELA A. CHAPMAN                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16671 ANGELA COKER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16672 ANGELA COKER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16673 ANGELA COKER                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.16674 ANGELA COKER                               VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.16675 ANGELA COKER                               VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.16676 ANGELA DAVIS                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16677 ANGELA DAVIS                               VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.16678 ANGELA DAVIS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16679 ANGELA DAVIS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16680 ANGELA DAVIS                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.16681 ANGELA GAITAN                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.16682 ANGELA GAITAN                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.16683 ANGELA GAITAN                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                     Litigation
        262319)DEBORAH S. DIXON           ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16684 ANGELA GAITAN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                 Litigation
        WALKUP, MELODIA, KELLY &          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16685 ANGELA GAITAN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16686 Angela Loo                                  VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.16687 ANGELA LOO                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16688 ANGELA LOO                                VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                       Litigation
        315962)TODD LOGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.16689 ANGELA LOO                                VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.16690 ANGELA PEREZ                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.16691 ANGELA PEREZ                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16692 ANGELA PEREZ                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.16693 ANGELA RODE                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.16694 ANGELA RODE                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.16695 ANGELA RODE                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16696 ANGELA RODE                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.16697 ANGELA RODE                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.16698 ANGELA WELCH                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.16699 ANGELA WELCH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16700 ANGELA WELCH                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.16701 ANGELA WELCH                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.16702 ANGELA WYNACHT                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16703 ANGELA WYNACHT                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.16704 ANGELENA RUFFONI                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.16705 ANGELENA RUFFONI                         VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.16706 ANGELICA CASTILLO RIZO                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.16707 ANGELICA CASTILLO RIZO                   VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.16708 ANGELICA CASTILLO RIZO                   VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.16709 ANGELINA HUNG                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16710 ANGELINA HUNG                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.16711 ANGELINA HUNG                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.16712 ANGELINA HUNG                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.16713 ANGELINA KOHLER                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.16714 ANGELINA KOHLER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16715 ANGELINA KOHLER                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.16716 ANGELINA KOHLER                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16717 ANGELINA MURPHY                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.16718 ANGELINA MURPHY                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.16719 ANGELINA MURPHY                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16720 ANGELINA MURPHY                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16721 ANGELINA MURPHY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16722 ANGELINA YARNAL                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16723 ANGELINA YARNAL                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.16724 ANGELIQUE ANTONICH                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.16725 ANGELIQUE ANTONICH                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.16726 ANGELIQUE ANTONICH                       VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16727 ANGELIQUE ANTONICH                       VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.16728 ANGELIQUE ANTONICH                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.16729 ANGELO BELLIZI                          VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                              Litigation
        EDGAR LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.16730 ANGELO BELLIZI                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.16731 ANGELO SNEAD                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.16732 ANGELO SNEAD                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                       Litigation
        SHEARJASON BOYER              ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.16733 ANGELO SNEAD                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16734 ANGELO SNEAD                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16735 ANGELO SNEAD                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16736 ANGIE ORREGO-RAZO                          VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                              Litigation
        DANIELS LAW                      ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.16737 ANGIE ORREGO-RAZO                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16738 ANGIE ORREGO-RAZO                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16739 ANGIE ORREGO-RAZO                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES A. SARRAIL, ESQ.                                                          Litigation
        (SBN43075) MONICA                ACCOUNT NO.: NOT AVAILABLE
        CASTILLO, ESQ. (SBN 146154)
        SARRAIL, CASTILLO & HALL, LLP
        111 ANZA BLVD., SUITE 203
        BURLINGAME, CA 94010


3.16740 ANGIE ORREGO-RAZO                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16741 ANGLE, ELIZABETH                         VARIOUS                              Wildfire               UNDETERMINED
        2412 BUTTON COURT                                                             Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.16742 ANGUIANO, ELIZABETH                      VARIOUS                              Wildfire               UNDETERMINED
        1393 LANCE DRIVE                                                              Litigation
        SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.16743 ANGUS FISHER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.16744 ANGUS FISHER                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.16745 ANGUS FISHER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.16746 ANGUS FISHER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16747 ANH NGUYET HUYNH                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.16748 ANH NGUYET HUYNH                         VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.16749 ANIES, ROBERT                            VARIOUS                              Wildfire               UNDETERMINED
        4750 PONDEROSA DRIVE                                                          Litigation
        SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.16750 ANIL ARORA                               VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.16751 ANIL ARORA                               VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.16752 ANIL ARORA                               VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.16753 ANIMO L.P.                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.16754 ANISH KHIROYA                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                  Litigation
        116060RAHUL RAVIPUDI,         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.16755 ANISH KHIROYA                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                    Litigation
        NO. 100077                    ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.16756 ANISH KHIROYA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                  Litigation
        NO. 71460                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.16757 ANITA ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16758 ANITA ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16759 ANITA ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16760 ANITA ANDERSON                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.16761 ANITA ANDERSON                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.16762 ANITA CRANDALL                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.16763 ANITA CRANDALL                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                     Litigation
        SBN: 110909ANDREA R.           ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16764 ANITA CRANDALL                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16765 ANITA CRANDALL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16766 ANITA CRANDALL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16767 ANITA FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16768 ANITA FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                        Litigation
        81867                            ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.16769 ANITA FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        JEREMIAH F. HALLISEY (SBN                                                       Litigation
        40001)KAREN J. CHEDISTER         ACCOUNT NO.: NOT AVAILABLE
        (SBN 99473)
        HALLISEY AND JOHNSON, P.C.
        465 CALIFORNIA STREET, SUITE
        405
        SAN FRANCISCO, CA 94104-1812


3.16770 ANITA FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANCIS O. SCARPULLA (SBN                                                       Litigation
        41059)PATRICK B. CLAYTON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 240191)
        LAW OFFICES OF FRANCIS O.
        SCARPULLA
        456 MONTGOMERY STREET,
        17TH FLOOR
        SAN FRANCISCO, CA 94104


3.16771 ANITA JEAN MARTIN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16772 ANITA JEAN MARTIN                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.16773 ANITA JEAN MARTIN                        VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.16774 ANITA JEAN MARTIN                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.16775 ANITA ROMANO                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16776 ANITA ROMANO                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.16777 ANITA ROMANO                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16778 ANITA ROMANO                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.16779 ANITA ROMANO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16780 ANN A. HANKES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16781 ANN A. HANKES                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.16782 ANN A. HANKES                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.16783 ANN A. HANKES                            VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16784 ANN BLYTHE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16785 ANN BLYTHE                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16786 ANN BLYTHE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16787 ANN BLYTHE                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.16788 ANN BLYTHE                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.16789 ANN I. HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16790 ANN I. HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.16791 ANN I. HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.16792 ANN I. HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.16793 ANN MARIE AUGUST                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16794 ANN MARIE AUGUST                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16795 ANN MARIE AUGUST                         VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16796 ANN MARIE AUGUST                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16797 ANN MARIE AUGUST                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16798 ANN MARIE HEIDINGSFELDER                   VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                 Litigation
        EDGAR LAW FIRM                   ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.16799 ANN MARIE HEIDINGSFELDER                   VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                        Litigation
        BRYSONKEVIN M. POLLACK           ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.16800 ANN MARIE IMBRIE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16801 ANN MARIE IMBRIE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16802 ANN MARIE IMBRIE                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.16803 ANN MARIE IMBRIE                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.16804 ANN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228BRETT R. PARKINSON,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.16805 ANN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.16806 ANN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16807 ANN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.16808 ANN NICHOLS                                   VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR.KEVIN                                                         Litigation
        CALCAGNIESHANNON                    ACCOUNT NO.: NOT AVAILABLE
        LUKEILILA RAZMARA
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.16809 ANN WEIGT                                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.16810 Ann Weigt                                     VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.16811 ANNA GEORGIEVA                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                   Litigation
        WALKUP, MELODIA, KELLY &            ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16812 ANNA GEORGIEVA                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                              Litigation
        SINGLETONERIKA L.                   ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.16813 ANNA GEORGIEVA                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                  Litigation
        DREYER BABICH BUCCOLA               ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.16814 ANNA GEORGIEVA                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16815 ANNA GEORGIEVA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.16816 ANNA HILL                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.16817 ANNA HILL                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.16818 ANNA JANKO                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16819 ANNA JANKO                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                    Litigation
        SBN: 110909ANDREA R.          ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16820 ANNA JANKO                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16821 ANNA JANKO                                 VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.16822 ANNA JANKO                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16823 ANNA L JONES                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16824 ANNA L JONES                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16825 ANNA L JONES                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.16826 ANNA L JONES                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.16827 ANNA L JONES                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.16828 ANNA M VARGAS                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16829 ANNA M VARGAS                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16830 ANNA M VARGAS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.16831 ANNA M VARGAS                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16832 ANNA M VARGAS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16833 ANNA M. GETZ                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16834 ANNA M. GETZ                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.16835 ANNA M. GETZ                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.16836 ANNA M. GETZ                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.16837 ANNA ORTEGA                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16838 ANNA ORTEGA                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.16839 ANNA ORTEGA                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.16840 ANNA SPIRLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.16841 ANNA SPIRLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.16842 ANNA SPIRLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.16843 ANNA SPIRLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16844 ANNABELLE SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16845 ANNABELLE SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16846 ANNABELLE SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16847 ANNABELLE SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.16848 ANNABELLE SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16849 ANNAMARIE HAEMMERLE                        VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                     Litigation
        248092)JACK W. WEAVER,           ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.16850 ANNAMARIE HAEMMERLE                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.16851 ANNAMARIE HAEMMERLE                         VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                        Litigation
        (SBN 99126)NATASHA N.             ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.16852 ANNAMARIE HAEMMERLE                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                      Litigation
        9858)JESSICA W. HAYES.,           ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.16853 ANNE BINSTOCK, INDIVIDUALLY                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                       Litigation
        111359KRISTINE K.                 ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.16854 ANNE BINSTOCK, INDIVIDUALLY                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                             Litigation
        178658DYLAN HUGHES- BAR           ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.16855 Anne Binstock, Individually                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                      Litigation
        126782Amanda L. Riddle - Bar      ACCOUNT NO.: NOT AVAILABLE
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16856 ANNE BINSTOCK, INDIVIDUALLY              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16857 ANNE BRISGEL                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.16858 ANNE ELIZABETH DAHLGREN                  VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.16859 ANNE ELIZABETH DAHLGREN                  VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.16860 ANNE K. MATTHEWS                         VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                     Litigation
        BAR #104975)                   ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.16861 ANNE K. MATTHEWS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16862 ANNE KIDD                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16863 ANNE KIDD                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16864 ANNE KIDD                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16865 ANNE KIDD                                  VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.16866 ANNE KIDD                                  VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.16867 ANNE M THOMPSON                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16868 ANNE M THOMPSON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.16869 ANNE M THOMPSON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16870 ANNE M THOMPSON                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.16871 ANNE M THOMPSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16872 ANNE M. GORIS                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.16873 ANNE TONDOW                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.16874 ANNE TONDOW                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16875 ANNE TONDOW                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.16876 ANNE W. OLIVER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.16877 ANNE W. OLIVER                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.16878 ANNE W. OLIVER                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.16879 ANNELISE B HUPPERT                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.16880 ANNELISE B HUPPERT                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16881 ANNELISE B HUPPERT                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.16882 ANNELISE B HUPPERT                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16883 ANNELISE B HUPPERT                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16884 ANNELLE C. FLORES                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16885 ANNELLE C. FLORES                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16886 ANNELLE C. FLORES                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.16887 ANNELLE C. FLORES                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                      Litigation
        DOMENIC MARTINI              ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16888 ANNELLE C. FLORES                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16889 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16890 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.16891 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.16892 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.16893 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16894 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16895 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16896 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16897 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16898 ANNETTE ESTES                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.16899 ANNETTE PETERS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.16900 ANNETTE PETERS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16901 ANNETTE PETERS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16902 ANNETTE PETERS                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.16903 ANNETTE RANDOL                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.16904 ANNETTE RANDOL                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.16905 ANNETTE TUGGLE                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.16906 ANNETTE TUGGLE                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.16907 ANNETTE TUGGLE                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.16908 ANNETTE TUGGLE                         VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.16909 ANNETTE TUGGLE                         VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                  Litigation
        HANSEN & MILLER LAW FIRM     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.16910 ANNIE BRODIE                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16911 ANNIE BRODIE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16912 ANNIE BRODIE                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                Litigation
        262319)DEBORAH S. DIXON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16913 ANNIE BRODIE                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.16914 ANNIE BRODIE                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.16915 ANNIKA NOELLE MUSER                      VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.16916 ANNIKA NOELLE MUSER                      VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.16917 ANNIKA NOELLE MUSER                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16918 ANNIKA NOELLE MUSER                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16919 ANNIKA NOELLE MUSER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16920 ANTANAS (TONY) AUDRONIS                    VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16921 ANTANAS (TONY) AUDRONIS                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16922 ANTANAS (TONY) AUDRONIS                    VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                    Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.16923 ANTANAS (TONY) AUDRONIS                    VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.16924 ANTANAS (TONY) AUDRONIS                    VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16925 ANTHONY ARANDA                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16926 ANTHONY ARANDA                             VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.16927 ANTHONY ARANDA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.16928 ANTHONY ARANDA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16929 ANTHONY ARANDA                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.16930 ANTHONY BAIROS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.16931 ANTHONY BAIROS                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.16932 ANTHONY BAIROS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.16933 ANTHONY BAIROS                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.16934 ANTHONY CARUSO                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.16935 ANTHONY CARUSO                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.16936 ANTHONY CARUSO                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.16937 ANTHONY CELENTANO                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.16938 Anthony Celentano                             VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.16939 ANTHONY FIGUEROA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                               Litigation
        178658DYLAN HUGHES- BAR             ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.16940 ANTHONY FIGUEROA                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                        Litigation
        126782AMANDA L. RIDDLE -            ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.16941 ANTHONY FIGUEROA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                         Litigation
        111359KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.16942 ANTHONY FIGUEROA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16943 ANTHONY FLORES                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                         Litigation
        D. EDWARDS                       ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.16944 ANTHONY FLORES                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                       Litigation
        DAVISKEVIN M.                    ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.16945 ANTHONY FLORES                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16946 ANTHONY FLORES                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.16947 ANTHONY FLORES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.16948 ANTHONY FLORES                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                    Litigation
        SBN: 110909ANDREA R.          ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16949 ANTHONY FLORES                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16950 ANTHONY GANTER                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.16951 ANTHONY GOMEZ                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                     Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.16952 ANTHONY HARRIS                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16953 ANTHONY HARRIS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.16954 ANTHONY HARRIS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.16955 ANTHONY JAMES                            VARIOUS                              Wildfire               UNDETERMINED
        WORTHINGTON                                                                   Litigation
        MICHAEL A. KELLYKHALDOUN       ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16956 ANTHONY JAMES                            VARIOUS                              Wildfire               UNDETERMINED
        WORTHINGTON                                                                   Litigation
        ERIC RATINOFF, ESQ., #166204   ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP.
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.16957 ANTHONY JAMES                            VARIOUS                              Wildfire               UNDETERMINED
        WORTHINGTON                                                                   Litigation
        ROBERT W. JACKSON, ESQ.,       ACCOUNT NO.: NOT AVAILABLE
        #117228
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.16958 ANTHONY JAMES                           VARIOUS                              Wildfire               UNDETERMINED
        WORTHINGTON                                                                  Litigation
        RUSSELL REINER, ESQ. #84461   ACCOUNT NO.: NOT AVAILABLE
         REINER, SLAUGHTER &
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.16959 ANTHONY JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16960 ANTHONY JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16961 ANTHONY JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.16962 ANTHONY JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16963 ANTHONY JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16964 ANTHONY KANG                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16965 ANTHONY KANG                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.16966 ANTHONY KANG                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.16967 ANTHONY KANG                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.16968 ANTHONY M. SALZARULO                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.16969 ANTHONY M. SALZARULO                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16970 ANTHONY M. SALZARULO                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16971 ANTHONY M. SALZARULO                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16972 ANTHONY M. SALZARULO                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16973 ANTHONY MEDWAY                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.16974 ANTHONY MEDWAY                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.16975 ANTHONY MEDWAY                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.16976 ANTHONY MEDWAY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16977 ANTHONY MEDWAY                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16978 ANTHONY N. SPENCER                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.16979 ANTHONY N. SPENCER                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16980 ANTHONY N. SPENCER                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.16981 ANTHONY N. SPENCER                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                      Litigation
        DOMENIC MARTINI              ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.16982 ANTHONY N. SPENCER                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16983 ANTHONY NARDUCCI                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.16984 ANTHONY NARDUCCI                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.16985 ANTHONY PAUL LOPEZ                       VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.16986 ANTHONY PAUL LOPEZ                       VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.16987 ANTHONY PAUL LOPEZ                       VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.16988 ANTHONY PERLISS                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.16989 ANTHONY PERLISS                         VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.16990 ANTHONY PERLISS                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.16991 ANTHONY R TERRANO                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.16992 ANTHONY R TERRANO                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.16993 ANTHONY R TERRANO                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.16994 ANTHONY R TERRANO                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.16995 ANTHONY R TERRANO                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.16996 ANTHONY ROSA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.16997 ANTHONY ROSA                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.16998 ANTHONY ROSA                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.16999 ANTHONY ROSA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17000 ANTHONY RUDICK                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17001 ANTHONY RUDICK                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17002 ANTHONY RUDICK                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17003 ANTHONY RUDICK                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17004 ANTHONY SANCHEZ                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17005 ANTHONY SANCHEZ                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.17006 ANTHONY SANCHEZ                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17007 ANTHONY SANCHEZ                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.17008 ANTHONY SANCHEZ                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17009 ANTHONY SANCHEZ                          VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.17010 ANTHONY SARTO                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17011 ANTHONY SARTO                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.17012 ANTHONY SARTO                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17013 ANTHONY SARTO                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17014 ANTHONY SARTO                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.17015 ANTHONY SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17016 ANTHONY SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17017 ANTHONY TREE                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17018 ANTHONY TREE                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17019 ANTHONY TREE                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17020 ANTHONY TREE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17021 ANTHONY TYLER MUSCO                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17022 ANTHONY TYLER MUSCO                        VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.17023 ANTHONY TYLER MUSCO                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17024 ANTHONY TYLER MUSCO                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17025 ANTHONY TYLER MUSCO                      VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.17026 ANTHONY VALENCIA                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.17027 ANTHONY VALENCIA                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17028 ANTHONY VALENCIA                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17029 ANTHONY VALENCIA                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.17030 ANTHONY VALENCIA                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.17031 ANTHONY VILLASANA                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                               Litigation
        VICE PENDINGTEXAS BAR NO.            ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.17032 ANTHONY VILLASANA                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                        Litigation
        BAR #1999994) (PRO HAE VICE          ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.17033 ANTHONY VILLASANA                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17034 ANTHONY VILLASANA                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                        Litigation
        262319)DEBORAH S. DIXON              ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17035 ANTHONY VILLASANA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17036 Antoinette Tarkhanian                          VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17037 ANTOINETTE TARKHANIAN                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.17038 ANTOINETTE TARKHANIAN                    VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.17039 ANTON TERENCE RYAN                       VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17040 ANTON TERENCE RYAN                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17041 ANTON TERENCE RYAN                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17042 ANTON TERENCE RYAN                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17043 ANTONI JACOB                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17044 ANTONI JACOB                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17045 ANTONI JACOB                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17046 ANTONI JACOB                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17047 ANTONIO GRIEGO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17048 ANTONIO GRIEGO                             VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.17049 ANTONIO GRIEGO                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.17050 ANTONIO GRIEGO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17051 ANTONIO GRIEGO                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17052 ANTONIO LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17053 ANTONIO LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17054 ANTONIO MOJICA HERNANDEZ                VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17055 ANTONIO ORTIZ                           VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                           Litigation
        ESQJENNIFER L. FIORE, ESQ     ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.17056 ANTONIO RAMIREZ                         VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                              Litigation
        EDGAR LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.17057 ANTONIO RAMIREZ                         VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17058 ANTONIO RAY OLVERA                      VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17059 ANTONIO RAY OLVERA                      VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17060 ANTONIO RAY OLVERA                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17061 ANTONIO RAY OLVERA                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17062 ANTONIO RAY OLVERA                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17063 ANTONIO RIVERA                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17064 ANTONIO SANCHEZ                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17065 ANTONIO SANCHEZ                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17066 ANTONIO SANTANA                          VARIOUS                              Wildfire               UNDETERMINED
        VALLADARES                                                                    Litigation
        RYAN L. THOMPSONPAIGE          ACCOUNT NO.: NOT AVAILABLE
        BOLDT
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17067 ANTONIO SANTANA                          VARIOUS                              Wildfire               UNDETERMINED
        VALLADARES                                                                    Litigation
        JOHN COX                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17068 ANTONIO SANTANA                          VARIOUS                              Wildfire               UNDETERMINED
        VALLADARES                                                                    Litigation
        ROY MILLER                     ACCOUNT NO.: NOT AVAILABLE
        HANSEN AND MILLER LAW FINN
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17069 ANTONY MCCLUNG                           VARIOUS                              Wildfire               UNDETERMINED
        LOUISE H. RENNEGEOFFREY                                                       Litigation
        SPELLBERGALEX LEMBERG          ACCOUNT NO.: NOT AVAILABLE
        RENNE PUBLIC LAW GROUP
        350 SANSOME STREET, SUITE
        300
        SAN FRANCISCO, CALIFORNIA
        94104


3.17070 ANUTHA TKO PRODUCTIONS                   VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                         Litigation
        SIMMONS                        ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17071 ANUTHA TKO PRODUCTIONS                    VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17072 ANUTHA TKO PRODUCTIONS                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17073 ANUTHA TKO PRODUCTIONS                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.17074 ANZHELA NELSON                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17075 APALLAS, CHRIS                            VARIOUS                              Wildfire               UNDETERMINED
        4050 SILVERADO TRAIL                                                           Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.17076 APL BAKERY CO BARIADELLI                  VARIOUS                              Wildfire               UNDETERMINED
        PIZZA CO, SALOMON, PIERRE                                                      Litigation
        3320 COFFEY LANE                ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.17077 APOLINAR REYES                            VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE, ESQ       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104




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Creditor's Name, Mailing Address                Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.17078 APPLE TREE VILLAGE, LLC, A                       VARIOUS                              Wildfire               UNDETERMINED
        CALIFORNIA LIMITED LIABILITY                                                          Litigation
        COMPANY                                ACCOUNT NO.: NOT AVAILABLE
        RICHARD L. HARRIMAN
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.17079 Apple Tree Village, LLC, A                       VARIOUS                              Wildfire               UNDETERMINED
        California Limited Liability Company                                                  Litigation
        Frank M. Pitre (SBN                    ACCOUNT NO.: NOT AVAILABLE
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010


3.17080 APPLE TREE VILLAGE, LLC, A                       VARIOUS                              Wildfire               UNDETERMINED
        CALIFORNIA LIMITED LIABILITY                                                          Litigation
        COMPANY                                ACCOUNT NO.: NOT AVAILABLE
        BRIANJ. PANISH (SBN 116060)
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.17081 APPLE TREE VILLAGE, LLC, A                       VARIOUS                              Wildfire               UNDETERMINED
        CALIFORNIA LIMITED LIABILITY                                                          Litigation
        COMPANY                                ACCOUNT NO.: NOT AVAILABLE
        MICHAELA. KELLY (SBN 71460)
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17082 APPLEBY, RUTH                                    VARIOUS                              Wildfire               UNDETERMINED
        1941 YOUNTVILLE CROSS RD                                                              Litigation
        YOUNTVILLE, CA 94599                   ACCOUNT NO.: NOT AVAILABLE


3.17083 APRIL AXBERG                                     VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                                   Litigation
        THOMPSONPAIGE BOLDT                    ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17084 APRIL AXBERG                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.17085 APRIL MANTON                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                      Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104


3.17086 APRIL MANTON                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                       Litigation
        E. DAVIS KEVIN M. OSBORNE      ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.17087 APRIL MCCOLLUM                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17088 APRIL MCCOLLUM                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17089 APRIL MCCOLLUM                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17090 APRIL MCCOLLUM                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17091 APRIL MCCOLLUM                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.17092 APRIL MIYAZAKI                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17093 APRIL MIYAZAKI                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17094 APRIL MIYAZAKI                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17095 APRIL ROSENSTIEL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17096 APRIL ROSENSTIEL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17097 APRIL ROSENSTIEL                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17098 APRIL ROSENSTIEL                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17099 APRIL TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17100 APRIL TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17101 APRIL TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17102 APRIL TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17103 AQUINO, GLEN                             VARIOUS                              Wildfire               UNDETERMINED
        1598 BECKY COURT                                                              Litigation
        #25                            ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.17104 ARCH INSURANCE COMPANY                   VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                       Litigation
        JANG & ASSOCIATES LLP          ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17105 ARCH INSURANCE COMPANY                   VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                        Litigation
        REGANDAVID D. BRISCO           ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17106 ARCH INSURANCE COMPANY                   VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                              Litigation
        COZEN O'CONNOR                 ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.17107 AREIN KUMAR                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                     Litigation
        NO. 100077                     ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17108 AREIN KUMAR                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                  Litigation
        116060RAHUL RAVIPUDI,         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.17109 AREIN KUMAR                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                  Litigation
        NO. 71460                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.17110 ARELLANO, ALBERTO                       VARIOUS                              Wildfire               UNDETERMINED
        909 GLENWOOD DR                                                              Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.17111 ARELLANO, BERTHA                        VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 752                                                                 Litigation
        BOYES HOT SPRINGS, CA 95416   ACCOUNT NO.: NOT AVAILABLE


3.17112 AREVALOS, GUILLERMINA                   VARIOUS                              Wildfire               UNDETERMINED
        3400 BAXTER AVENUE APT 1                                                     Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.17113 AREYAN, JEANINE                         VARIOUS                              Wildfire               UNDETERMINED
        2829 APACHE ST                                                               Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.17114 ARGO GLOBAL LONDON                      VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                       Litigation
        REGANDAVID D. BRISCO          ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17115 ARGO GLOBAL LONDON                      VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                      Litigation
        JANG & ASSOCIATES LLP         ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17116 ARGO GLOBAL LONDON                      VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                             Litigation
        COZEN O'CONNOR                ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.17117 ARGO INTERNATIONAL                      VARIOUS                              Wildfire               UNDETERMINED
        HOLDINGS LIMITED                                                             Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17118 ARGO INTERNATIONAL                      VARIOUS                              Wildfire               UNDETERMINED
        HOLDINGS LIMITED                                                             Litigation
        HOWARD D. MAYCON              ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.17119 ARGO INTERNATIONAL                      VARIOUS                              Wildfire               UNDETERMINED
        HOLDINGS LIMITED                                                             Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17120 ARI MECHLES                             VARIOUS                              Wildfire               UNDETERMINED
        VICTOR                                                                       Litigation
        JACOBELLISSTEPHANIE POLI      ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17121 ARI MECHLES                                VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                       Litigation
        SIMES RACHEL B.                  ACCOUNT NO.: NOT AVAILABLE
        ABRAMSAMY ESKINMEGHAN
        E. MCCORMICK
        LEVIN SIMES LLP
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.17122 ARI SEMERIA                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17123 ARI SEMERIA                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17124 ARI SEMERIA                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17125 ARI SEMERIA                                VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.17126 ARI SEMERIA                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17127 ARIANNA BRAZELL                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17128 ARIANNA BRAZELL                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17129 ARIANNA BRAZELL                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17130 ARIANNA BRAZELL                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17131 ARIANNA RAEBEL-SEARCY                    VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17132 ARIANNA RAEBEL-SEARCY                    VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17133 ARIC BARRETT                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17134 ARIC BARRETT                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.17135 ARIEL VINAS                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17136 ARIEL VINAS                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17137 ARIEL VINAS                              VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17138 ARIEL, STACEY                            VARIOUS                              Wildfire               UNDETERMINED
        4000 ALTA VISTA AVENUE                                                        Litigation
        SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.17139 ARIELE ROSTAMO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17140 ARIELE ROSTAMO                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17141 ARIELE ROSTAMO                           VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17142 ARIELE ROSTAMO                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17143 ARKO, NATALIE                            VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 4042                                                                   Litigation
        OROVILLE, CA 95965             ACCOUNT NO.: NOT AVAILABLE


3.17144 ARLEN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17145 ARLENE A. JAVELLANA                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17146 ARLENE A. JAVELLANA                      VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                     Litigation
        BAR #104975)                   ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.17147 ARLENE GREENAMYRE                        VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17148 ARLENE HOLLINGHURST                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17149 ARLENE HOLLINGHURST                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17150 ARLENE HOLLINGHURST                      VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.17151 ARLENE HOLLINGHURST                      VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.17152 ARLENE PHLEAN                                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                            Litigation
        NO. 197687)                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.17153 Arlene Phlean                                  VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                        Litigation
        application anticipated)Guy Watts    ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.17154 ARLENE VAN METER                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                                Litigation
        296101)ROBERT T. BRYSON              ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17155 ARLINE AMIS                                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17156 Arline Amis                                    VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669

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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17157 ARLINE AMIS                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.17158 ARMAND MAASKAMP                          VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDSJASON B.             ACCOUNT NO.: NOT AVAILABLE
        FRIEDMAN
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.17159 ARMAND MAASKAMP                          VARIOUS                              Wildfire               UNDETERMINED
        THE ARNS LAW FIRM                                                             Litigation
        ROBERT S. ARNS                 ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.17160 ARMAND SILVA                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17161 ARMAND SILVA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17162 ARMAND SILVA                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17163 ARMAND SILVA                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17164 ARMAND SILVA                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17165 ARMANDO A. BERRIZ                       VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PIT RE, STATE BAR                                                   Litigation
        NO. 100077                    ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.17166 ARMANDO A. BERRIZ                       VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                  Litigation
        116060RAHUL RAVIPUDI,         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.17167 ARMANDO A. BERRIZ                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                  Litigation
        NO. 71460KHALDOUN A.          ACCOUNT NO.: NOT AVAILABLE
        BAGHDADI, STATE BAR NO.
        190111
        WALKUP, MELODIA , KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17168 ARMANDO J. BERRIZ                       VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                    Litigation
        NO. 100077                    ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.17169 ARMANDO J. BERRIZ                       VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                  Litigation
        116060RAHUL RAVIPUDI,         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.17170 ARMANDO J. BERRIZ                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                  Litigation
        NO. 71460                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.17171 ARMANDO RUIZ                            VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                           Litigation
        ESQJENNIFER L. FIORE,         ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.17172 ARMANDO VENTURA                         VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.17173 ARMED FORCES INSURANCE                     VARIOUS                              Wildfire               UNDETERMINED
        EXCHANGE                                                                        Litigation
        TERRY SINGLETON, ESQ. (SBN      ACCOUNT NO.: NOT AVAILABLE
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17174 ARMED FORCES INSURANCE                     VARIOUS                              Wildfire               UNDETERMINED
        EXCHANGE                                                                        Litigation
        AHMED S. DIAB (SBN 262319)      ACCOUNT NO.: NOT AVAILABLE

       DEBORAH S. DIXON (SBN
       248965) ROBERT J.
       CHAMBERS II (SBN 244688)
       DIXON DIAB & CHAMBERS LLP
       501 W. BROADWAY, SUITE 800
       SAN DIEGO, CA 92101


3.17175 Armed Forces Insurance Exchange             VARIOUS                             Wildfire               UNDETERMINED
        Zachary P. Marks (SBN                                                           Litigation
        284642)Paul A. Casetta (Pro Hac     ACCOUNT NO.: NOT AVAILABLE
        Pending)Alan B. McMaster (Pro
        Hae Pending)Jarett M. Smith (Pro
        Hae Pending)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, California 90067


3.17176 Armed Forces Insurance Exchange             VARIOUS                             Wildfire               UNDETERMINED
        Paul A. Casetta (Pro Hac                                                        Litigation
        Pending)Alan B. McMaster (Pro       ACCOUNT NO.: NOT AVAILABLE
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CA 90067


3.17177 ARMED FORCES INSURANCE                     VARIOUS                              Wildfire               UNDETERMINED
        EXCHANGE                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17178 ARMED FORCES INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        EXCHANGE                                                                      Litigation
        JOHN F. MCGUIRE, JR., ESQ.     ACCOUNT NO.: NOT AVAILABLE
        (SBN 69176) IAN C.
        FUSSELMAN, ESQ. (SBN 198917)

       BRETT J. SCHREIBER, ESQ.
       (SBN 239707)
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH AVENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.17179 ARMSTRONG, DENNIS                        VARIOUS                              Wildfire               UNDETERMINED
        2133 MONTICELLO RD                                                            Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.17180 ARNOLD, CAROL                            VARIOUS                              Wildfire               UNDETERMINED
        1518 GREAT HERON DR                                                           Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.17181 ARONSON, REGINA                          VARIOUS                              Wildfire               UNDETERMINED
        837 MARTY DRIVE                                                               Litigation
        GLEN ELLEN, CA 95442           ACCOUNT NO.: NOT AVAILABLE


3.17182 ARPAD FEJES                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                     Litigation
        SBN: 110909ANDREA R.           ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17183 ARPAD FEJES                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17184 ARPAD FEJES                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17185 ARPAD FEJES                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17186 ARPAD FEJES                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17187 ARREGUIN, HERMINIA                         VARIOUS                              Wildfire               UNDETERMINED
        500 AIRPORT BLVD                                                                Litigation
        APT #2                           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.17188 ARRIE ELAINE MARIE LUDLOW                  VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                      Litigation
        167700STEVEN S. KANE, ESQ.,      ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.17189 ARRIE ELAINE MARIE LUDLOW                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17190 ARRIE ELAINE MARIE LUDLOW                  VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228BRETT R. PARKINSON,       ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17191 ARRIE ELAINE MARIE LUDLOW               VARIOUS                              Wildfire               UNDETERMINED
        ARA JABAGCHOURIAN                                                            Litigation
        LAW OFFICES OF ARA            ACCOUNT NO.: NOT AVAILABLE
        JABAGCHOURIAN, P.C.
        1650 S. AMPHLETT BOULEVARD,
        SUITE 216
        SAN MATEO, CA 94402


3.17192 ARROYO, LUIS                            VARIOUS                              Wildfire               UNDETERMINED
        7148 SILVERADO TRL                                                           Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.17193 ARTHUR BARRA                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17194 ARTHUR BARRA                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17195 ARTHUR HILL                             VARIOUS                              Wildfire               UNDETERMINED
        SHANE LAW                                                                    Litigation
        DAVID R. SHANE                ACCOUNT NO.: NOT AVAILABLE
        1000 DRAKES LANDING ROAD,
        SUITE 200
        GREENBRAE, CALIFORNIA 94904


3.17196 ARTHUR HOLLINGHURST                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17197 ARTHUR HOLLINGHURST                     VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                               Litigation
        FOXCOURTNEY VASQUEZ           ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17198 ARTHUR HOLLINGHURST                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17199 ARTHUR HOLLINGHURST                      VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.17200 ARTHUR HOUSLEY                           VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                     Litigation
        SIMES RACHEL B.                ACCOUNT NO.: NOT AVAILABLE
        ABRAMSAMY ESKINMEGHAN
        E. MCCORMICK
        LEVIN SIMES LLP
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.17201 ARTHUR HOUSLEY                           VARIOUS                              Wildfire               UNDETERMINED
        VICTOR                                                                        Litigation
        JACOBELLISSTEPHANIE POLI       ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.17202 ARTHUR J POTTER                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17203 ARTHUR J POTTER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17204 ARTHUR J POTTER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17205 ARTHUR J POTTER                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17206 ARTHUR J POTTER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17207 ARTHUR JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17208 ARTHUR JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17209 ARTHUR JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17210 ARTHUR JENKINS                          VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                         Litigation
        #109455LAURA E. BROWN         ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.17211 ARTHUR JENKINS                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17212 ARTHUR MESSER                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17213 ARTHUR MESSER                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17214 ARTHUR PEOPLES                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                        Litigation
        SIMMONS                       ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17215 ARTHUR PEOPLES                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                      Litigation
        R. PARKINSONDANIEL E.         ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17216 ARTHUR PEOPLES                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17217 ARTHUR PEOPLES                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.17218 ARTHUR, RICHARD                           VARIOUS                              Wildfire               UNDETERMINED
        5787 OWL LIGHT TERRACE                                                         Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.17219 ARTIERES, NICKI                           VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 478                                                                     Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.17220 ASA BARTOW                                VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17221 ASA BARTOW                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17222 ASA BARTOW                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17223 ASA BARTOW                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17224 ASCOT SYNDICATE 1414                    VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                       Litigation
        REGANDAVID D. BRISCO          ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17225 ASCOT SYNDICATE 1414                    VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                             Litigation
        COZEN O'CONNOR                ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.17226 ASCOT SYNDICATE 1414                    VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                      Litigation
        JANG & ASSOCIATES LLP         ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17227 ASCOT UNDERWRITING LIMITED              VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                      Litigation
        JANG & ASSOCIATES LLP         ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17228 ASCOT UNDERWRITING LIMITED              VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                             Litigation
        COZEN O'CONNOR                ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.17229 ASCOT UNDERWRITING LIMITED              VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                       Litigation
        REGANDAVID D. BRISCO          ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17230 ASHELY OSBUN                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.17231 ASHELY OSBUN                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17232 ASHER ISRAEL                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17233 ASHER ISRAEL                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.17234 ASHLEY AHNFELDT                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                     Litigation
        SBN: 110909ROBERT A.          ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17235 ASHLEY DE LA ROSA                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17236 ASHLEY DE LA ROSA                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17237 ASHLEY DE LA ROSA                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17238 ASHLEY DE LA ROSA                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17239 ASHLEY DE LA ROSA                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17240 ASHLEY DUITSMAN                         VARIOUS                              Wildfire                UNDETERMINED
        MICHELLE M. LUNDE, SBN                                                       Litigation
        246585                        ACCOUNT NO.: NOT AVAILABLE
        SAVAGE, LAMB & LUNDE, PC
        1550 HUMBOLDT ROAD, SUITE
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17241 ASHTON LEGG                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17242 ASHTON LEGG                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17243 ASHTON LEGG                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.17244 ASHTON LEGG                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17245 ASHTON, JULIE CATHERINE                   VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17246 ASHTON, JULIE CATHERINE                   VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17247 ASHTON, JULIE CATHERINE           VARIOUS                                      Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17248 ASI SELECT                              VARIOUS                              Wildfire                UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                       Litigation
        REGANDAVID D. BRISCO          ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17249 ASI SELECT                              VARIOUS                              Wildfire                UNDETERMINED
        HOWARD D. MAYCON                                                             Litigation
        COZEN O'CONNOR                ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.17250 ASI SELECT                              VARIOUS                              Wildfire                UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                      Litigation
        JANG & ASSOCIATES LLP         ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17251 ASI SELECT INSURANCE CORP               VARIOUS                              Wildfire                UNDETERMINED
        THOMAS M. REGAN (SBN                                                         Litigation
        113800)KEVIN BUSH (SBN        ACCOUNT NO.: NOT AVAILABLE
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.17252 ASIA MART-DAI, BO CHAO                  VARIOUS                              Wildfire                UNDETERMINED
        2481 GUERNEVILLE RD                                                          Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.17253 ASPEN AMERICAN INSURANCE                VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        THOMAS M. REGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17254 ASPEN INSURANCE COMPANY                  VARIOUS                              Wildfire                UNDETERMINED
        HOWARD D. MAYCON                                                              Litigation
        COZEN O'CONNOR                 ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.17255 ASPEN INSURANCE COMPANY                  VARIOUS                              Wildfire                UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                        Litigation
        REGANDAVID D. BRISCO           ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17256 ASPEN INSURANCE COMPANY                  VARIOUS                              Wildfire                UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                       Litigation
        JANG & ASSOCIATES LLP          ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17257 ASPEN SPECIALTY INSURANCE                VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        AHMED S. DIAB (SBN 262319)     ACCOUNT NO.: NOT AVAILABLE

       DEBORAH S. DIXON (SBN
       248965) ROBERT J.
       CHAMBERS II (SBN 244688)
       DIXON DIAB & CHAMBERS LLP
       501 W. BROADWAY, SUITE 800
       SAN DIEGO, CA 92101


3.17258 ASPEN SPECIALTY INSURANCE                VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        JOHN F. MCGUIRE, JR., ESQ.     ACCOUNT NO.: NOT AVAILABLE
        (SBN 69176) IAN C.
        FUSSELMAN, ESQ. (SBN 198917)

       BRETT J. SCHREIBER, ESQ.
       (SBN 239707)
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH AVENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.17259 Aspen Specialty Insurance                   VARIOUS                             Wildfire                UNDETERMINED
        Company                                                                         Litigation
        Zachary P. Marks (SBN               ACCOUNT NO.: NOT AVAILABLE
        284642)Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hae Pending)Jarett M. Smith (Pro
        Hae Pending)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, California 90067


3.17260 ASPEN SPECIALTY INSURANCE                  VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                         Litigation
        TERRY SINGLETON, ESQ. (SBN      ACCOUNT NO.: NOT AVAILABLE
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17261 ASPEN SPECIALTY INSURANCE                  VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                         Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17262 ASSIGNMENT, DESK                           VARIOUS                              Wildfire                UNDETERMINED
        N/A                                                                             Litigation
        CA                              ACCOUNT NO.: NOT AVAILABLE


3.17263 ASSOCIATED INDEMNITY                       VARIOUS                              Wildfire                UNDETERMINED
        CORPORATION                                                                     Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17264 ASSOCIATED INDEMNITY                       VARIOUS                              Wildfire                UNDETERMINED
        CORPORATION                                                                     Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17265 ASSOCIATED INDEMNITY                    VARIOUS                              Wildfire                UNDETERMINED
        CORPORATION                                                                  Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17266 ASSOCIATION OF CALIFORNIA               VARIOUS                              Wildfire                UNDETERMINED
        WATER AGENCIES JOINT                                                         Litigation
        POWERS INSURANCE              ACCOUNT NO.: NOT AVAILABLE
        AUTHORITY
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17267 ASSOCIATION OF CALIFORNIA               VARIOUS                              Wildfire                UNDETERMINED
        WATER AGENCIES JOINT                                                         Litigation
        POWERS INSURANCE              ACCOUNT NO.: NOT AVAILABLE
        AUTHORITY
        AHMED S. DIABDEBORAH S.
        DIXONROBERT J. CHAMBERS II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17268 ASSOCIATION OF CALIFORNIA               VARIOUS                              Wildfire                UNDETERMINED
        WATER AGENCIES JOINT                                                         Litigation
        POWERS INSURANCE              ACCOUNT NO.: NOT AVAILABLE
        AUTHORITY
        SCOTT SUMMY (PRO HAC
        VICE)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD P.C.
        11440 WEST BERNARDO
        COURT, STE. 265
        SAN DIEGO, CA 92127


3.17269 ATASHA BIAS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17270 ATASHA BIAS                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.17271 ATASHA BIAS                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.17272 ATASHA BIAS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.17273 ATHENIA DUNHAM                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17274 ATHENIA DUNHAM                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17275 ATHENIA DUNHAM                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17276 ATHENIA DUNHAM                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17277 ATKINS, CHARLES                          VARIOUS                              Wildfire                UNDETERMINED
        757 E REDONDO DR                                                              Litigation
        GILBERT, CA 85296              ACCOUNT NO.: NOT AVAILABLE


3.17278 ATKINSON, CHRISTINA                      VARIOUS                              Wildfire                UNDETERMINED
        12641 DOUGLAS WAY                                                             Litigation
        MARYSVILLE, CA 95901           ACCOUNT NO.: NOT AVAILABLE


3.17279 ATLANTIC SPECIALTY                       VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                             Litigation
        KEVIN D. BUSHTHOMAS M.         ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17280 ATLANTIC SPECIALTY                       VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                             Litigation
        HOWARD D. MAYCON               ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17281 ATLANTIC SPECIALTY                         VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                               Litigation
        THOMAS M. REGAN (SBN             ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.17282 ATLANTIC SPECIALTY                         VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                               Litigation
        ALAN J. JANG SALLY NOMA          ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17283 Atlas Peak Equipment, Inc.                 VARIOUS                              Wildfire                UNDETERMINED
        Steven M. Campora, Esq./ SBN:                                                   Litigation
        110909Robert A. Buccola, Esq./   ACCOUNT NO.: NOT AVAILABLE
        SBN: 112880Catia G. Saraiva,
        Esq./ SBN: 232479Andrea R.
        Crowl, Esq./ SBN: 313624
        Dreyer Babich Buccola Wood
        Campora, LLP
        20 Bicentennial Circle
        Sacramento, CA 95826


3.17284 ATLAS PEAK MOUNTAIN, LLC                   VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM F. MERLIN, JR.DENISE                                                    Litigation
        HSU SZESTEPHANIE POLI            ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        505 MONTGOMERY ST., 11TH
        FLOOR
        SAN FRANCISCO, CA 94111


3.17285 ATLAS PEAK MOUNTAIN, LLC                   VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                       Litigation
        SIMES RACHEL B.                  ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.17286 ATLAS PEAK PARTNERS                            VARIOUS                              Wildfire                UNDETERMINED
        LIMITED PARTNERSHIP, A                                                              Litigation
        CALIFORNIA LIMITED                   ACCOUNT NO.: NOT AVAILABLE
        PARTNERSHIP
        TIMOTHY G. TIETJEN (STATE
        BAR #104975)
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.17287 ATLAS PEAK PARTNERS                            VARIOUS                              Wildfire                UNDETERMINED
        LIMITED PARTNERSHIP, A                                                              Litigation
        CALIFORNIA LIMITED                   ACCOUNT NO.: NOT AVAILABLE
        PARTNERSHIP
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADIDORIS
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17288 Atnip, Anthony Waco; Atnip,                    VARIOUS                              Wildfire                UNDETERMINED
        Christie Lynn; Atnip, Courtney                                                      Litigation
        Elaine; Costa, Colt Ryan (A Minor,   ACCOUNT NO.: NOT AVAILABLE
        By And Through His Guardian Ad
        Litem Courtney Elaine Atnip)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.17289 Atnip, Anthony Waco; Atnip,                    VARIOUS                              Wildfire                UNDETERMINED
        Christie Lynn; Atnip, Courtney                                                      Litigation
        Elaine; Costa, Colt Ryan (A Minor,   ACCOUNT NO.: NOT AVAILABLE
        By And Through His Guardian Ad
        Litem Courtney Elaine Atnip)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.17290 ATNIP, ANTHONY WACO; ATNIP,                    VARIOUS                              Wildfire                UNDETERMINED
        CHRISTIE LYNN; ATNIP,                                                               Litigation
        COURTNEY ELAINE; COSTA,              ACCOUNT NO.: NOT AVAILABLE
        COLT RYAN (A MINOR, BY AND
        THROUGH HIS GUARDIAN AD
        LITEM COURTNEY ELAINE
        ATNIP)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17291 Atnip, Kayla Anne; Atnip, Jeremiah             VARIOUS                              Wildfire                UNDETERMINED
        Thomas; Atnip, Brynley Lynn                                                         Litigation
        (Minors, By And Through Their        ACCOUNT NO.: NOT AVAILABLE
        Guardian Ad Litem, Jeremiah
        Thomas Atnip); Atnip, Hank Waco
        (Minors, By And Through Their
        Guardian Ad Litem, Jeremiah
        Thomas Atnip)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.17292 Atnip, Kayla Anne; Atnip, Jeremiah             VARIOUS                              Wildfire                UNDETERMINED
        Thomas; Atnip, Brynley Lynn                                                         Litigation
        (Minors, By And Through Their        ACCOUNT NO.: NOT AVAILABLE
        Guardian Ad Litem, Jeremiah
        Thomas Atnip); Atnip, Hank Waco
        (Minors, By And Through Their
        Guardian Ad Litem, Jeremiah
        Thomas Atnip)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.17293 Atnip, Kayla Anne; Atnip, Jeremiah             VARIOUS                              Wildfire                UNDETERMINED
        Thomas; Atnip, Brynley Lynn                                                         Litigation
        (Minors, By And Through Their        ACCOUNT NO.: NOT AVAILABLE
        Guardian Ad Litem, Jeremiah
        Thomas Atnip); Atnip, Hank Waco
        (Minors, By And Through Their
        Guardian Ad Litem, Jeremiah
        Thomas Atnip)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17294 ATTIC TREASURES                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17295 ATTIC TREASURES                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17296 ATTIC TREASURES                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17297 ATTIC TREASURES                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.17298 ATTIC TREASURES                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17299 AUBINEAU, CARLA                            VARIOUS                              Wildfire                UNDETERMINED
        1769 W 3RD STREET                                                               Litigation
        SANTA ROSA, CA 95401             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17300 AUBREE HALLMAN                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17301 AUBREE HALLMAN                           VARIOUS                              Wildfire                UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                    Litigation
        STRAUSS                        ACCOUNT NO.: NOT AVAILABLE
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON STREET, SUITE
        1600
        OAKLAND, CA 94612


3.17302 AUBREE HALLMAN                           VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                            Litigation
        DANIELS LAW                    ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.17303 AUBREE HALLMAN                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17304 AUBREE HALLMAN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17305 AUBREE PERKINS                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17306 AUBREE PERKINS                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028



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Wildfire Claims

3.17307 AUBREE PERKINS                            VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17308 AUBREE PERKINS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17309 AUBREY ANTOVICH                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17310 AUBREY ANTOVICH                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17311 AUBREY ANTOVICH                           VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17312 AUBREY ANTOVICH                           VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17313 AUBREY ANTOVICH                           VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17314 AUBREY ANTOVICH                         VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                     Litigation
        60768GAYLE M. BLATT, SBN      ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.17315 AUBREY CLARK                            VARIOUS                              Wildfire                UNDETERMINED
        EUSTACE DE SAINT                                                             Litigation
        PHALLEJOSEPH R. LUCIA         ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523


3.17316 AUBREY ZUCCOLILLO                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17317 AUBREY ZUCCOLILLO                       VARIOUS                              Wildfire                UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                   Litigation
        STRAUSS                       ACCOUNT NO.: NOT AVAILABLE
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON STREET, SUITE
        1600
        OAKLAND, CA 94612


3.17318 AUBREY ZUCCOLILLO                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17319 AUBREY ZUCCOLILLO                       VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                           Litigation
        DANIELS LAW                   ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17320 AUBREY ZUCCOLILLO                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17321 AUBRIE KAREN RING, BY AND              VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HER GUARDIAN AD                                                     Litigation
        LITEM ERIC RING              ACCOUNT NO.: NOT AVAILABLE
        MARK P. ROBINSON, JR. (SBN
        054426)
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.17322 AUBRIE KAREN RING, BY AND              VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HER GUARDIAN AD                                                     Litigation
        LITEM ERIC RING              ACCOUNT NO.: NOT AVAILABLE
        MARY E. ALEXANDER, ESQ.
        (SBN: 104173)
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.17323 AUBRIE KAREN RING, BY AND              VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HER GUARDIAN AD                                                     Litigation
        LITEM ERIC RING              ACCOUNT NO.: NOT AVAILABLE
        STEVEN M. CAMPORA
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17324 AUBRIE KAREN RING, BY AND              VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HER GUARDIAN AD                                                     Litigation
        LITEM ERIC RING              ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17325 AUBRIE KAREN RING, BY AND              VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HER GUARDIAN AD                                                     Litigation
        LITEM ERIC RING              ACCOUNT NO.: NOT AVAILABLE
        CATHERINE LOMBARDO (SBN #
        160461)
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17326 AUDEL SANDOVAL                           VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17327 AUDEL SANDOVAL                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17328 AUDEL SANDOVAL                           VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FIRM     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17329 AUDRA DORSEY                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17330 AUDRA DORSEY                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17331 AUDRA J LEBEAU                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17332 AUDRA J LEBEAU                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17333 AUDRA J LEBEAU                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17334 AUDRA J LEBEAU                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17335 AUDRA J LEBEAU                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17336 AUDREY KWAN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17337 AUDREY KWAN                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17338 AUDREY KWAN                              VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17339 AUDREY KWAN                              VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17340 AUDREY KWAN                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.17341 AUDREY PEACOCK                           VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J.                                                                  Litigation
        CABRASERROBERT J.              ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.17342 AUDREY STALCUP                           VARIOUS                              Wildfire                UNDETERMINED
        DAVE A. FOXJOANNA L.                                                          Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANO BEACH, CA 92075




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.17343 AUDREY STALCUP                                 VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                          Litigation
        ZUMMER                               ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17344 AUDREY STALCUP                                 VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                      Litigation
        SIEGLOCKRACHEL SIEGLOCK              ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK LAW, APC
        1221 CAMINO DEL MAR


3.17345 Audrey Yee                                     VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.17346 AUDREY YEE                                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17347 AUDREY YEE                                     VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17348 AUDREYANA MORAN JOHNSON                 VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17349 AUDREYANA MORAN JOHNSON                 VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17350 AULD, ALICE                             VARIOUS                              Wildfire                UNDETERMINED
        2008 NORTH THIRD AVE                                                         Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.17351 AULT, LAWRENCE                          VARIOUS                              Wildfire                UNDETERMINED
        428 DARBY ROAD                                                               Litigation
        BANGOR, CA 95914              ACCOUNT NO.: NOT AVAILABLE


3.17352 AULT, LAWRENCE                          VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 245                                                                   Litigation
        BANGOR, CA 95914              ACCOUNT NO.: NOT AVAILABLE


3.17353 AULT, TIMOTHY                           VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 811                                                                   Litigation
        REDWOOD VALLEY, CA 95470      ACCOUNT NO.: NOT AVAILABLE


3.17354 AURELIANO REYNOSO                       VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                           Litigation
        ESQJENNIFER L. FIORE, ESQ     ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.17355 AURELIO RAY EDAAKIE, BY AND             VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HIS GUARDIAN AD                                                      Litigation
        LITEM KRISTIN EDAAKIE         ACCOUNT NO.: NOT AVAILABLE
        MARK P. ROBINSON, JR. (SBN
        054426)
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17356 AURELIO RAY EDAAKIE, BY AND             VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HIS GUARDIAN AD                                                      Litigation
        LITEM KRISTIN EDAAKIE         ACCOUNT NO.: NOT AVAILABLE
        STEVEN M. CAMPORA
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17357 AURELIO RAY EDAAKIE, BY AND             VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HIS GUARDIAN AD                                                      Litigation
        LITEM KRISTIN EDAAKIE         ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17358 AURELIO RAY EDAAKIE, BY AND             VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HIS GUARDIAN AD                                                      Litigation
        LITEM KRISTIN EDAAKIE         ACCOUNT NO.: NOT AVAILABLE
        CATHERINE LOMBARDO (SBN #
        160461)
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.17359 AURELIO RAY EDAAKIE, BY AND             VARIOUS                              Wildfire                UNDETERMINED
        THROUGH HIS GUARDIAN AD                                                      Litigation
        LITEM KRISTIN EDAAKIE         ACCOUNT NO.: NOT AVAILABLE
        MARY E. ALEXANDER, ESQ.
        (SBN: 104173)
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.17360 AURORA LORRAINE LUDLOW                  VARIOUS                              Wildfire                UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                   Litigation
        167700STEVEN S. KANE, ESQ.,   ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.17361 AURORA LORRAINE LUDLOW                  VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228BRETT R. PARKINSON,    ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17362 AURORA LORRAINE LUDLOW                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17363 AURORA LORRAINE LUDLOW                    VARIOUS                              Wildfire                UNDETERMINED
        ARA JABAGCHOURIAN                                                              Litigation
        LAW OFFICES OF ARA              ACCOUNT NO.: NOT AVAILABLE
        JABAGCHOURIAN, P.C.
        1650 S. AMPHLETT BOULEVARD,
        SUITE 216
        SAN MATEO, CA 94402


3.17364 AUSTEN M. PETERSON                        VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17365 AUSTIN ELKINS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17366 AUSTIN ELKINS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17367 AUSTIN ELKINS                             VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17368 AUSTIN ELKINS                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                      Litigation
        TOSDAL LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17369 AUSTIN JAMES SAFFOLD                     VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17370 AUSTIN JAMES SAFFOLD                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.17371 AUSTIN JAMES SAFFOLD                     VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17372 AUSTIN JAMES SAFFOLD                     VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17373 AUSTIN JAMES SAFFOLD                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.17374 AUSTIN KELSEY                               VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                     Litigation
        SCHACKNATASHA N. SERINO           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.17375 AUSTIN KELSEY                               VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                          Litigation
        WEAVER                            ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.17376 AUSTIN KELSEY                               VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                               Litigation
        SR.JESSICA HAYES                  ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.17377 AUSTIN MERRITT                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17378 AUSTIN MERRITT                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.17379 AUSTIN MERRITT                              VARIOUS                              Wildfire                UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.17380 AUSTIN MERRITT                                 VARIOUS                              Wildfire                UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                     Litigation
        477-1699                             ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.17381 AUSTIN MERRITT                                 VARIOUS                              Wildfire                UNDETERMINED
        TELEPHONE: (650) 697-6000                                                           Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.17382 Austin Pardini                                 VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.17383 AUSTIN PARDINI                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17384 AUSTIN PARDINI                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.17385 AUSTIN RICHTER                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17386 AUSTIN RICHTER                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17387 AUSTIN RICHTER                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17388 AUSTIN RICHTER                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.17389 AUSTIN RILEY                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17390 AUSTIN RILEY                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17391 AUSTIN RILEY                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17392 AUSTIN RILEY                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17393 AUSTIN SULLINS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.17394 AUSTIN SULLINS                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17395 AUSTIN SULLINS                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.17396 AUSTIN, BILL                             VARIOUS                              Wildfire                UNDETERMINED
        1050 WIGHTMAN WAY                                                             Litigation
        SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.17397 AUTUMN RIOS                              VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17398 AUTUMN RIOS                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17399 AUTUMN RIOS                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17400 AUTUMN RIOS                              VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17401 AUTUMN VOGELBACHER                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17402 AUTUMN VOGELBACHER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17403 AUTUMN VOGELBACHER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17404 AUTUMN VOGELBACHER                         VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.17405 AUTUMN VOGELBACHER                         VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.17406 AUTURO CESENA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17407 AUTURO CESENA                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17408 AUTURO CESENA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17409 AUTURO CESENA                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.17410 AUTURO CESENA                              VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. KERSHAW (STATE                                                       Litigation
        BAR NO. 057486)STUART C.         ACCOUNT NO.: NOT AVAILABLE
        TALLEY (STATE BAR NO.
        180374)IAN J. BARLOW (STATE
        BAR NO. 262213)
        KERSHAW, COOK & TALLEY PC
        40 L WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17411 AV A DECKMAN                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17412 AV A DECKMAN                               VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17413 AV A DECKMAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17414 AV A DECKMAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17415 AV A DECKMAN                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.17416 AVA SCHNURR                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17417 AVA SCHNURR                                VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                       Litigation
        (SBN 99126)NATASHA N.            ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17418 AVA SCHNURR                              VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                   Litigation
        9858)JESSICA W. HAYES.,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.17419 AVA SCHNURR                              VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.17420 AVERY GARCIA                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17421 AVERY GARCIA                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17422 AVERY GARCIA                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17423 AVERY GARCIA                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17424 AVERY PAGE                               VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17425 AVERY PAGE                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17426 AVERY PAGE                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17427 AVERY PAGE                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17428 AVILA, JAIME                             VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 5941                                                                   Litigation
        NAPA, CA 94581                 ACCOUNT NO.: NOT AVAILABLE


3.17429 AVILA, REBECCA & AARON                   VARIOUS                              Wildfire                UNDETERMINED
        5310 YERBA BUENA RD                                                           Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.17430 AVILA, ROSALVA                           VARIOUS                              Wildfire                UNDETERMINED
        202 FUENTE LANE                                                               Litigation
        SONOMA, CA 94576               ACCOUNT NO.: NOT AVAILABLE


3.17431 AVILES, JANET                            VARIOUS                              Wildfire                UNDETERMINED
        70 SUNNYSIDE AVE                                                              Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.17432 AVINA, BRENDA                            VARIOUS                              Wildfire                UNDETERMINED
        3550 VILLA LANE                                                               Litigation
        332                            ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558

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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17433 AVINA, JAQUELINE                         VARIOUS                              Wildfire                UNDETERMINED
        1266 KERNEY ST                                                                Litigation
        SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.17434 AVINA, MARIA                             VARIOUS                              Wildfire                UNDETERMINED
        1714 WASHINGTON ST.                                                           Litigation
        27                             ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.17435 AVINA, REYNA                             VARIOUS                              Wildfire                UNDETERMINED
        1714 WASHINGTON ST                                                            Litigation
        3                              ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.17436 AWALT, MEAGAN                            VARIOUS                              Wildfire                UNDETERMINED
        14764 COLTER WAY                                                              Litigation
        MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE


3.17437 AWALT, MEAGAN                            VARIOUS                              Wildfire                UNDETERMINED
        14764 COLTER WAY                                                              Litigation
        MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE


3.17438 AXTON BARTOW                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17439 AXTON BARTOW                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17440 AXTON BARTOW                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17441 AXTON BARTOW                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17442 AYALA CERVANTES, MARIA                   VARIOUS                              Wildfire                UNDETERMINED
        4213 BRANNAN ST                                                               Litigation
        CALISTOGA, CA 94515            ACCOUNT NO.: NOT AVAILABLE


3.17443 AYALA, GUERRERO                          VARIOUS                              Wildfire                UNDETERMINED
        1809 LAKE STREET                                                              Litigation
        CALISTOGA, CA 94515            ACCOUNT NO.: NOT AVAILABLE


3.17444 AYALA, JOSE                              VARIOUS                              Wildfire                UNDETERMINED
        3671 SENECA WAY                                                               Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.17445 AYDEN EVANS (MINOR)                      VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.17446 AYDEN EVANS (MINOR)                      VARIOUS                              Wildfire                UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                     Litigation
        (STATE BAR #33422) DIANE       ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.17447 AYDEN EVANS (MINOR)                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17448 AYDEN EVANS (MINOR)                        VARIOUS                              Wildfire                UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                          Litigation
        (STATE BAR #103252)BRIANNA       ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.17449 AYDEN EVANS (MINOR)                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17450 AYLOR, RICHARD                             VARIOUS                              Wildfire                UNDETERMINED
        850 MONTROSE CT                                                                 Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.17451 AZRIEL MCCLUSKEY                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17452 AZRIEL MCCLUSKEY                           VARIOUS                              Wildfire                UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.17453 AZRIEL MCCLUSKEY                           VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.17454 AZRIEL MCCLUSKEY                           VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171



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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17455 AZRIEL MCCLUSKEY                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17456 BAARTSE, CHITTEN                       VARIOUS                              Wildfire                UNDETERMINED
        (INDIVIDUALLY AND AS                                                        Litigation
        TRUSTEE OF THE BAARTSE       ACCOUNT NO.: NOT AVAILABLE
        INVESTMENT TRUST)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17457 BAARTSE, CHITTEN                       VARIOUS                              Wildfire                UNDETERMINED
        (INDIVIDUALLY AND AS                                                        Litigation
        TRUSTEE OF THE BAARTSE       ACCOUNT NO.: NOT AVAILABLE
        INVESTMENT TRUST)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17458 BAARTSE, CHITTEN                  VARIOUS                                   Wildfire                UNDETERMINED
        (INDIVIDUALLY AND AS                                                        Litigation
        TRUSTEE OF THE BAARTSE    ACCOUNT NO.: NOT AVAILABLE
        INVESTMENT TRUST)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17459 BABIN, MARGARET R                      VARIOUS                              Wildfire                UNDETERMINED
        6502 STONE BRIDGE RD                                                        Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.17460 BACCARO, MICHELLE                      VARIOUS                              Wildfire                UNDETERMINED
        153 VALLEY LAKES DR.                                                        Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.17461 BACINETT, BRIAN                        VARIOUS                              Wildfire                UNDETERMINED
        1049 HEADLANDS DR                                                           Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.17462 BACINETT, ROBERT                       VARIOUS                              Wildfire                UNDETERMINED
        1020 OVERLAND                                                               Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17463 BADALAMENTI, ARIADNA                    VARIOUS                              Wildfire                UNDETERMINED
        1330 RIVERA CT                                                               Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.17464 BAILEE WHITE                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17465 BAILEE WHITE                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.17466 BAILEY CARR                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.17467 BAILEY CARR                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17468 BAILEY CARR                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.17469 BAILEY SALEZ                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17470 BAILEY SALEZ                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17471 BAILEY SALEZ                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17472 BAILEY SALEZ                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17473 BAILEY SALEZ                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17474 BAINARD, JAMIE D.                 VARIOUS                                    Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17475 BAINARD, JAMIE D.                       VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                     Litigation
        VASQUEZAMANDA LOCUTRO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17476 BAINARD, JAMIE D.                       VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                         Litigation
        ZUMMER                        ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17477 BAIRD, LINDSAY                          VARIOUS                              Wildfire                UNDETERMINED
        333 HANSBERY WAY                                                             Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.17478 BAKER, CHARLES & KATHY                  VARIOUS                              Wildfire                UNDETERMINED
        114 POPPY LANE                                                               Litigation
        NAPA, CA 94954                ACCOUNT NO.: NOT AVAILABLE


3.17479 BAKER, DONNA                            VARIOUS                              Wildfire                UNDETERMINED
        15369 ARNOLD DR.                                                             Litigation
        GLEN ELLEN, CA 95448          ACCOUNT NO.: NOT AVAILABLE


3.17480 BAKER, DONNA                            VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 723                                                                 Litigation
        GLEN ELLEN, CA 95448          ACCOUNT NO.: NOT AVAILABLE


3.17481 BAKER, JUSTIN                           VARIOUS                              Wildfire                UNDETERMINED
        14749 HOLMWOOD DR                                                            Litigation
        MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.17482 BALA IYER                               VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17483 BALA IYER                               VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17484 BALDERSTON, ELIZABETH                   VARIOUS                              Wildfire                UNDETERMINED
        8033 SUNNYSIDE LN                                                            Litigation
        OREGON HOUSE, CA 95962        ACCOUNT NO.: NOT AVAILABLE


3.17485 BALDWIN, SUZETTE                        VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLER                                                                 Litigation
        402 W BROADWAY                ACCOUNT NO.: NOT AVAILABLE
        SUITE 860
        SAN DIEGO, CA 92101


3.17486 BALDWIN, SUZETTE                        VARIOUS                              Wildfire                UNDETERMINED
        CO-COUNSEL                                                                   Litigation
        525 B STREET                  ACCOUNT NO.: NOT AVAILABLE
        SUITE 1500
        SAN DIEGO, CA 92101


3.17487 BALDWIN, SUZETTE                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON                                                             Litigation
        115 WEST PLAZA STREET         ACCOUNT NO.: NOT AVAILABLE
        SOLANA BEACH, CA 92075


3.17488 BALL, PEGGY                             VARIOUS                              Wildfire                UNDETERMINED
        3308 INDUSTRIAL DRIVE                                                        Litigation
        SUITE 1 & 2                   ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.17489 BALLARD, GINA; BALLARD,           VARIOUS                                    Wildfire                UNDETERMINED
        JEFF; WALLACE, BELINDA J.                                                    Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17490 BALLARD, GINA; BALLARD,                 VARIOUS                              Wildfire                UNDETERMINED
        JEFF; WALLACE, BELINDA J.                                                    Litigation
        ELLIOT ADLERBRITTANY          ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17491 BALLARD, GINA; BALLARD,                  VARIOUS                              Wildfire                UNDETERMINED
        JEFF; WALLACE, BELINDA J.                                                     Litigation
        GERARD SINGLETONERIKA L.       ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17492 BALLETTO, RICHARD                        VARIOUS                              Wildfire                UNDETERMINED
        156 SOUTH BOAS DRIVE                                                          Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.17493 BALLINGER, GAYLE                         VARIOUS                              Wildfire                UNDETERMINED
        1930 GENOA PLACE                                                              Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.17494 BALTAZAR JAVIER CRUZ                     VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17495 BALTAZAR JAVIER CRUZ                     VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FINN     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17496 BALTAZAR JAVIER CRUZ                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17497 BAMBI KNAPP RUUD                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17498 BAMBI KNAPP RUUD                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17499 BAMBI KNAPP RUUD                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17500 BAMBI KNAPP RUUD                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17501 BANDIERA, RON & KARAN                    VARIOUS                              Wildfire                UNDETERMINED
        113 CREEK WAY                                                                 Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.17502 BANDUCCI, TONY & BRENDA                  VARIOUS                              Wildfire                UNDETERMINED
        12155 DAWN DRIVE                                                              Litigation
        LOMA RICA, CA 95901            ACCOUNT NO.: NOT AVAILABLE


3.17503 BANG, PAUL                               VARIOUS                              Wildfire                UNDETERMINED
        5025 PRESSLEY ROAD                                                            Litigation
        SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.17504 BANKERS STANDARD                         VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                             Litigation
        HOWARD D. MAYCON               ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.17505 BANKERS STANDARD                         VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                             Litigation
        THOMAS M. REGAN (SBN           ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address                Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.17506 BANKERS STANDARD                                 VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                                     Litigation
        KEVIN D. BUSHTHOMAS M.                 ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17507 BANKERS STANDARD                                 VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                                     Litigation
        ALAN J. JANG SALLY NOMA                ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17508 Bankers Standard Insurance                       VARIOUS                              Wildfire                UNDETERMINED
        Company; Civil Service Employees                                                      Litigation
        Insurance Company; Fireman's           ACCOUNT NO.: NOT AVAILABLE
        Fund Insurance Company;
        Homesite Insurance Company of
        California; Certain Underwriter's at
        Lloyd's London; Peerless Insurance
        Company; Metropolitan Property
        and Casua
        KEVIN D. BUSH
        501 WEST BROADWAY
        SUITE 1610
        SAN DIEGO, CA 92101


3.17509 Bankers Standard Insurance                       VARIOUS                              Wildfire                UNDETERMINED
        Company; Civil Service Employees                                                      Litigation
        Insurance Company; Fireman's           ACCOUNT NO.: NOT AVAILABLE
        Fund Insurance Company;
        Homesite Insurance Company of
        California; Certain Underwriter's at
        Lloyd's London; Peerless Insurance
        Company; Metropolitan Property
        and Casua
        HOWARD D. MAYCON
        601 S FIGUEROA STREET
        SUITE 3700
        LOS ANGELES, CA 90017




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Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.17510 Bankers Standard Insurance                       VARIOUS                              Wildfire                UNDETERMINED
        Company; Civil Service Employees                                                      Litigation
        Insurance Company; Fireman's           ACCOUNT NO.: NOT AVAILABLE
        Fund Insurance Company;
        Homesite Insurance Company of
        California; Certain Underwriter's at
        Lloyd's London; Peerless Insurance
        Company; Metropolitan Property
        and Casua
        Kevin D. Bush
        Cozen O'Connor
        501 West Broadway, Suite 1610
        San Diego, CA 92101


3.17511 Bankers Standard Insurance                       VARIOUS                              Wildfire                UNDETERMINED
        Company; Civil Service Employees                                                      Litigation
        Insurance Company; Fireman's           ACCOUNT NO.: NOT AVAILABLE
        Fund Insurance Company;
        Homesite Insurance Company of
        California; Certain Underwriter's at
        Lloyd's London; Peerless Insurance
        Company; Metropolitan Property
        and Casua
        Howard D. Maycon
        COZEN O'CONNOR
        601 S. Figueroa Street, Suite 3700
        Los Angeles, CA 90017


3.17512 BANTTARI, JOEL; BANTTARI,                        VARIOUS                              Wildfire                UNDETERMINED
        MONICA (JOSES); BANTTARI,                                                             Litigation
        JOEL; BANTTARI, MONICA, AS             ACCOUNT NO.: NOT AVAILABLE
        TRUSTEES OF THE BANTTARI
        TRUST DATED JANUARY 28,
        2004 (ASHTON)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17513 BANTTARI, JOEL; BANTTARI,          VARIOUS                                            Wildfire                UNDETERMINED
        MONICA (JOSES); BANTTARI,                                                             Litigation
        JOEL; BANTTARI, MONICA, AS ACCOUNT NO.: NOT AVAILABLE
        TRUSTEES OF THE BANTTARI
        TRUST DATED JANUARY 28,
        2004 (ASHTON)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.17514 Banttari, Joel; Banttari, Monica                VARIOUS                              Wildfire                UNDETERMINED
        (Joses); Banttari, Joel; Banttari,                                                   Litigation
        Monica, as trustees of the Banttari   ACCOUNT NO.: NOT AVAILABLE
        Trust dated January 28, 2004
        (Ashton)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.17515 BANUELOS, DOMINGO                               VARIOUS                              Wildfire                UNDETERMINED
        2746 NAVAJO ST                                                                       Litigation
        SANTA ROSA, CA 95403                  ACCOUNT NO.: NOT AVAILABLE


3.17516 BANUELOS, RICHARD                               VARIOUS                              Wildfire                UNDETERMINED
        603 CRESTMONT DR                                                                     Litigation
        SANTA ROSA, CA 95409                  ACCOUNT NO.: NOT AVAILABLE


3.17517 BARAJAS, CHRISTINA                              VARIOUS                              Wildfire                UNDETERMINED
        3380 HWY 128                                                                         Litigation
        CALISTOGA, CA 94515                   ACCOUNT NO.: NOT AVAILABLE


3.17518 BARAJAS, ROSALVA                                VARIOUS                              Wildfire                UNDETERMINED
        1704 1/2 GRANT ST                                                                    Litigation
        CALISTOGA, CA 94515                   ACCOUNT NO.: NOT AVAILABLE


3.17519 BARBARA A ROBINSON                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                    Litigation
        DREYER BABICH BUCCOLA                 ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17520 BARBARA A ROBINSON                              VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                                Litigation
        SINGLETONERIKA L.                     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17521 BARBARA A ROBINSON                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                              Litigation
        125868JUSTIN J. EBALLAR,              ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17522 BARBARA A ROBINSON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17523 BARBARA A ROBINSON                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17524 BARBARA ABBOTT                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.17525 BARBARA ABBOTT                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17526 BARBARA ABBOTT                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17527 BARBARA ABBOTT                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17528 BARBARA BEVIER                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17529 BARBARA BEVIER                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.17530 BARBARA BEVIER                           VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17531 BARBARA BJORNSTAD                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17532 BARBARA BJORNSTAD                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.17533 BARBARA BJORNSTAD                        VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17534 BARBARA BJORNSTAD                        VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17535 BARBARA BJORNSTAD                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.17536 BARBARA BOWEN                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17537 BARBARA BOWEN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17538 BARBARA BOWEN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17539 BARBARA BOWEN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17540 BARBARA CARLTON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17541 BARBARA CARLTON                         VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.17542 BARBARA CARLTON                         VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.17543 BARBARA CARLTON                         VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.17544 BARBARA COLLEEN COTTON                  VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                      Litigation
        R. PARKINSONDANIEL E.         ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17545 BARBARA COLLEEN COTTON                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                Litigation
        DEMAS LAW GROUP, P.C.         ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17546 BARBARA COLLEEN COTTON                    VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17547 BARBARA COLLEEN COTTON                    VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17548 BARBARA COVERSE                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.17549 BARBARA COVERSE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.17550 BARBARA COVERSE                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17551 BARBARA CRISP                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.17552 BARBARA CRISP                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17553 BARBARA CRISP                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17554 BARBARA CRISP                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17555 BARBARA CRISP                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.17556 BARBARA CRUISE                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17557 BARBARA CRUISE                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17558 BARBARA CRUISE                             VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.17559 BARBARA CRUISE                             VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.17560 BARBARA CRUISE                             VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.17561 BARBARA DUCHON                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17562 BARBARA DUCHON                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17563 BARBARA GARIBALDI                       VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.17564 BARBARA GARIBALDI                       VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.17565 BARBARA GARIBALDI                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.17566 BARBARA GYLES                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17567 BARBARA GYLES                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17568 BARBARA GYLES                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17569 BARBARA GYLES                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17570 BARBARA HADDOX                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17571 BARBARA HADDOX                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17572 BARBARA HADDOX                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17573 BARBARA HADDOX                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17574 BARBARA HENDERSON                       VARIOUS                              Wildfire                UNDETERMINED
        DONALD S. EDGAR                                                              Litigation
        EDGAR LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.17575 BARBARA HENDERSON                       VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17576 BARBARA J. WRIGHT                       VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                      Litigation
        60768ANGELA JAE CHUN, SBN     ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.17577 BARBARA J. WRIGHT                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17578 BARBARA J. WRIGHT                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17579 BARBARA J. WRIGHT                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17580 BARBARA JEAN CUNNINGHAM                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.17581 BARBARA JEAN CUNNINGHAM                   VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17582 BARBARA K. LANNOM                         VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17583 BARBARA K. LANNOM                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17584 BARBARA K. LANNOM                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17585 BARBARA K. LANNOM                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17586 BARBARA KLEMENTZ                         VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J.                                                                  Litigation
        CABRASERROBERT J.              ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.17587 BARBARA KRAMER                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17588 BARBARA KRAMER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17589 BARBARA KRAMER                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17590 BARBARA KRAMER                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17591 BARBARA KRAMER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17592 BARBARA KRUMINS                            VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                            Litigation
        296101)ROBERT T. BRYSON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17593 BARBARA L BRAZZI                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17594 BARBARA L BRAZZI                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17595 BARBARA L BRAZZI                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17596 BARBARA L BRAZZI                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17597 BARBARA L BRAZZI                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17598 BARBARA LASSA                            VARIOUS                              Wildfire                UNDETERMINED
        DONALD S. EDGAR                                                               Litigation
        EDGAR LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.17599 BARBARA LASSA                            VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17600 BARBARA LINDSAY                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17601 BARBARA LINDSAY                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17602 BARBARA LINDSAY                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17603 BARBARA LINDSAY                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17604 BARBARA LYNNE BATTAGLIA                  VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17605 BARBARA LYNNE BATTAGLIA                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17606 BARBARA LYNNE BATTAGLIA                  VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17607 BARBARA LYNNE BATTAGLIA                  VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17608 BARBARA MALONE                           VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17609 BARBARA MORRIS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHELLE M. LUNDE, SBN                                                        Litigation
        246585                         ACCOUNT NO.: NOT AVAILABLE
        SAVAGE, LAMB & LUNDE, PC
        1550 HUMBOLDT ROAD, SUITE
        CHICO, CA 95928


3.17610 BARBARA MURRAY                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17611 BARBARA MURRAY                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17612 BARBARA MURRAY                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17613 BARBARA MURRAY                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17614 BARBARA NOWACKI                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17615 BARBARA NOWACKI                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.17616 BARBARA NOWACKI                          VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17617 BARBARA RAEL                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17618 BARBARA RAEL                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17619 BARBARA ROBINSON                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17620 BARBARA ROBINSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17621 BARBARA ROBINSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17622 BARBARA ROBINSON                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17623 BARBARA ROMAN-                           VARIOUS                              Wildfire                UNDETERMINED
        MONTGOMERY                                                                    Litigation
        THOMAS J. BRANDI               ACCOUNT NO.: NOT AVAILABLE
        #53208TERENCE D. EDWARDS,
        #168095JASON B. FRIEDMAN
        #277888
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.17624 BARBARA ROMAN-                           VARIOUS                              Wildfire                UNDETERMINED
        MONTGOMERY                                                                    Litigation
        ROBRT S. ARNS, #65071          ACCOUNT NO.: NOT AVAILABLE
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17625 BARBARA RYAN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17626 BARBARA RYAN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17627 BARBARA RYAN                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17628 BARBARA RYAN                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17629 BARBARA SIGISMUND                        VARIOUS                              Wildfire                UNDETERMINED
        H. STEVEN BURNSIDE, ESQ                                                       Litigation
        LAW OFFICE OF STEVEN           ACCOUNT NO.: NOT AVAILABLE
        BURNSIDE
        2211 PARK BLVD.
        PALO ALTO, CA 94306


3.17630 BARBARA SIGISMUND                        VARIOUS                              Wildfire                UNDETERMINED
        DAN PRICE                                                                     Litigation
        LAW OFFICE OF DAN PRICE        ACCOUNT NO.: NOT AVAILABLE
        260 SHERIDAN AVE., SUITE 208
        PALO ALTO, CA 94306




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17631 BARBARA SMILEY                          VARIOUS                              Wildfire                UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                   Litigation
        167700STEVEN S. KANE, ESQ.,   ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.17632 BARBARA SMILEY                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17633 BARBARA SMILEY                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228BRETT R. PARKINSON,    ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17634 BARBARA SMILEY                          VARIOUS                              Wildfire                UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                    Litigation
        SBN: 147086                   ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.17635 BARBARA SPANGLER                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17636 BARBARA SPANGLER                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.17637 BARBARA SPANGLER                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                          Litigation
        (SBN 69176)IAN C.                    ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.17638 BARBARA SPANGLER                               VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON              ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17639 BARBARA SPANGLER                               VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                          Litigation
        583 I 6)                             ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17640 BARBARA THOMPSON                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17641 Barbara Thompson                               VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17642 BARBARA THOMPSON                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.17643 BARBARA URADZIONEK                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17644 BARBARA URADZIONEK                         VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.17645 BARBARA URADZIONEK                         VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.17646 BARBARA URADZIONEK                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17647 BARBARA URADZIONEK                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17648 BARBARA VAN DEUTEKOM                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17649 BARBARA VAN DEUTEKOM                     VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                                 Litigation
        NO.254651)JOANNA LEE FOX       ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.17650 BARBARA VAN DEUTEKOM                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17651 BARBARA VAN DEUTEKOM                     VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                       Litigation
        (BAR NO. 295951) RACHEL        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.17652 BARBARA WEINBERG                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17653 BARBARA WEST                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17654 BARBARA WEST                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17655 BARBARA WEST                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17656 BARBARA WEST                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.17657 BARBARA WIELAND                          VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17658 BARBARA ZOELLNER                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.17659 BARBARA ZOELLNER                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17660 BARBER, DORA                              VARIOUS                              Wildfire                UNDETERMINED
        5040 ARDEN WAY                                                                 Litigation
        PARADISE, CA 95969              ACCOUNT NO.: NOT AVAILABLE


3.17661 BARBERA, TYSON                            VARIOUS                              Wildfire                UNDETERMINED
        1652 CHAPMAN WAY                                                               Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.17662 BARBIERI, DAWN                            VARIOUS                              Wildfire                UNDETERMINED
        2454 APPLETREE                                                                 Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.17663 BARBIERI, PETER                           VARIOUS                              Wildfire                UNDETERMINED
        244 SILVER CREEK CIRCLE                                                        Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.17664 BARBULESCO, NOEL                          VARIOUS                              Wildfire                UNDETERMINED
        953 FAIRWAY DRIVE                                                              Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.17665 BARCLAY BEATTIE                           VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17666 BARCLAY BEATTIE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17667 BARCLAY BEATTIE                           VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.17668 BARCUS, JEFF                              VARIOUS                              Wildfire                UNDETERMINED
        2024 BLUEBELL DR                                                               Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.17669 BARKER, FINNY                             VARIOUS                              Wildfire                UNDETERMINED
        208 COLE RANCH COURT                                                           Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17670 BARNDEE GAIL GOODRICH                  VARIOUS                              Wildfire                UNDETERMINED
        MICHELLE M. LUNDE, SBN                                                      Litigation
        246585                       ACCOUNT NO.: NOT AVAILABLE
        SAVAGE, LAMB & LUNDE, PC
        1550 HUMBOLDT ROAD, SUITE
        CHICO, CA 95928


3.17671 BARNES VALDES, YASMIN                  VARIOUS                              Wildfire                UNDETERMINED
        180 CORNELL STREET                                                          Litigation
        WINDSOR, CA 95492            ACCOUNT NO.: NOT AVAILABLE


3.17672 BARNES, ROBERT                         VARIOUS                              Wildfire                UNDETERMINED
        1025 HEADLANDS DRIVE                                                        Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.17673 BARNETT, JOSHUA;                  VARIOUS                                   Wildfire                UNDETERMINED
        ROBERTSON, NADINE SELMA;                                                    Litigation
        ROBERTSON, LAWRENCE       ACCOUNT NO.: NOT AVAILABLE
        WILLIAM; ROBERTSON, HEIDI
        YAVONE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17674 BARNETT, JOSHUA;                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERTSON, NADINE SELMA;                                                    Litigation
        ROBERTSON, LAWRENCE          ACCOUNT NO.: NOT AVAILABLE
        WILLIAM; ROBERTSON, HEIDI
        YAVONE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17675 BARNETT, JOSHUA;                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERTSON, NADINE SELMA;                                                    Litigation
        ROBERTSON, LAWRENCE          ACCOUNT NO.: NOT AVAILABLE
        WILLIAM; ROBERTSON, HEIDI
        YAVONE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17676 BARON, JANET                           VARIOUS                              Wildfire                UNDETERMINED
        10 EAST AGUA CALIENTE RD                                                    Litigation
        APT E                        ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476



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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17677 BARON, TAMMY                           VARIOUS                              Wildfire                UNDETERMINED
        3820 SUMNER LN                                                              Litigation
        APT 3                        ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95405


3.17678 BARR, NANCY                            VARIOUS                              Wildfire                UNDETERMINED
        6305 MEADOWRIDGE DR                                                         Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.17679 BARRERA CASTILLO, FLOR Y               VARIOUS                              Wildfire                UNDETERMINED
        233 BRAND RD                                                                Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.17680 BARRERA, ALEJANDRO                     VARIOUS                              Wildfire                UNDETERMINED
        3663 SOLANO AVENUE                                                          Litigation
        143                          ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.17681 BARRERA, MARIA                         VARIOUS                              Wildfire                UNDETERMINED
        1081 JENNINGS AVE                                                           Litigation
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.17682 BARRERA, VICENTE                       VARIOUS                              Wildfire                UNDETERMINED
        110 FOOTHIL BLVD                                                            Litigation
        APT 4                        ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.17683 BARRETT, JANELL                        VARIOUS                              Wildfire                UNDETERMINED
        1557 GLENBROOK DR                                                           Litigation
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.17684 BARRETTO, LAWRENCE S. &                VARIOUS                              Wildfire                UNDETERMINED
        LYDIA I.                                                                    Litigation
        DARIO DE GHETALDI AMANDA     ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17685 BARRETTO, LAWRENCE S. &                    VARIOUS                              Wildfire                UNDETERMINED
        LYDIA I.                                                                        Litigation
        MIKE DANKOKRISTINE               ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17686 BARRIENTOS, RHINA                          VARIOUS                              Wildfire                UNDETERMINED
        4705 WARM SPRINGS RD                                                            Litigation
        GLEN ELLEN, CA 95442             ACCOUNT NO.: NOT AVAILABLE


3.17687 BARRY BEN-ZION                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                           Litigation
        SIMMONS                          ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17688 BARRY BEN-ZION                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                         Litigation
        R. PARKINSONDANIEL E.            ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17689 BARRY BEN-ZION                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                              Litigation
        FRIEDEMANN GOLDBERG LLP          ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17690 BARRY BEN-ZION                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                   Litigation
        DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.17691 BARRY MORRIS                               VARIOUS                              Wildfire                UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZ
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17692 BARRY MORRIS                              VARIOUS                              Wildfire                UNDETERMINED
        OMAR I. HABBAS                                                                 Litigation
        HABBAS & ASSOCIATES             ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112


3.17693 BARRY MORRIS                              VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.17694 BARRY PIERCE                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17695 BARRY PIERCE                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17696 BARRY PIERCE                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17697 BARRY PIERCE                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.17698 BARRY ROSENGRANT                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17699 BARRY ROSENGRANT                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17700 BARRY ROSENGRANT                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17701 BARRY ROSENGRANT                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17702 BARRY WENNER                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17703 BARRY WENNER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17704 BARRY WENNER                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17705 BARRY WENNER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17706 BART G. BUBECK                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17707 BART G. BUBECK                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17708 BART G. BUBECK                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17709 BART G. BUBECK                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17710 BART G. BUBECK                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.17711 BARTELT, VICTORIA                        VARIOUS                              Wildfire                UNDETERMINED
        1111 OLIVE HILL LANE                                                          Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.17712 BARTLETT, ASHLEY                         VARIOUS                              Wildfire                UNDETERMINED
        3605 AIRWAY DRIVE                                                             Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.17713 BARTOK LOUIS                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17714 BARTOK LOUIS                             VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.17715 BARTOK LOUIS                             VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.17716 BARTOK LOUIS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17717 BARTON KAPLAN                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.17718 BARTON KAPLAN                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17719 BARTON KAPLAN                            VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17720 BARTON KAPLAN                            VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17721 BARTON KAPLAN                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.17722 BARTON, CAROLYN                          VARIOUS                              Wildfire                UNDETERMINED
        14730 MEMORY LANE                                                             Litigation
        MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE


3.17723 BARTON, PATRICIA                         VARIOUS                              Wildfire                UNDETERMINED
        1144 MT. GEORGE AVE                                                           Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17724 BARTON, TIMOTHY T.; BARTON,              VARIOUS                              Wildfire                UNDETERMINED
        PAULA K.; BARTON, AMBER C.                                                    Litigation
        ELLIOT ADLERBRITTANY           ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17725 BARTON, TIMOTHY T.; BARTON,         VARIOUS                                   Wildfire                UNDETERMINED
        PAULA K.; BARTON, AMBER C.                                                    Litigation
        CO-COUNSELDEMETRIOS A.      ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17726 BARTON, TIMOTHY T.; BARTON,              VARIOUS                              Wildfire                UNDETERMINED
        PAULA K.; BARTON, AMBER C.                                                    Litigation
        GERARD SINGLETONERIKA L.       ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17727 BARTONE, LAURENCE                        VARIOUS                              Wildfire                UNDETERMINED
        9433 OAK TRAIL CIRCLE                                                         Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.17728 BASFORD, RICHARD                         VARIOUS                              Wildfire                UNDETERMINED
        DANIEL G. WHALEN                                                              Litigation
        ENGSTROM LIPSCOMB & LACK       ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.17729 BASHO WILLIAMS                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.17730 BASHO WILLIAMS                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704



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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17731 BASILLIA MACIAS                        VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                        Litigation
        296101)ROBERT T. BRYSON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17732 BATES, JASON                           VARIOUS                              Wildfire                UNDETERMINED
        2109 STONEFIELD LN                                                          Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.17733 BATTAGLIA, BARBARA                     VARIOUS                              Wildfire                UNDETERMINED
        3127 3RD ST                                                                 Litigation
        BIGGS, CA 95917              ACCOUNT NO.: NOT AVAILABLE


3.17734 BAUER, SIEGLINDE                       VARIOUS                              Wildfire                UNDETERMINED
        100 CLEARWATER COURT                                                        Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.17735 BAUER, SIEGLINDE                       VARIOUS                              Wildfire                UNDETERMINED
        100 CLEARWATER CT                                                           Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.17736 BAUGHMAN, FRANK                        VARIOUS                              Wildfire                UNDETERMINED
        963 MADRONE RD APT B1                                                       Litigation
        GLEN ELLEN, CA 95442         ACCOUNT NO.: NOT AVAILABLE


3.17737 BAUM, DONALD                           VARIOUS                              Wildfire                UNDETERMINED
        6285 MEADOWBREEZE CT.                                                       Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.17738 BAUMAN LOEWE WITT &                    VARIOUS                              Wildfire                UNDETERMINED
        MAXWELL PLLC, VICTOR SHER                                                   Litigation
        3650 N. RANCHO DR. #114      ACCOUNT NO.: NOT AVAILABLE
        LAS VEGAS, CA 89130


3.17739 BAURER, KATHRYN AND                    VARIOUS                              Wildfire                UNDETERMINED
        BENJAMIN                                                                    Litigation
        45 OAK FOREST PLACE          ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.17740 BAURER, ZACHARY                        VARIOUS                              Wildfire                UNDETERMINED
        45 OAK FOREST PLACE                                                         Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17741 BAUS, STEVEN                             VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 788                                                                    Litigation
        MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE


3.17742 BAUTISTA, TRINITY                        VARIOUS                              Wildfire                UNDETERMINED
        1609 CHARLENE PLACE                                                           Litigation
        SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.17743 BAY AREA TRENCHERS, INC.                 VARIOUS                              Wildfire                UNDETERMINED
        DBA DITCH WITCH-ARCIA, ERIC                                                   Litigation
        7323 E. MANNING AVE            ACCOUNT NO.: NOT AVAILABLE
        FOWLER, CA 93625


3.17744 BEARDSLEY, JAMES                         VARIOUS                              Wildfire                UNDETERMINED
        4916 HOEN AVE                                                                 Litigation
        SANTA ROSA, CA 95405           ACCOUNT NO.: NOT AVAILABLE


3.17745 BEATRICE NEVES                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17746 BEATRICE NEVES                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17747 BEATRICE NEVES                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17748 BEATRICE NEVES                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17749 BEATRIZ HERRERA OSORIO                   VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17750 BEATRIZ HERRERA OSORIO                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17751 BEATRIZ HERRERA OSORIO                   VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17752 BEATRIZ RIVERA                           VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17753 BEATTIE, LANDA                           VARIOUS                              Wildfire                UNDETERMINED
        14065 TEMPLE CIR                                                              Litigation
        MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17754 BEAU BARRINGTON                          VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.17755 BEAU BARRINGTON                          VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.17756 BEAU BARRINGTON                          VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.17757 BEAU BREEDEN                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17758 BEAU BREEDEN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.17759 BEAU BREEDEN                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17760 BEAU BREEDEN                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17761 BEAU BREEDEN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17762 BEAUFILS, ELIZABETH MICHELE         VARIOUS                                 Wildfire                UNDETERMINED
        (RELATED TO PARISAH JESUS;                                                  Litigation
        LEVI GAGE AND AMBER BUTLER) ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17763 BEAUFILS, ELIZABETH MICHELE         VARIOUS                                 Wildfire                UNDETERMINED
        (RELATED TO PARISAH JESUS;                                                  Litigation
        LEVI GAGE AND AMBER BUTLER) ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17764 BEAUFILS, ELIZABETH MICHELE         VARIOUS                                 Wildfire                UNDETERMINED
        (RELATED TO PARISAH JESUS;                                                  Litigation
        LEVI GAGE AND AMBER BUTLER) ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17765 BECERRA, BERTHA                        VARIOUS                              Wildfire                UNDETERMINED
        3504 LINDA VISTA AVE                                                        Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.17766 BECHARD. MACY C.; BECHARD,             VARIOUS                              Wildfire                UNDETERMINED
        MELODY                                                                      Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075



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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17767 BECHARD. MACY C.; BECHARD,             VARIOUS                              Wildfire                UNDETERMINED
        MELODY                                                                      Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17768 BECHARD. MACY C.; BECHARD,         VARIOUS                                  Wildfire                UNDETERMINED
        MELODY                                                                      Litigation
        CO-COUNSELDEMETRIOS A.     ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17769 BECK, JONETTE                          VARIOUS                              Wildfire                UNDETERMINED
        1138 OLIVE HILL LANE                                                        Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.17770 BECKER, JAMES ALLEN;               VARIOUS                                  Wildfire                UNDETERMINED
        DOUGHERTY, KATHERINE IDELL                                                  Litigation
        CO-COUNSELDEMETRIOS A.     ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17771 BECKER, JAMES ALLEN;                   VARIOUS                              Wildfire                UNDETERMINED
        DOUGHERTY, KATHERINE IDELL                                                  Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17772 BECKER, JAMES ALLEN;                   VARIOUS                              Wildfire                UNDETERMINED
        DOUGHERTY, KATHERINE IDELL                                                  Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17773 BECKMAN, THOMAS                        VARIOUS                              Wildfire                UNDETERMINED
        1424 WIKIUP DRIVE                                                           Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.17774 BECKWITH, ELIZABETH                    VARIOUS                              Wildfire                UNDETERMINED
        550 BOYES BLVD                                                              Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17775 BECKY CECIL                              VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.17776 BECKY CECIL                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17777 BECKY CECIL                              VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.17778 BECKY CECIL                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17779 BECKY CHRISTENSEN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17780 BECKY CHRISTENSEN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                     Litigation
        SBN: 110909ANDREA R.           ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.17781 BECKY CHRISTENSEN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17782 BECKY CHRISTENSEN                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.17783 BECKY CHRISTENSEN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.17784 BEDNARCHIK, DOUG JAMES                     VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17785 BEDNARCHIK, DOUG JAMES                     VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17786 BEDNARCHIK, DOUG JAMES            VARIOUS                                       Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                          Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17787 BEEKHUIS, CHRISTIAAN                   VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM; RICHARD ECKMAN                                                     Litigation
        DARIO DE GHETALDI AMANDA     ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17788 BEEKHUIS, CHRISTIAAN                   VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM; RICHARD ECKMAN                                                     Litigation
        MIKE DANKOKRISTINE           ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17789 BEERBOWER, SANDY                       VARIOUS                              Wildfire                UNDETERMINED
        17180 CEDAR AVE                                                             Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.17790 BEGBIE, MELISSA                        VARIOUS                              Wildfire                UNDETERMINED
        14796 GOLDCONE DRIVE                                                        Litigation
        MAGALIA, CA 95954            ACCOUNT NO.: NOT AVAILABLE


3.17791 BEGIN, JOSH                            VARIOUS                              Wildfire                UNDETERMINED
        3561 DOVER ST                                                               Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.17792 BELEN MENDOZA                          VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                          Litigation
        DANIELS LAW                  ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.17793 BELEN MENDOZA                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17794 BELEN MENDOZA                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17795 BELEN MENDOZA                          VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                  Litigation
        54426) DANIEL S. ROBINSON    ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.17796 BELEN MENDOZA                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17797 BELINDA DAVIS                          VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                        Litigation
        296101)ROBERT T. BRYSON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17798 BELINDA HERNANDEZ                      VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17799 BELINDA HERNANDEZ                      VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17800 BELINDA ROBERSON                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17801 BELINDA ROBERSON                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.17802 BELINDA ROBERSON                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.17803 BELINDA ROBERSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17804 BELINDA ROBERSON                         VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17805 BELL, DOUGLAS ALEXANDER;                 VARIOUS                              Wildfire                UNDETERMINED
        BELL, MAREN                                                                   Litigation
        ELLIOT ADLERBRITTANY           ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17806 BELL, DOUGLAS ALEXANDER;                VARIOUS                              Wildfire                UNDETERMINED
        BELL, MAREN                                                                  Litigation
        GERARD SINGLETONERIKA L.      ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17807 BELL, DOUGLAS ALEXANDER;          VARIOUS                                    Wildfire                UNDETERMINED
        BELL, MAREN                                                                  Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17808 BELL, VICTORIA                          VARIOUS                              Wildfire                UNDETERMINED
        3663 SOLANO AVE                                                              Litigation
        APT 95                        ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.17809 BELLA BARRETT                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17810 BELLA BARRETT                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17811 BELLA PAMELAR BAGUHIN                   VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17812 BELLA PAMELAR BAGUHIN                    VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17813 BELLA PAMELAR BAGUHIN                    VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17814 BELLA PAMELAR BAGUHIN                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17815 BEN LLAMAS                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17816 BEN LLAMAS                               VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17817 BEN LLAMAS                                VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17818 BEN LLAMAS                                VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17819 BEN PAINE                                 VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.17820 BEN PAINE                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17821 BEN PAINE                                 VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17822 BEN PAINE                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17823 BEN REED                                VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17824 BEN REED                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17825 BEN REED                                VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17826 BEN REED                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17827 BEN REED                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17828 BEN THOMAS                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17829 BEN THOMAS                              VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                           Litigation
        DANIELS LAW                   ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17830 BEN THOMAS                             VARIOUS                              Wildfire                UNDETERMINED
        JENNIE LEE ANDERSONLORI                                                     Litigation
        E. ANDRUS                    ACCOUNT NO.: NOT AVAILABLE
        ANDRUS ANDERSON LLP
        155 MONTGOMERY STREET,
        SUITE 900
        SAN FRANCISCO, CA 94104


3.17831 BEN THOMAS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17832 BEN THOMAS                             VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17833 BENEFIEL, ANN                          VARIOUS                              Wildfire                UNDETERMINED
        171 BOYES BLVD                                                              Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.17834 BENGEL, LUPE                           VARIOUS                              Wildfire                UNDETERMINED
        11 LAGUNA SECA CT                                                           Litigation
        ST HELENA, CA 94574          ACCOUNT NO.: NOT AVAILABLE


3.17835 BENGT BERG                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17836 BENGT BERG                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17837 BENGT BERG                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.17838 BENGT BERG                               VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17839 BENITEZ, GRISELDQ                        VARIOUS                              Wildfire                UNDETERMINED
        784 SIMPSON PL                                                                Litigation
        SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.17840 BENJAMIN BABER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17841 BENJAMIN BABER                           VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                     Litigation
        (SBN 99126)NATASHA N.          ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17842 BENJAMIN BABER                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                   Litigation
        9858)JESSICA W. HAYES.,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.17843 BENJAMIN BABER                           VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.17844 BENJAMIN BASLOW                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17845 BENJAMIN BASLOW                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.17846 BENJAMIN BASLOW                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17847 BENJAMIN BASLOW                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.17848 BENJAMIN C. DUQUETTE                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17849 BENJAMIN C. DUQUETTE                      VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17850 BENJAMIN C. DUQUETTE                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17851 BENJAMIN C. DUQUETTE                      VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.17852 BENJAMIN D PICKETT                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17853 BENJAMIN D PICKETT                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17854 BENJAMIN D PICKETT                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17855 BENJAMIN D PICKETT                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17856 BENJAMIN D PICKETT                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17857 BENJAMIN ELLIOTT                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17858 BENJAMIN ELLIOTT                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17859 BENJAMIN ELLIOTT                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17860 BENJAMIN ELLIOTT                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17861 BENJAMIN GREENWALD                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17862 BENJAMIN GREENWALD                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17863 BENJAMIN GREENWALD                       VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                      Litigation
        315962)TODD LOGAN (SBN         ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.17864 Benjamin Greenwald                          VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.17865 BENJAMIN HERNANDEZ                          VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                         Litigation
        BAR #304697)                      ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.17866 BENJAMIN HERNANDEZ                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17867 BENJAMIN HERNANDEZ                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                 Litigation
        WALKUP, MELODIA, KELLY &          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17868 BENJAMIN HERNANDEZ                          VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                        Litigation
        160461)                           ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.17869 BENJAMIN HERNANDEZ                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH FEIST -- SBN                                                              Litigation
        249447JONATHAN J.                 ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17870 BENJAMIN LASKER                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                      Litigation
        E. DAVIS KEVIN M. OSBORNE     ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.17871 BENJAMIN LOPEZ                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17872 BENJAMIN LOPEZ                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.17873 BENJAMIN MALDONADO SUAREZ            VARIOUS                                 Wildfire                UNDETERMINED
        JOHN COX                                                                     Litigation
        LAW OFFICES OF JOHN COX      ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17874 BENJAMIN MALDONADO SUAREZ            VARIOUS                                 Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                        Litigation
        BOLDT                        ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17875 BENJAMIN MALDONADO SUAREZ          VARIOUS                                   Wildfire                UNDETERMINED
        ROY MILLER                                                                   Litigation
        HANSEN AND MILLER LAW FINN ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17876 BENJAMIN MILLER                         VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J.                                                                 Litigation
        CABRASERROBERT J.             ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.17877 BENJAMIN MOORE                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17878 BENJAMIN MOORE                          VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                   Litigation
        54426) DANIEL S. ROBINSON     ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.17879 BENJAMIN MOORE                          VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                           Litigation
        DANIELS LAW                   ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.17880 BENJAMIN MOORE                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17881 BENJAMIN MOORE                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17882 BENJAMIN MORALEZ                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17883 BENJAMIN MORALEZ                         VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.17884 BENJAMIN MORALEZ                         VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FIRM     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.17885 BENJAMIN MRVICH                          VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17886 BENJAMIN NEUMANN                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17887 BENJAMIN NEUMANN                         VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                     Litigation
        (SBN 99126)NATASHA N.          ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17888 BENJAMIN NEUMANN                        VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.17889 BENJAMIN NEUMANN                        VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.17890 BENJAMIN R FLORES                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17891 BENJAMIN R FLORES                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17892 BENJAMIN R FLORES                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17893 BENJAMIN R FLORES                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17894 BENJAMIN R FLORES                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17895 BENNETT PARKER                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17896 BENNETT PARKER                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.17897 BENNETT PARKER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17898 BENNETT PARKER                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17899 BENNETT PARKER                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.17900 BENNETT, JOYCE                           VARIOUS                              Wildfire                UNDETERMINED
        15340 MARTY DR                                                                Litigation
        GLEN ELLEN, CA 95442           ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17901 BENNETT, JULIE                           VARIOUS                              Wildfire                UNDETERMINED
        805 SHADYOAK DRIVE                                                            Litigation
        SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.17902 BENNIE WILSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17903 BENNIE WILSON                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17904 BENNIE WILSON                            VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17905 BENNIE WILSON                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.17906 BENTLEY, GEORGE                          VARIOUS                              Wildfire                UNDETERMINED
        3268 HAGEN ROAD                                                               Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.17907 BENTON, ED (INDIVIDUALLY,          VARIOUS                                    Wildfire                UNDETERMINED
        AND AS CORPORATE                                                              Litigation
        REPRESENTATIVES OF         ACCOUNT NO.: NOT AVAILABLE
        HOUSING ALTERNATIVES INC.)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17908 BENTON, ED (INDIVIDUALLY,               VARIOUS                              Wildfire                UNDETERMINED
        AND AS CORPORATE                                                             Litigation
        REPRESENTATIVES OF            ACCOUNT NO.: NOT AVAILABLE
        HOUSING ALTERNATIVES INC.)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17909 BENTON, ED (INDIVIDUALLY,               VARIOUS                              Wildfire                UNDETERMINED
        AND AS CORPORATE                                                             Litigation
        REPRESENTATIVES OF            ACCOUNT NO.: NOT AVAILABLE
        HOUSING ALTERNATIVES INC.)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17910 BERA, AL                                VARIOUS                              Wildfire                UNDETERMINED
        4474 SANDALWOOD ST                                                           Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.17911 BERENICE RODRIGUEZ                      VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.17912 BERENICE RODRIGUEZ                      VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17913 BERENICE RODRIGUEZ                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17914 BERENICE RODRIGUEZ                       VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17915 BERENICE RODRIGUEZ                       VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17916 BERENICE SARGENT                         VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17917 BERETTA HOFF                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17918 BERETTA HOFF                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17919 BERGER, FRAN                             VARIOUS                              Wildfire                UNDETERMINED
        1425 TWILIGHT WAY                                                             Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.17920 BERGNA, PAUL                             VARIOUS                              Wildfire                UNDETERMINED
        1550 RIDGE RD                                                                 Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17921 BERGSTEDT, LAURIE                       VARIOUS                              Wildfire                UNDETERMINED
        5175 PARKHURST DRIVE                                                         Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.17922 BERIT HILL                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.17923 BERIT HILL                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17924 BERKLAND, MARY ELLEN                    VARIOUS                              Wildfire                UNDETERMINED
        557 SAN JUAN ST                                                              Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.17925 BERKLEY NATIONAL                        VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        SCOTT G. JOHNSON, BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        153735
        ROBINS KAPLAN LLP
        2049 CENTURY PARK EAST,
        SUITE 3400
        LOS ANGELES, CA 90067-3208


3.17926 BERKLEY NATIONAL                        VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17927 BERKLEY NATIONAL                        VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17928 BERKLEY REGIONAL                        VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        SCOTT G. JOHNSON, BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        153735
        ROBINS KAPLAN LLP
        2049 CENTURY PARK EAST,
        SUITE 3400
        LOS ANGELES, CA 90067-3208


3.17929 BERKLEY REGIONAL                        VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.17930 BERKLEY REGIONAL                        VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17931 BERKSHIRE HATHAWAY                      VARIOUS                              Wildfire                UNDETERMINED
        AMGUARD INSURANCE                                                            Litigation
        COMPANY                       ACCOUNT NO.: NOT AVAILABLE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.17932 BERKSHIRE HATHAWAY                         VARIOUS                              Wildfire                UNDETERMINED
        AMGUARD INSURANCE                                                               Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.17933 BERKSHIRE HATHAWAY                         VARIOUS                              Wildfire                UNDETERMINED
        AMGUARD INSURANCE                                                               Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        MAURA WALSH OCHOA

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.17934 Berkshire Hathaway Specialty                VARIOUS                             Wildfire                UNDETERMINED
        Insurance Company                                                               Litigation
        Paul A. Casetta (Pro Hac            ACCOUNT NO.: NOT AVAILABLE
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.17935 BERLINER, DANIEL; BERLINER,                VARIOUS                              Wildfire                UNDETERMINED
        LOAN                                                                            Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17936 BERLINER, DANIEL; BERLINER,         VARIOUS                                     Wildfire                UNDETERMINED
        LOAN                                                                            Litigation
        CO-COUNSELDEMETRIOS A.      ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17937 BERLINER, DANIEL; BERLINER,             VARIOUS                              Wildfire                UNDETERMINED
        LOAN                                                                         Litigation
        ELLIOT ADLERBRITTANY          ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17938 BERLO, LAURIE                           VARIOUS                              Wildfire                UNDETERMINED
        2288 BODIE ST                                                                Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.17939 BERNA LIGHTFOOT                         VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.17940 BERNADETTE VILLASANA                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17941 BERNADETTE VILLASANA                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17942 BERNADETTE VILLASANA                    VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17943 BERNADETTE VILLASANA                     VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17944 BERNADETTE VILLASANA                     VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.17945 BERNARD BUCKLEY                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17946 BERNARD BUCKLEY                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.17947 BERNARD BUCKLEY                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17948 BERNARD BUCKLEY                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.17949 BERNARD KRAUSE                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.17950 BERNARD KRAUSE                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.17951 BERNARD KRAUSE                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.17952 BERNARD KRAUSE                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.17953 BERNARD KRAUSE                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.17954 BERNARD RHATIGAN                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17955 BERNARD RHATIGAN                          VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17956 BERNARD RHATIGAN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17957 BERNARD RHATIGAN                          VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.17958 BERNARD WETZEL                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. THOMPSON                                                             Litigation
        THOMPSON LAW OFFICES, P.C.      ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.17959 BERNARD, DEANNA                           VARIOUS                              Wildfire                UNDETERMINED
        1173 HEXEM AVE                                                                 Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.17960 BERNARDO MANZO                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17961 BERNARDO MANZO                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17962 BERNARDO MANZO                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.17963 BERNARDO MANZO                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.17964 BERNICE COLVARD                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.17965 BERNICE COLVARD                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.17966 BERNSTEIN, LEONARD                        VARIOUS                              Wildfire                UNDETERMINED
        4007 BAYVIEW AVE                                                               Litigation
        SAN MATEO, CA 94403             ACCOUNT NO.: NOT AVAILABLE


3.17967 BERRY, ROBIN                              VARIOUS                              Wildfire                UNDETERMINED
        5922 SUNHAWK DRIVE                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.17968 BERT CALLIS                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.17969 BERT CALLIS                               VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.17970 BERT CALLIS                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17971 BERT CALLIS                                 VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                         Litigation
        #117228                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.17972 Berthiaume, Johnnie Sue; Arndt,             VARIOUS                              Wildfire                UNDETERMINED
        Ilona; Berthiaume, Zackary                                                       Litigation
        Michael (Minors, By And Through   ACCOUNT NO.: NOT AVAILABLE
        Their Guardian Ad Litem Johnnie
        Sue Berthiaume); Eggers, Riley
        Grey (Minors, By And Through
        Their Guardian Ad Litem Johnnie
        Sue Berthiaume)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.17973 Berthiaume, Johnnie Sue; Arndt,             VARIOUS                              Wildfire                UNDETERMINED
        Ilona; Berthiaume, Zackary                                                       Litigation
        Michael (Minors, By And Through   ACCOUNT NO.: NOT AVAILABLE
        Their Guardian Ad Litem Johnnie
        Sue Berthiaume); Eggers, Riley
        Grey (Minors, By And Through
        Their Guardian Ad Litem Johnnie
        Sue Berthiaume)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.17974 Berthiaume, Johnnie Sue; Arndt,             VARIOUS                              Wildfire                UNDETERMINED
        Ilona; Berthiaume, Zackary                                                       Litigation
        Michael (Minors, By And Through   ACCOUNT NO.: NOT AVAILABLE
        Their Guardian Ad Litem Johnnie
        Sue Berthiaume); Eggers, Riley
        Grey (Minors, By And Through
        Their Guardian Ad Litem Johnnie
        Sue Berthiaume)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075

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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17975 BERTON, DAVIENE PATRICIA;              VARIOUS                              Wildfire                UNDETERMINED
        HEWES, DEBORAH JANE                                                         Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.17976 BERTON, DAVIENE PATRICIA;         VARIOUS                                   Wildfire                UNDETERMINED
        HEWES, DEBORAH JANE                                                         Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.17977 BERTON, DAVIENE PATRICIA;              VARIOUS                              Wildfire                UNDETERMINED
        HEWES, DEBORAH JANE                                                         Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17978 BERTZ, ROBERT                          VARIOUS                              Wildfire                UNDETERMINED
        429 CHESTNUT AVE.                                                           Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.17979 BESS, CHRISTINE & BRYAN                VARIOUS                              Wildfire                UNDETERMINED
        GIBSON                                                                      Litigation
        6004 MONTICELLO ROAD         ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.17980 BESS, SARAH                            VARIOUS                              Wildfire                UNDETERMINED
        5900 WRAGG CANYON RD                                                        Litigation
        B                            ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.17981 BETH L. ZIMMERMAN JUSTIN               VARIOUS                              Wildfire                UNDETERMINED
        KLING                                                                       Litigation
        GERALD SINGLETONTERRY        ACCOUNT NO.: NOT AVAILABLE
        SINGLETONERIKA L.
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.17982 BETH L. ZIMMERMAN JUSTIN               VARIOUS                              Wildfire                UNDETERMINED
        KLING                                                                       Litigation
        JOHN F. MCGUIRE, APCJ.       ACCOUNT NO.: NOT AVAILABLE
        DOMENIC MARTINI
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.17983 BETH L. ZIMMERMAN JUSTIN               VARIOUS                              Wildfire                UNDETERMINED
        KLING                                                                       Litigation
        PATRICK MCNICHOLAS, ABN      ACCOUNT NO.: NOT AVAILABLE
        125868JUSTIN J. EBALLAR,
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.17984 BETH L. ZIMMERMAN JUSTIN               VARIOUS                              Wildfire                UNDETERMINED
        KLING                                                                       Litigation
        MICHAEL A. KELLY             ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17985 BETH L. ZIMMERMAN JUSTIN               VARIOUS                              Wildfire                UNDETERMINED
        KLING                                                                       Litigation
        STEVEN M. CAMPORA            ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17986 BETH MCLAUGHLIN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359 KRISTINE K.           ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.17987 BETH MCLAUGHLIN                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.17988 BETH MCLAUGHLIN                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.17989 BETH N MCELROY                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.17990 BETH N MCELROY                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17991 BETH N MCELROY                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.17992 BETH N MCELROY                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.17993 BETH N MCELROY                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.17994 BETHANY FOSTER                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.17995 BETHANY FOSTER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17996 BETHANY FOSTER                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.17997 BETHANY HAVEY                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.17998 BETHANY HAVEY                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.17999 BETHANY HAVEY                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18000 BETHANY HAVEY                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN      ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.18001 BETHANY VIPPERMAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18002 BETHANY VIPPERMAN                        VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18003 BETHANY VIPPERMAN                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18004 BETHANY VIPPERMAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18005 BETHANY VOWINKEL                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18006 BETHANY VOWINKEL                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18007 BETHANY VOWINKEL                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18008 BETHANY VOWINKEL                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18009 BETHANY VOWINKEL                         VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18010 BETSEY VANNOY                            VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18011 BETSY ANN COWLEY                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18012 BETSY ANN COWLEY                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18013 BETSY ANN COWLEY                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18014 BETSY ANN COWLEY                        VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18015 BETSY ANN COWLEY                        VARIOUS                              Wildfire                UNDETERMINED
        CHARLES S.                                                                   Litigation
        ZIMMERMANCALEB LH             ACCOUNT NO.: NOT AVAILABLE
        MARKER
        ZIMMERMAN REED LLP
        2381 ROSECRANS AVE, SUITE
        328
        MANHATTAN BEACH, CA 90245


3.18016 BETTE BECKER                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18017 BETTE BECKER                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18018 BETTE BECKER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18019 BETTE BECKER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18020 BETTE JO MCDONALD                        VARIOUS                              Wildfire                UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                   Litigation
        PANISH SHEA &BOYLE, LLP        ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.18021 BETTE JO MCDONALD                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                   Litigation
        WALKUP MELODIA KELLY&          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18022 BETTE JO MCDONALD                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18023 BETTE JO MCDONALD                       VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE (SBN                                                          Litigation
        100077)ALISON E. CORDOVA      ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.18024 BETTENCOURT, JESSICA              VARIOUS                                    Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.18025 BETTENCOURT, JESSICA                    VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                     Litigation
        VASQUEZAMANDA LOCUTRO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18026 BETTENCOURT, JESSICA                    VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                         Litigation
        ZUMMER                        ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18027 BETTY A CASTLE                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18028 BETTY A CASTLE                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18029 BETTY A CASTLE                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18030 BETTY A CASTLE                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18031 BETTY A CASTLE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18032 BETTY BURLILE                            VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18033 BETTY BURLILE                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18034 BETTY BURLILE                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18035 BETTY BURLILE                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18036 BETTY C. KIRKLAND                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.18037 BETTY C. KIRKLAND                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.18038 BETTY C. KIRKLAND                         VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.18039 BETTY C. KIRKLAND                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18040 BETTY HILGER                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18041 BETTY HILGER                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18042 BETTY HILGER                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.18043 BETTY HILGER                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.18044 BETTY JEAN GANDOLFI                       VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.18045 BETTY JEAN GANDOLFI                       VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18046 BETTY JEAN GANDOLFI                       VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.18047 BETTY JEAN GANDOLFI                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18048 BETTY PINSKY                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18049 BETTY PINSKY                             VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.18050 BETTY PINSKY                             VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.18051 BETTY POOR                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18052 BETTY POOR                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE (SBN                                                           Litigation
        100077)ALISON E. CORDOVA       ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.18053 BETTY POOR                               VARIOUS                              Wildfire                UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                   Litigation
        PANISH SHEA &BOYLE, LLP        ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.18054 BETTY POOR                                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                         Litigation
        WALKUP MELODIA KELLY&                ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18055 Betty Record                                   VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.18056 BETTY RECORD                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18057 BETTY RECORD                                   VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18058 Betty Summars                                  VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                        Litigation
        application anticipated)Guy Watts    ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18059 BETTY SUMMARS                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18060 BETTY TAMARA GROSS                       VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.18061 BETTY TAMARA GROSS                       VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.18062 BETTY TAMARA GROSS                       VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.18063 BETTY WAGNER                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18064 BETTY WAGNER                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18065 BETTY WAGNER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18066 BETTY WAGNER                             VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18067 BETTY WICHMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18068 BETTY WICHMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18069 BETTY WICHMAN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18070 BETTY WICHMAN                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18071 BEVERLY ARMSTRONG                        VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18072 BEVERLY ARMSTRONG                        VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18073 BEVERLY CONKLIN                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18074 BEVERLY CONKLIN                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18075 BEVERLY ELLEFSON                         VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18076 BEVERLY ELLEFSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18077 BEVERLY ELLEFSON                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18078 BEVERLY ELLEFSON                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18079 BEVERLY JIMMERSON                        VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18080 BEVERLY JIMMERSON                        VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.18081 BEVERLY URIBE                                  VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                            Litigation
        AMANWILLIAM P. HARRIS                ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18082 BEVERLY URIBE                                  VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                                    Litigation
        ABRAHAM, WATKINS, NICHOLS,           ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18083 BG Resolution Partners I-A, L.L.C.             VARIOUS                              Wildfire                UNDETERMINED
        (f/k/a Parnell Row, L.L.C.), as                                                     Litigation
        assignee ofCSAA Insurance            ACCOUNT NO.: NOT AVAILABLE

        Exchange; CSAA Fire & Casualty
        Insurance Company; and CSAA
        General Insurance Company
        Alan J. Jang (SBN 83409)Sally
        Noma (SBN 264774)Stephanie A.
        Yee (SBN 172251)
        Jang & Associates LLP
        1766 Lacassie Avenue, Suite 200
        Walnut Creek, California 94596


3.18084 BG RESOLUTION PARTNERS I-B,                    VARIOUS                              Wildfire                UNDETERMINED
        LLC, AS ASSIGNEE OF CSAA                                                            Litigation
        INSURANCE EXCHANGE CSAA              ACCOUNT NO.: NOT AVAILABLE
        FIRE & CASUALTY INSURANCE
        COMPANY AND CSAA GENERAL
        INSURANCE COMPANY
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES, LLP
        1766 LACASSIDE AVE, SUITE 200
        WALNUT CREEK, CA 94596




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Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.18085 BG Resolution Partners II-A, L.L.C.              VARIOUS                              Wildfire                UNDETERMINED
        (f/k/a Blairwell Holdings A L.L.C.),                                                  Litigation
        as assignee of California Capital      ACCOUNT NO.: NOT AVAILABLE
        Insurance Company, Eagle West
        Insurance Company, Monterey
        Insurance Company, and Nevada

         Capital Insurance Company
         Alan J. Jang (SBN 83409)Sally
         Noma (SBN 264774)Stephanie A.
         Yee (SBN 172251)
         Jang & Associates LLP
         1766 Lacassie Avenue, Suite 200
         Walnut Creek, California 94596


3.18086 BG Resolution Partners II-B, LLC                 VARIOUS                              Wildfire                UNDETERMINED
        (f/k/a Blairweel Holdings B LLC), as                                                  Litigation
        assignee of California Capital         ACCOUNT NO.: NOT AVAILABLE
        Insurance Company, Eagle West
        Insurance Company, Monterey
        Insurance Company, Nevada
        Captial Insurance Company
        Alan J. Jang Sally Noma
        Jang & Associates, LLP
        1766 Lacasside Ave, Suite 200
        Walnut Creek, CA 94596


3.18087 BG RESOLUTION PARTNERS III-                      VARIOUS                              Wildfire                UNDETERMINED
        A, LLC (F/K/A BELISAMA ROW A,                                                         Litigation
        LLC), AS ASSIGNEE OF IDS               ACCOUNT NO.: NOT AVAILABLE
        PROPERTY CASUALTY
        INSURANCE COMPANY
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.18088 BG RESOLUTION PARTNERS III-                      VARIOUS                              Wildfire                UNDETERMINED
        A, LLC (F/K/A BELISAMA ROW A,                                                         Litigation
        LLC), AS ASSIGNEE OF IDS               ACCOUNT NO.: NOT AVAILABLE
        PROPERTY CASUALTY
        INSURANCE COMPANY
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.18089 BG RESOLUTION PARTNERS III-                    VARIOUS                              Wildfire                UNDETERMINED
        A, LLC (F/K/A BELISAMA ROW A,                                                       Litigation
        LLC), AS ASSIGNEE OF IDS             ACCOUNT NO.: NOT AVAILABLE
        PROPERTY CASUALTY
        INSURANCE COMPANY
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.18090 BG RESOLUTION PARTNERS III-                    VARIOUS                              Wildfire                UNDETERMINED
        B, LLC (F/K/A BELISAMA ROW B),                                                      Litigation
        AS ASSIGNEE OF IDS                   ACCOUNT NO.: NOT AVAILABLE
        PROPERTY CASUALTY
        INSURANCE COMPANY
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES, LLP
        1766 LACASSIDE AVE, SUITE 200
        WALNUT CREEK, CA 94596


3.18091 BG Resolution Partners IV-A, LLC,              VARIOUS                              Wildfire                UNDETERMINED
        as assignee of Homesite Insurance                                                   Litigation
        Company of the Midwest, Homesite     ACCOUNT NO.: NOT AVAILABLE
        Insurance Company of California,
        Midvale Indemnity Company,
        Permanent General Assurance
        Corporation Company
        Alan J. Jang Sally Noma
        Jang & Associates LLP
        1766 Lacassie Avenue, Suite 200
        Walnut Creek, California 94596


3.18092 BG Resolution Partners IV-A, LLC,              VARIOUS                              Wildfire                UNDETERMINED
        as assignee of Homesite Insurance                                                   Litigation
        Company of the Midwest, Homesite     ACCOUNT NO.: NOT AVAILABLE
        Insurance Company of California,
        Midvale Indemnity Company,
        Permanent General Assurance
        Corporation Company
        Howard D. Maycon
        Cozen O'Connor
        601 S. Figueroa Street, Suite 3700
        Los Angeles, CA 90017




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.18093 BG Resolution Partners IV-A, LLC,             VARIOUS                              Wildfire                UNDETERMINED
        as assignee of Homesite Insurance                                                  Litigation
        Company of the Midwest, Homesite    ACCOUNT NO.: NOT AVAILABLE
        Insurance Company of California,
        Midvale Indemnity Company,
        Permanent General Assurance
        Corporation Company
        Kevin D. BushThomas M.
        ReganDavid D. Brisco
        Cozen O'Connor
        501 West Broadway, Suite 1610
        San Diego, CA 92101


3.18094 BG Resolution Partners IV-B, LLC,             VARIOUS                              Wildfire                UNDETERMINED
        as assignee of Homesite Insurance                                                  Litigation
        Company of the Midwest Homesite     ACCOUNT NO.: NOT AVAILABLE
        Insurance Company of California
        Midvale Indemnity Company and
        Permanent Genearl Assurance
        Corporation
        Alan J. Jang Sally Noma
        Jang & Associates, LLP
        1766 Lacasside Ave, Suite 200
        Walnut Creek, CA 94596


3.18095 BG Resolution Partners V-A,                   VARIOUS                              Wildfire                UNDETERMINED
        L.L.C., as purchaser of rights of                                                  Litigation
        assignment of Allied P&C            ACCOUNT NO.: NOT AVAILABLE
        Insurance Company; AMCO
        Insurance Company; Crestbrook
        Insurance Company; Depositors
        Insurance Company; Harleysville
        Insurance Company; Nationwide
        Agribusiness Insuran
        Alan J. Jang (SBN 83409)Sally
        Noma (SBN 264774)Stephanie A.
        Yee (SBN 172251)
        Jang & Associates LLP
        1766 Lacassie Avenue, Suite 200
        Walnut Creek, California 94596


3.18096 BG Resolution Partners V-B, LLC,              VARIOUS                              Wildfire                UNDETERMINED
        as purchaser of rights of                                                          Litigation
        assignment of Allied P&C            ACCOUNT NO.: NOT AVAILABLE
        Insurance Company AMCO
        Insurance Company Crestbrook
        Insurance Company Depositors
        Insurance Company Harleysville
        Insurance Company Nationwide
        Agribusiness Insurance NAIC Na
        Alan J. Jang Sally Noma
        Jang & Associates, LLP
        1766 Lacasside Ave, Suite 200
        Walnut Creek, CA 94596




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18097 BHATTARAI, DINESH                        VARIOUS                              Wildfire                UNDETERMINED
        106 CASA BELLA DRIVE                                                          Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.18098 BHAVANA KHIROYA                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                     Litigation
        NO. 100077                     ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.18099 BHAVANA KHIROYA                          VARIOUS                              Wildfire                UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                   Litigation
        116060RAHUL RAVIPUDI,          ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.18100 BHAVANA KHIROYA                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                   Litigation
        NO. 71460                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.18101 BIANCHINIS THE SANDWICH                  VARIOUS                              Wildfire                UNDETERMINED
        AND SALAD MARKET-CRANE,                                                       Litigation
        BRYAN                          ACCOUNT NO.: NOT AVAILABLE
        809 RUTH COURT
        PETALUMA, CA 94952


3.18102 BICKEL, GREG                             VARIOUS                              Wildfire                UNDETERMINED
        914 SHADY OAK DRIVE                                                           Litigation
        SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.18103 BICKFORD PRECISION MACHINE               VARIOUS                              Wildfire                UNDETERMINED
        & DESIGN INC-BRICKFORD, TOM                                                   Litigation
        1760 INDUSTRIAL WAY # 3 BLDG   ACCOUNT NO.: NOT AVAILABLE
        A
        NAPA, CA 94558




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18104 BICKFORD, MARY                           VARIOUS                              Wildfire                UNDETERMINED
        3633 BECKWORTH DR                                                             Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.18105 BICKFORD, TOM                            VARIOUS                              Wildfire                UNDETERMINED
        4 NOBLE LN                                                                    Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.18106 BICKFORD, TRESSIE                        VARIOUS                              Wildfire                UNDETERMINED
        10 DAMRON RD                                                                  Litigation
        BANGOR, CA 95914               ACCOUNT NO.: NOT AVAILABLE


3.18107 BIGGS-ADAMS, CARRIE;                     VARIOUS                              Wildfire                UNDETERMINED
        ROBERT DAYNE ADAMS                                                            Litigation
        ADDRESS NOT PROVIDED           ACCOUNT NO.: NOT AVAILABLE


3.18108 BILADEAU, TERRY                          VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 124                                                                    Litigation
        BROWNS VALLEY, CA 95918        ACCOUNT NO.: NOT AVAILABLE


3.18109 BILENKIJ, ANDREW                         VARIOUS                              Wildfire                UNDETERMINED
        2990 CAVEDALE ROAD                                                            Litigation
        GLEN ELLEN, CA 95442           ACCOUNT NO.: NOT AVAILABLE


3.18110 BILL BELARDI                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. THOMPSON                                                            Litigation
        THOMPSON LAW OFFICES, P.C.     ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.18111 BILL CUSACK                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18112 BILL CUSACK                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18113 BILL CUSACK                              VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18114 BILL CUSACK                              VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18115 BILL FREDRICKSON                         VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                     Litigation
        NO. 100077                     ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.18116 BILL FREDRICKSON                         VARIOUS                              Wildfire                UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                   Litigation
        116060RAHUL RAVIPUDI,          ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.18117 BILL FREDRICKSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                   Litigation
        NO. 71460                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18118 BILL JOHNSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18119 BILL JOHNSON                            VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                                Litigation
        NO.254651)JOANNA LEE FOX      ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.18120 BILL JOHNSON                            VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                      Litigation
        (BAR NO. 295951) RACHEL       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.18121 BILL JOHNSON                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18122 BILL MORRISON                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18123 BILL MORRISON                              VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                    Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18124 BILL MORRISON                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18125 BILL MORRISON                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18126 BILL MORRISON                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18127 BILL MYERS                                 VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18128 BILL MYERS                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18129 BILL MYERS                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18130 BILL MYERS                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18131 BILL MYERS                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                    Litigation
        SBN: 110909ANDREA R.          ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18132 BILL SHIELDS                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18133 BILL SHIELDS                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18134 BILL SHIELDS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18135 BILL SHIELDS                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18136 BILL SHIELDS                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18137 BILL SOMMERS                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18138 BILL SOMMERS                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204COELL M. SIMMONS,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #292218
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18139 BILL SOMMERS                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS, ESQ., #161563                                                   Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.18140 BILL SOMMERS                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.18141 BILLIE ARAIZA                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18142 BILLIE ARAIZA                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18143 BILLIE ARAIZA                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18144 BILLIE ARAIZA                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18145 BILLIE ARAIZA                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18146 BILLINGS, LAURIE                         VARIOUS                              Wildfire                UNDETERMINED
        5471 DIANE WAY                                                                Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.18147 BILLINGS, MARK                           VARIOUS                              Wildfire                UNDETERMINED
        26 ROCKROSE CT                                                                Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.18148 BILLY DUNN                               VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18149 BILLY FANNING                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18150 BILLY FANNING                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18151 BILLY FANNING                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18152 BILLY FANNING                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18153 BILLY FANNING                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18154 BILLY FOLKS                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18155 BILLY FOLKS                              VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18156 BILLY FOLKS                              VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18157 BILLY FOLKS                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18158 BILLY RAY THURMAN                        VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN      ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.18159 BILLY RAY THURMAN                        VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                      Litigation
        TOSDAL LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.18160 BILLY RAY THURMAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18161 BILLY RAY THURMAN                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.18162 BILLY W. WINDLE JR.                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18163 BILLY W. WINDLE JR.                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18164 BILLY W. WINDLE JR.                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.18165 BILLY W. WINDLE JR.                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18166 BILLY W. WINDLE JR.                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18167 BILLY WAYNE WINDLE                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18168 BILLY WAYNE WINDLE                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18169 BILLY WAYNE WINDLE                       VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18170 BILLY WAYNE WINDLE                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18171 BIRKENBEUL, ROGER                        VARIOUS                              Wildfire                UNDETERMINED
        1039 DELLBROOK DR                                                             Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.18172 BIRMINGHAM, BRETT J.;             VARIOUS                                     Wildfire                UNDETERMINED
        FINESSE FLOOR COVERING,                                                       Litigation
        INC.                      ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18173 BIRMINGHAM, BRETT J.;                   VARIOUS                              Wildfire                UNDETERMINED
        FINESSE FLOOR COVERING,                                                      Litigation
        INC.                          ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18174 BIRMINGHAM, BRETT J.;                   VARIOUS                              Wildfire                UNDETERMINED
        FINESSE FLOOR COVERING,                                                      Litigation
        INC.                          ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18175 BISIO, CRISTINA                         VARIOUS                              Wildfire                UNDETERMINED
        215 THEODOR LANE                                                             Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.18176 BISSELL, MALINDA ANN; ANNIE             VARIOUS                              Wildfire                UNDETERMINED
        SIERRA CURTIS (NORFOLK);                                                     Litigation
        TRUELOCK, JENNIFER LEANN      ACCOUNT NO.: NOT AVAILABLE
        (JOSES); TRUELOCK,
        JAMIESON, AS TRUSTEE OF
        THE ANNIE SIERRA CURTIS
        TRUST (ASHTON)
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18177 BISSELL, MALINDA ANN; ANNIE             VARIOUS                              Wildfire                UNDETERMINED
        SIERRA CURTIS (NORFOLK);                                                     Litigation
        TRUELOCK, JENNIFER LEANN      ACCOUNT NO.: NOT AVAILABLE
        (JOSES); TRUELOCK,
        JAMIESON, AS TRUSTEE OF
        THE ANNIE SIERRA CURTIS
        TRUST (ASHTON)
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18178 BISSELL, MALINDA ANN; ANNIE                VARIOUS                              Wildfire                UNDETERMINED
        SIERRA CURTIS (NORFOLK);                                                        Litigation
        TRUELOCK, JENNIFER LEANN         ACCOUNT NO.: NOT AVAILABLE
        (JOSES); TRUELOCK,
        JAMIESON, AS TRUSTEE OF
        THE ANNIE SIERRA CURTIS
        TRUST (ASHTON)
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.18179 BJ TAYLOR                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18180 BJ TAYLOR                                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18181 BJ TAYLOR                                  VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18182 BJ TAYLOR                                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18183 BJ TAYLOR                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18184 BLACK, BUD                               VARIOUS                              Wildfire                UNDETERMINED
        3075 MARC WAY                                                                 Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.18185 BLACKBURN, NORMAN                        VARIOUS                              Wildfire                UNDETERMINED
        4725 FOULGER DR.                                                              Litigation
        SANTA ROSA, CA 95405           ACCOUNT NO.: NOT AVAILABLE


3.18186 BLAINE WESTFALL                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18187 BLAINE WESTFALL                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.18188 BLAINE WESTFALL                          VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.18189 BLAIR MANESS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18190 BLAIR MANESS                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18191 BLAIR MANESS                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18192 BLAIR MANESS                               VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.18193 BLAIR MANESS                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18194 BLAIR, HEATHER                             VARIOUS                              Wildfire                UNDETERMINED
        3117 LUCERO CT                                                                  Litigation
        SANTA ROSA, CA 95405             ACCOUNT NO.: NOT AVAILABLE


3.18195 BLAIR, JUAN                                VARIOUS                              Wildfire                UNDETERMINED
        313 CARLSON WAY                                                                 Litigation
        NAPA, CA 94558                   ACCOUNT NO.: NOT AVAILABLE


3.18196 BLAKE DONALD                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18197 BLAKE DONALD                               VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                     Litigation
        248092)JACK W. WEAVER,           ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18198 BLAKE DONALD                            VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.18199 BLAKE DONALD                            VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.18200 BLAKE DUNBAR                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.18201 BLAKE DUNBAR                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.18202 BLAKE DUNBAR                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18203 BLAKE DUNBAR                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18204 BLAKE DUNBAR                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18205 BLANCA ALVAREZ                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.18206 BLANCA ALVAREZ                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.18207 BLANCA ALVAREZ                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18208 BLEVINS, JENNEL                         VARIOUS                              Wildfire                UNDETERMINED
        4060 PINOT DRIVE                                                             Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.18209 BLOCKER, MARTHA                         VARIOUS                              Wildfire                UNDETERMINED
        6004 MONTICELLO RD SPC 34                                                    Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.18210 BLUE SPRUCE MOBILE                      VARIOUS                              Wildfire                UNDETERMINED
        ESTATES, A PARTNERSHIP                                                       Litigation
        FRANK M. PITRE (SBN           ACCOUNT NO.: NOT AVAILABLE
        100077)ALISON E. CORDOVA
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18211 BLUE SPRUCE MOBILE                      VARIOUS                              Wildfire                UNDETERMINED
        ESTATES, A PARTNERSHIP                                                       Litigation
        RICHARD L. HARRIMAN           ACCOUNT NO.: NOT AVAILABLE
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.18212 BLUE SPRUCE MOBILE                      VARIOUS                              Wildfire                UNDETERMINED
        ESTATES, A PARTNERSHIP                                                       Litigation
        MICHAELA. KELLY (SBN 71460)   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18213 BLUE SPRUCE MOBILE                      VARIOUS                              Wildfire                UNDETERMINED
        ESTATES, A PARTNERSHIP                                                       Litigation
        BRIANJ. PANISH (SBN 116060)   ACCOUNT NO.: NOT AVAILABLE
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.18214 BLUE, EARL                              VARIOUS                              Wildfire                UNDETERMINED
        20680 BROADWAY                                                               Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18215 BLUM, DONNA                              VARIOUS                              Wildfire                UNDETERMINED
        8905 OAK TRAIL DR                                                             Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.18216 BOB BROMAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18217 BOB BROMAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18218 BOB BROMAN                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18219 BOB BROMAN                               VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18220 BOB E. GRAFF                             VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.18221 BOB E. GRAFF                          VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                    Litigation
        WEAVER                      ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.18222 BOB E. GRAFF                          VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                         Litigation
        SR.JESSICA HAYES            ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.18223 BOB G. BREWER                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18224 BOB G. BREWER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18225 BOB G. BREWER                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18226 BOB G. BREWER                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18227 BOB G. BREWER                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                       Litigation
        DOMENIC MARTINI               ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.18228 BOB HAGBERG                             VARIOUS                              Wildfire                UNDETERMINED
        LAW OFFICE OF PAUL J. SMOOT                                                  Litigation
        1720 S. AMPHLETT BLV.         ACCOUNT NO.: NOT AVAILABLE


3.18229 BOB KOCH                                VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18230 BOB KOCH                                VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18231 BOB KOZICKI                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18232 BOB KOZICKI                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18233 BOB KOZICKI                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18234 BOB KOZICKI                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18235 BOB KOZICKI                                VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18236 BOB TAPP                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18237 BOB TAPP                                   VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18238 BOB TAPP                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18239 BOB TAPP                                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18240 BOB TAPP                                 VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.18241 BOBBI CANTER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18242 BOBBI CANTER                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18243 BOBBI CANTER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18244 BOBBI CANTER                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18245 BOBBI LUDLOW                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18246 BOBBI LUDLOW                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18247 BOBBI LUDLOW                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18248 BOBBI LUDLOW                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18249 BOBBIE ARMOUR                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18250 BOBBIE ARMOUR                              VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                          Litigation
        STATE BAR NO. 296841)PAIGE       ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.18251 BOBBIE J. HESS                             VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                       Litigation
        BAR #104975)                     ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.18252 BOBBIE J. HESS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADIDORIS                 ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18253 BOBBIE JEAN CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.18254 BOBBIE JEAN CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18255 BOBBIE JEAN CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18256 BOBBIE JEAN CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18257 BOBBIE JEAN CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18258 BOBBIE JO LANHAM                           VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                    Litigation
        APPLICATION                      ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18259 Bobbie Jo Lanham                           VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                      Litigation
        083151)Robert J. Nelson (SBN     ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, CA 92101


3.18260 BOBBIE JO LANHAM                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18261 BOBBIE JO LANHAM                        VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18262 BOBBIE L BUTLER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18263 BOBBIE L BUTLER                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18264 BOBBIE L BUTLER                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18265 BOBBIE L BUTLER                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18266 BOBBIE L BUTLER                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18267 BOBBI-SUE DIZMANG                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18268 BOBBI-SUE DIZMANG                        VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.18269 BOBBY GEE                                VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18270 BOBBY GEE                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18271 BOBBY GEE                                VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18272 BOBBY GEE                                VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18273 BOBBY GEE                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18274 BOBBY ROGERS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18275 BOBBY ROGERS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18276 BOBBY ROGERS                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18277 BOBBY ROGERS                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18278 BOBIJEAN MOORE                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18279 BOBIJEAN MOORE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18280 BOBIJEAN MOORE                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18281 BOBIJEAN MOORE                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18282 BOBIJEAN MOORE                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18283 BODHI GARCIA                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18284 BODHI GARCIA                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18285 BODHI GARCIA                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18286 BODHI GARCIA                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18287 BOEHM, MICHAEL                           VARIOUS                              Wildfire                UNDETERMINED
        584 ESTE MADERA DRIVE                                                         Litigation
        NONE                           ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.18288 BOETTCHER, ROBERT                        VARIOUS                              Wildfire                UNDETERMINED
        4844 LONDONBERRY DRIVE                                                        Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.18289 BOHAC, MICHAEL                           VARIOUS                              Wildfire                UNDETERMINED
        375 ROCKGREEN PLACE                                                           Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.18290 BOHN, ERIC                               VARIOUS                              Wildfire                UNDETERMINED
        1445 GREY HAWK WAY                                                            Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.18291 BOLACITO, BEN                            VARIOUS                              Wildfire                UNDETERMINED
        546 GRAYMONT DRIVE                                                            Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.18292 BOLINT, JEFF & MICHELLE                  VARIOUS                              Wildfire                UNDETERMINED
        COUSINO                                                                       Litigation
        DANIEL G. WHALEN               ACCOUNT NO.: NOT AVAILABLE
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067

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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18293 BOLIOU, VICKY                           VARIOUS                              Wildfire                UNDETERMINED
        5 HIGHLAND CIR                                                               Litigation
        CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE


3.18294 BOLMAN, BILLIE                          VARIOUS                              Wildfire                UNDETERMINED
        7 ALMAR DR                                                                   Litigation
        NAPA, CA 94558-2101           ACCOUNT NO.: NOT AVAILABLE


3.18295 BOMIO, SHARON                           VARIOUS                              Wildfire                UNDETERMINED
        928 HYLAND DRIVE                                                             Litigation
        SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.18296 BONACINI, CASANDRA                      VARIOUS                              Wildfire                UNDETERMINED
        122 OLD OAK LANE                                                             Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.18297 BONDI, GARY                             VARIOUS                              Wildfire                UNDETERMINED
        4790 DEVONSHIRE PLACE                                                        Litigation
        SANTA ROSA, CA 95405          ACCOUNT NO.: NOT AVAILABLE


3.18298 BONELLI, JACKIE                         VARIOUS                              Wildfire                UNDETERMINED
        4707 VENTI LANE                                                              Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.18299 BONHAM, YVONNE                          VARIOUS                              Wildfire                UNDETERMINED
        39280 HIGHWAY 70                                                             Litigation
        QUINCY, CA 95971              ACCOUNT NO.: NOT AVAILABLE


3.18300 BONIFIELD, JEFFREY SCOTT                VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SAMMY, ESQ.BRITT K.                                                    Litigation
        STROTTMAN, ESQ.JOHN           ACCOUNT NO.: NOT AVAILABLE
        FISKE, ESQ.
        BARON & BUDD
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18301 BONIFIELD, JEFFREY SCOTT                VARIOUS                              Wildfire                UNDETERMINED
        JOHN GOMEZAHMED DIAB                                                         Litigation
        GOMEZ TRIAL ATTORNEYS         ACCOUNT NO.: NOT AVAILABLE
        655 W. BROADWAY, SUITE 1700
        SAN DIEGO, CA 92101


3.18302 BONINI, KIM                             VARIOUS                              Wildfire                UNDETERMINED
        14874 NIMSHEW ROAD                                                           Litigation
        MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.18303 BONNIE B. PERSONS                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18304 BONNIE B. PERSONS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18305 BONNIE B. PERSONS                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18306 BONNIE B. PERSONS                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN C. MEYERCECLIA C.                                                     Litigation
        FUSICH                      ACCOUNT NO.: NOT AVAILABLE
        VERNON LAW OFFICE
        2479 E. BAYSHORE ROAD,
        SUITE 220
        PALO ALTO, CA 94303


3.18307 BONNIE B. PERSONS                     VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                         Litigation
        DANIELS LAW                 ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.18308 BONNIE BARON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                   Litigation
        A. BAGHDADI                 ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.18309 BONNIE BARON                                VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18310 BONNIE BARON                                VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.18311 Bonnie Baron                                VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.18312 BONNIE BIANUCCI                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                          Litigation
        COTCHETTALISON E.                 ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18313 BONNIE BIANUCCI                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18314 BONNIE CONNOLLY                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18315 BONNIE CONNOLLY                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.18316 BONNIE DAVIES                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18317 BONNIE DAVIES                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18318 BONNIE DAVIES                            VARIOUS                              Wildfire                UNDETERMINED
        VINEET BHATIA (PRO HAC VICE                                                   Litigation
        TO BE SUBMITTED)               ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        1000 LOUISIANA STREET, SUITE
        5100
        HOUSTON, TEXAS 77002-5096


3.18319 BONNIE DAVIES                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN J. SKIKOS, SBN                                                         Litigation
        148110GREGORY T. SKIKOS,       ACCOUNT NO.: NOT AVAILABLE
        SBN 176531MATTHEW J.
        SKIKOS, SBN 269765
        SKIKOS, CRAWFORD, SKIKOS &
        JOSEPH
        ONE SANSOME STREET, SUITE
        2830
        SAN FRANCISCO, CA 94104



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18320 BONNIE DAVIES                            VARIOUS                              Wildfire                UNDETERMINED
        CHARLES S.                                                                    Litigation
        ZIMMERMANCALEB LH              ACCOUNT NO.: NOT AVAILABLE
        MARKER
        ZIMMERMAN REED LLP
        2381 ROSECRANS AVE, SUITE
        328
        MANHATTAN BEACH, CA 90245


3.18321 BONNIE KOVEN                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18322 BONNIE KOVEN                             VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.18323 BONNIE OLIVER                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18324 BONNIE OLIVER                            VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18325 BONNIE OLIVER                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18326 BONNIE OLIVER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18327 BONNIE PATTERSON                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18328 BONNIE PATTERSON                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18329 BONNIE PATTERSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18330 BONNIE PATTERSON                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18331 BONNIE PIUSZ                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18332 BONNIE PIUSZ                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.18333 BONNIE PIUSZ                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.18334 BONNIE PIUSZ                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18335 BONNIE PIUSZ                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18336 BONNIE SALMON                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18337 BONNIE SALMON                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18338 BONNIE SALMON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18339 BONNIE SALMON                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18340 BONNIE SALMON                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18341 BONNIE SMALL                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18342 BONNIE SMALL                             VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.18343 BONNIE SMALL                             VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18344 BONNIE THESENVITZ                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18345 BONNIE THESENVITZ                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18346 BONNIE THESENVITZ                        VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18347 BONNIE THESENVITZ                        VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18348 BONNIE WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18349 BONNIE WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                          Litigation
        #109455LAURA E. BROWN          ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18350 BONNIE WRIGHT                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18351 BONNIE WRIGHT                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18352 BONNIE WRIGHT                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18353 BONSER, RYVONNE                            VARIOUS                              Wildfire                UNDETERMINED
        1730 ACTION AVE                                                                 Litigation
        NAPA, CA 94559                   ACCOUNT NO.: NOT AVAILABLE


3.18354 BONZI, HEATHER                             VARIOUS                              Wildfire                UNDETERMINED
        3356 ANDY WAY                                                                   Litigation
        SANTA ROSA, CA 95404             ACCOUNT NO.: NOT AVAILABLE


3.18355 BOODE, ARTHUR                              VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18356 BOODE, ARTHUR                              VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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 Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.18357 BOODE, ARTHUR                     VARIOUS                                          Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                             Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.18358 Boode, Arthur (Dba Superior                   VARIOUS                              Wildfire                UNDETERMINED
        Appliance Installations and Dba                                                    Litigation
        Well I'll Bee Apiaries) (Ashton);   ACCOUNT NO.: NOT AVAILABLE
        Angulo, Addy (Joses); Boode,
        Marilu; Boode, Aaron; (Ashton)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.18359 BOODE, ARTHUR (DBA                            VARIOUS                              Wildfire                UNDETERMINED
        SUPERIOR APPLIANCE                                                                 Litigation
        INSTALLATIONS AND DBA WELL          ACCOUNT NO.: NOT AVAILABLE
        I'LL BEE APIARIES) (ASHTON);
        ANGULO, ADDY (JOSES);
        BOODE, MARILU; BOODE,
        AARON; (ASHTON)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18360 Boode, Arthur (Dba Superior                   VARIOUS                              Wildfire                UNDETERMINED
        Appliance Installations and Dba                                                    Litigation
        Well I'll Bee Apiaries) (Ashton);   ACCOUNT NO.: NOT AVAILABLE
        Angulo, Addy (Joses); Boode,
        Marilu; Boode, Aaron; (Ashton)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.18361 BORDERS, DARLA                                VARIOUS                              Wildfire                UNDETERMINED
        1571 WAGSTAFF #3                                                                   Litigation
        PARADISE, CA 95969                  ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18362 BORDON, CRAIG; NICK                     VARIOUS                              Wildfire                UNDETERMINED
        PANAYOTOU; MEHRDAD                                                           Litigation
        VARZENDAH; GENESIS PVB, LLC   ACCOUNT NO.: NOT AVAILABLE
        (ON THE WILCOX COMPLAINT)
        DANIEL G. WHALEN
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.18363 BORGES, MICHAEL                         VARIOUS                              Wildfire                UNDETERMINED
        1036 SONORA CT                                                               Litigation
        SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.18364 BORNSTEIN, CHARLENE G                   VARIOUS                              Wildfire                UNDETERMINED
        5308 SPAIN AVE.                                                              Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.18365 BORTER, CONNIE                          VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 104                                                                 Litigation
        KENWOOD, CA 95452             ACCOUNT NO.: NOT AVAILABLE


3.18366 BORTER, CONNIE                          VARIOUS                              Wildfire                UNDETERMINED
        133 RANDOLPH AVE                                                             Litigation
        KENWOOD, CA 95452             ACCOUNT NO.: NOT AVAILABLE


3.18367 BOTTS, STEPHANIE                        VARIOUS                              Wildfire                UNDETERMINED
        421 WOODHAVEN CT                                                             Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.18368 BOUDREAU, YVONNE                        VARIOUS                              Wildfire                UNDETERMINED
        1917 HOLIDAY ST                                                              Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.18369 BOULWARE, SARA                          VARIOUS                              Wildfire                UNDETERMINED
        1065 SHADY OAK PLACE                                                         Litigation
        SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.18370 BOURDET, DONNA                          VARIOUS                              Wildfire                UNDETERMINED
        2303 BODIE ST                                                                Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.18371 BOWEN, SANDI                            VARIOUS                              Wildfire                UNDETERMINED
        1463 PLUMERIA DRIVE                                                          Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.18372 BOWMAN, JEANNE                          VARIOUS                              Wildfire                UNDETERMINED
        1260 HILL ROAD                                                               Litigation
        GLEN ELLEN, CA 95442          ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.18373 BOWMAN, KENT; BOWMAN,                  VARIOUS                              Wildfire                UNDETERMINED
        DIANA                                                                       Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18374 BOWMAN, KENT; BOWMAN,             VARIOUS                                   Wildfire                UNDETERMINED
        DIANA                                                                       Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.18375 BOWMAN, KENT; BOWMAN,                  VARIOUS                              Wildfire                UNDETERMINED
        DIANA                                                                       Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18376 BOYER, EVELYN                          VARIOUS                              Wildfire                UNDETERMINED
        4539 DALTON DR                                                              Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.18377 BOYLE, ANTHONY                         VARIOUS                              Wildfire                UNDETERMINED
        2146 NORTHFIELD DR                                                          Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.18378 BRAD BAILEY                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18379 BRAD BAILEY                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18380 BRAD BAILEY                              VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18381 BRAD BAILEY                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18382 BRAD BAILEY                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18383 BRAD BROWN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18384 BRAD BROWN                               VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18385 BRAD BROWN                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18386 BRAD BROWN                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18387 BRAD BURGUIN                              VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.18388 BRAD BURGUIN                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.18389 BRAD BURGUIN                              VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.18390 BRAD HALL                                 VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. THOMPSON                                                             Litigation
        THOMPSON LAW OFFICES, P.C.      ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.18391 BRAD PERKINS                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18392 BRAD PERKINS                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18393 BRAD PERKINS                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18394 BRAD PERKINS                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18395 BRAD PERKINS                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18396 BRAD PERRY                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18397 BRAD PERRY                              VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                         Litigation
        #109455LAURA E. BROWN         ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.18398 BRAD PERRY                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18399 BRAD PERRY                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18400 BRAD PERRY                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18401 BRAD TARNUTZER                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT J. PREBLE, ESQ. (SBN:                                                     Litigation
        115158)                          ACCOUNT NO.: NOT AVAILABLE
        THE PREBLE LAW FIRM
        2200 WYMORE WAY
        ANTIOCH, CA 94509


3.18402 BRADFORD, PENNI                            VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18403 BRADFORD, PENNI                            VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18404 BRADFORD, PENNI                   VARIOUS                                       Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                          Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.18405 BRADFORD, ROBERT RYAN                      VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18406 BRADFORD, ROBERT RYAN                      VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18407 BRADFORD, ROBERT RYAN             VARIOUS                                       Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                          Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.18408 BRADI TUCK                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18409 BRADI TUCK                                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18410 BRADI TUCK                                 VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.18411 BRADI TUCK                                 VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.18412 BRADI TUCK                                 VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                        Litigation
        315962)TODD LOGAN (SBN           ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)BRANDT SILVER-KORN
        (SBN 323530)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107




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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.18413 BRADLEY D. SCHOFIELD                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18414 BRADLEY D. SCHOFIELD                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.18415 BRADLEY D. SCHOFIELD                  VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18416 BRADLEY D. SCHOFIELD                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18417 BRADLEY D. SCHOFIELD                  VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18418 BRADLEY DODGE                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                   Litigation
        A. BAGHDADI                 ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18419 BRADLEY DODGE                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18420 BRADLEY DODGE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18421 BRADLEY DODGE                            VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18422 BRADLEY HESS                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18423 BRADLEY HESS                             VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18424 BRADLEY HESS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18425 BRADLEY HESS                              VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.18426 BRADLEY HESS                              VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18427 BRADLEY JAY HUNTER                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.18428 BRADLEY JAY HUNTER                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18429 BRADLEY JAY HUNTER                        VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18430 BRADLEY JAY HUNTER                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18431 BRADLEY KEITH                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18432 BRADLEY KEITH                           VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                           Litigation
        DANIELS LAW                   ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.18433 BRADLEY KEITH                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18434 BRADLEY KEITH                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18435 BRADLEY KEITH                           VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                   Litigation
        54426) DANIEL S. ROBINSON     ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.18436 BRADLEY NEAL                            VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18437 BRADLEY NEAL                            VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.18438 BRADLEY NEAL                            VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.18439 BRADLEY NEAL                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18440 BRADLEY NELSON                          VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.18441 BRADLEY P. BABER                        VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18442 BRADLEY P. BABER                        VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.18443 BRADLEY P. BABER                        VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.18444 BRADLEY P. BABER                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18445 BRADLEY PIERCE                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18446 BRADLEY PIERCE                          VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18447 BRADLEY PIERCE                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18448 BRADLEY PIERCE                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18449 BRADLEY PIERCE                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18450 BRADLEY S. DIXON                         VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.18451 BRADLEY SILVESTRO                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.18452 BRADLEY SILVESTRO                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.18453 BRADLEY SILVESTRO                        VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18454 BRADLEY SILVESTRO                        VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18455 BRADLEY SILVESTRO                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.18456 BRADLEY W. KOWAL                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18457 BRADLEY W. KOWAL                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18458 BRADLEY W. KOWAL                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18459 BRADLEY W. KOWAL                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.18460 BRADLEY W. KOWAL                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18461 BRADSHAW, JANICE                       VARIOUS                              Wildfire                UNDETERMINED
        1957 WINDMILL CIR                                                           Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.18462 BRADY SIVONGXAY                        VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                        Litigation
        296101)ROBERT T. BRYSON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.18463 BRADY, CHRISSY                         VARIOUS                              Wildfire                UNDETERMINED
        60 MOUNTAIN AVE                                                             Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.18464 BRADY, DEBBIE                          VARIOUS                              Wildfire                UNDETERMINED
        2001 RANGE AVE                                                              Litigation
        APT 109                      ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95401


3.18465 BRAGG, TAMRA                           VARIOUS                              Wildfire                UNDETERMINED
        1001 MISSION BLVD                                                           Litigation
        16                           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.18466 BRAKE, CATHERINE                       VARIOUS                              Wildfire                UNDETERMINED
        184 JACK LONDON DRIVE                                                       Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.18467 BRALY, KATHY                           VARIOUS                              Wildfire                UNDETERMINED
        1745 LAS PRAVADAS                                                           Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.18468 BRALY, KATHY                           VARIOUS                              Wildfire                UNDETERMINED
        1932 PINE MEADOW                                                            Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.18469 BRANA KUKIC                                 VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                         Litigation
        LAW OFFICES OF JOHN COX,          ACCOUNT NO.: NOT AVAILABLE
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18470 BRANA KUKIC                                 VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                          Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        RYAN L. THOMPSONPAIGE
        BOLDT
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD. STE.
        725
        AUSTIN, TEXAS 78704


3.18471 BRANCH, TODD PHILIP                         VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                         Litigation
        VASQUEZAMANDA LOCUTRO             ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18472 BRANCH, TODD PHILIP               VARIOUS                                        Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                           Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.18473 BRANCH, TODD PHILIP                         VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                             Litigation
        ZUMMER                            ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18474 Brandee Caldwell Habig                      VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                      Litigation
        126782Amanda L. Riddle - Bar      ACCOUNT NO.: NOT AVAILABLE
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18475 BRANDEE CALDWELL HABIG                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18476 BRANDEE CALDWELL HABIG                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18477 BRANDEE CALDWELL HABIG                   VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18478 BRANDEE RIPPEE                           VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18479 BRANDEE RIPPEE                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18480 BRANDEE RIPPEE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18481 BRANDEE RIPPEE                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18482 BRANDEN MCCOMBS                          VARIOUS                              Wildfire                UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                      Litigation
        D. GREENSCOTT R.               ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE
        2006
        SANTA ROSA, CA 95401


3.18483 BRANDI ASKER                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.18484 BRANDI ASKER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.18485 BRANDI ASKER                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18486 BRANDI BURNS                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18487 BRANDI BURNS                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18488 BRANDI CLOUTIER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18489 BRANDI CLOUTIER                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18490 BRANDI CLOUTIER                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18491 BRANDI CLOUTIER                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18492 BRANDI L. PALADE                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18493 BRANDI L. PALADE                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18494 BRANDI L. PALADE                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18495 BRANDI L. PALADE                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18496 BRANDI MORTON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18497 BRANDI MORTON                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18498 BRANDI MORTON                              VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                      Litigation
        ZUMMERAMANDA J.                  ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18499 BRANDI MORTON                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                      Litigation
        STATE BAR NO. 157400)            ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18500 BRANDI ROBINSON                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18501 BRANDI ROBINSON                            VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.18502 BRANDI ROBINSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18503 BRANDI ROBINSON                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18504 BRANDI ROBINSON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18505 BRANDI SHANKS                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.18506 BRANDI SHANKS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.18507 BRANDI SHANKS                             VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.18508 BRANDI SHANKS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18509 BRANDI SUTTON                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18510 BRANDI SUTTON                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18511 BRANDI SUTTON                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18512 BRANDI SUTTON                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18513 BRANDI SUTTON                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18514 BRANDON ANDRESEN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18515 BRANDON ANDRESEN                           VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J. CABRASER (SBN                                                      Litigation
        083151)LEXI J. HAZAM (SBN        ACCOUNT NO.: NOT AVAILABLE
        224457)ABBY R. WOLF(SBN
        313049)
        LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94111




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18516 BRANDON ANDRESEN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18517 BRANDON ANDRESEN                        VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                    Litigation
        160461)                       ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.18518 BRANDON ANDRESEN                        VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                     Litigation
        315962)TODD LOGAN (SBN        ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)BRANDT SILVER-KORN
        (SBN 323530)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.18519 BRANDON BENSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18520 BRANDON BENSON                          VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.18521 BRANDON BENSON                          VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18522 BRANDON BENSON                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                   Litigation
        9858)JESSICA W. HAYES.,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.18523 BRANDON BURROWS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18524 BRANDON BURROWS                          VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18525 BRANDON BURROWS                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18526 BRANDON BURROWS                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18527 BRANDON BURROWS                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18528 BRANDON HAMILTON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18529 BRANDON HAMILTON                          VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.18530 BRANDON HAMILTON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.18531 BRANDON HAMILTON                          VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.18532 BRANDON HILL                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18533 BRANDON HILL                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18534 BRANDON HILL                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18535 BRANDON HILL                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18536 BRANDON HILL                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18537 BRANDON MARTIN                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18538 BRANDON MARTIN                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18539 BRANDON MARTIN                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.18540 BRANDON MARTIN                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18541 BRANDON MCLAUGHLIN                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18542 BRANDON MCLAUGHLIN                      VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18543 BRANDON MCLAUGHLIN                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18544 BRANDON MCLAUGHLIN                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18545 BRANDON MCLAUGHLIN                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18546 BRANDON PAYNE                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18547 BRANDON PAYNE                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18548 BRANDON PAYNE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18549 BRANDON PAYNE                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18550 BRANDON PAYNE                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18551 BRANDON PERKINS                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18552 BRANDON PERKINS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18553 BRANDON PERKINS                          VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18554 BRANDON PERKINS                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18555 BRANDON RAYNOR                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18556 BRANDON RAYNOR                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18557 BRANDON RAYNOR                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18558 BRANDON RAYNOR                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18559 BRANDON SCOTT GRAHAM                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18560 BRANDON SCOTT GRAHAM                     VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18561 BRANDON SCOTT GRAHAM                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18562 BRANDON SCOTT GRAHAM                    VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                   Litigation
        ZUMMERAMANDA J.               ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18563 BRANDON SEXTON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.18564 BRANDON SEXTON                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.18565 BRANDON SEXTON                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.18566 BRANDON SHOEMAKE WISON                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18567 BRANDON SHOEMAKE WISON                   VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18568 BRANDON SHOEMAKE WISON                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18569 BRANDON SHOEMAKE WISON                   VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18570 BRANDON SHOEMAKE WISON                   VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18571 BRANDY GATES                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18572 BRANDY GATES                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18573 BRANDY KRISTIANSEN                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18574 BRANDY KRISTIANSEN                       VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18575 BRANDY KRISTIANSEN                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18576 BRANDY KRISTIANSEN                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18577 BRANDY M CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18578 BRANDY M CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18579 BRANDY M CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18580 BRANDY M CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18581 BRANDY M CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18582 BRANDY OTTERSON                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18583 BRANDY OTTERSON                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18584 BRANDY OTTERSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18585 BRANDY OTTERSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18586 BRANDY POWELL                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18587 BRANDY POWELL                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18588 BRANDY POWELL                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18589 BRANDY POWELL                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18590 BRANDY POWELL                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18591 BRANNEN, WILLIAM                        VARIOUS                              Wildfire                UNDETERMINED
        6169 PONDEROSA WAY                                                           Litigation
        MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.18592 BRANT ROSCOE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.18593 BRANT ROSCOE                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.18594 BRANT ROSCOE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.18595 BRASSET, CHERIE                         VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 1664                                                                  Litigation
        GLEN ELLEN, CA 95442          ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18596 BRAVO, ROSA                              VARIOUS                              Wildfire                UNDETERMINED
        1412 FRANKLIN STREET                                                          Litigation
        6                              ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.18597 BRAYDEN ARTERO                           VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18598 BRAYDEN ARTERO                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18599 BRAYDEN ARTERO                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18600 BRAYDEN ARTERO                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18601 BREANA DUDGEON                           VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                      Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.18602 BREANA WEBB                              VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FINN     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18603 BREANA WEBB                              VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.18604 BREANA WEBB                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18605 BREANNA KAY ROBERTS                      VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18606 BREANNA KAY ROBERTS                      VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18607 BREANNA KAY ROBERTS                      VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18608 BREANNA KAY ROBERTS                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18609 BREANNA M WESLEY                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18610 BREANNA M WESLEY                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18611 BREANNA M WESLEY                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18612 BREANNA M WESLEY                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18613 BREANNA M WESLEY                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18614 BREANNE GRIEGO                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18615 BREANNE GRIEGO                          VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                       Litigation
        SHEARJASON BOYER              ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18616 BREANNE GRIEGO                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18617 BREANNE GRIEGO                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18618 BREANNE GRIEGO                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18619 BREANNE HUTCHINSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18620 BREANNE HUTCHINSON                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18621 BREANNE HUTCHINSON                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address               Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.18622 BREANNE HUTCHINSON                              VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                          Litigation
         REINER, SLAUGHTER &                  ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18623 Bree Klotter                                    VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.18624 BREE KLOTTER                                    VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18625 BRENDA AYRES                                    VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                              Litigation
        D. EDWARDS                            ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.18626 BRENDA AYRES                                    VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                            Litigation
        DAVISKEVIN M.                         ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.18627 BRENDA BATEY                                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                    Litigation
        DREYER BABICH BUCCOLA                 ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18628 BRENDA BATEY                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18629 BRENDA BATEY                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18630 BRENDA BATEY                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18631 BRENDA BATEY                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18632 BRENDA BURKE                               VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18633 BRENDA BURKE                               VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18634 BRENDA BURKE                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.18635 BRENDA BURKE                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.18636 BRENDA BURKE                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.18637 BRENDA BURKE                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18638 BRENDA BURKE                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18639 BRENDA CAMPOS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18640 BRENDA CAMPOS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18641 BRENDA CAMPOS                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18642 BRENDA CAMPOS                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18643 BRENDA CAPPEL                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18644 BRENDA CAPPEL                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18645 BRENDA COELHO                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18646 BRENDA COELHO                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18647 BRENDA COELHO                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18648 BRENDA COELHO                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18649 BRENDA DAMRON                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18650 BRENDA DAMRON                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18651 BRENDA G BATEY                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18652 BRENDA G BATEY                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18653 BRENDA G BATEY                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18654 BRENDA G BATEY                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18655 BRENDA G BATEY                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18656 BRENDA GILCHRIST                         VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J.                                                                  Litigation
        CABRASERROBERT J.              ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.18657 BRENDA HAZELWOOD                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18658 BRENDA HAZELWOOD                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18659 BRENDA HAZELWOOD                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18660 BRENDA HAZELWOOD                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18661 BRENDA HOWELL                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18662 BRENDA HOWELL                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18663 BRENDA HOWELL                              VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.18664 BRENDA HOWELL                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.18665 BRENDA HOWELL                              VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.18666 BRENDA JOYCE WILLIAMS                      VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18667 BRENDA JOYCE WILLIAMS                   VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18668 BRENDA K SELF                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18669 BRENDA K SELF                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18670 BRENDA K SELF                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18671 BRENDA K SELF                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18672 BRENDA K SELF                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18673 BRENDA KOUNTZ                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18674 BRENDA KOUNTZ                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18675 BRENDA KOUNTZ                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18676 BRENDA KOUNTZ                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18677 BRENDA KOUNTZ                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18678 BRENDA KWAN                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18679 BRENDA KWAN                              VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.18680 BRENDA KWAN                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.18681 BRENDA KWAN                              VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18682 BRENDA KWAN                              VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18683 BRENDA L MCPHERSON                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18684 BRENDA L MCPHERSON                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18685 BRENDA L MCPHERSON                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18686 BRENDA L MCPHERSON                      VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18687 BRENDA L MCPHERSON                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18688 BRENDA L. PITTORE                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADIDORIS              ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18689 BRENDA L. PITTORE                       VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                    Litigation
        BAR #104975)                  ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.18690 BRENDA LOPEZ                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18691 BRENDA LOPEZ                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18692 BRENDA LOUISE MCCOLM                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18693 BRENDA LOUISE MCCOLM                     VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18694 BRENDA LOUISE MCCOLM                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18695 BRENDA LOUISE MCCOLM                     VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18696 BRENDA MARSHALL                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.18697 BRENDA MARSHALL                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.18698 BRENDA MARSHALL                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18699 BRENDA MARSHALL                          VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18700 BRENDA MARSHALL                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18701 BRENDA MCGREGOR                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18702 BRENDA MCGREGOR                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18703 BRENDA MCGREGOR                          VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18704 BRENDA MCGREGOR                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18705 BRENDA MURPHEY                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18706 BRENDA SERENO                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18707 BRENDA SERENO                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18708 BRENDA SERENO                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18709 BRENDA SERENO                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18710 BRENDA SHARP, AN                        VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUAL, AND THE ESTATE                                                   Litigation
        OF ANNAL. HORNBY BRENDA       ACCOUNT NO.: NOT AVAILABLE
        SHARP, ADMINISTRATRIX
        THOMAS TOSDAL, SBN 67834
        TOSDAL LAW FIRM
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.18711 BRENDA SHARP, AN                        VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUAL, AND THE ESTATE                                                   Litigation
        OF ANNAL. HORNBY BRENDA       ACCOUNT NO.: NOT AVAILABLE
        SHARP, ADMINISTRATRIX
        DAVID S. CASEY, JR., SBN
        60768ANGELA JAE CHUN, SBN
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.18712 BRENDA SHARP, AN                        VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUAL, AND THE ESTATE                                                   Litigation
        OF ANNAL. HORNBY BRENDA       ACCOUNT NO.: NOT AVAILABLE
        SHARP, ADMINISTRATRIX
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.18713 BRENDA SHARP, AN                            VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUAL, AND THE ESTATE                                                       Litigation
        OF ANNAL. HORNBY BRENDA           ACCOUNT NO.: NOT AVAILABLE
        SHARP, ADMINISTRATRIX
        MICHAEL S. FEINBERG, SBN
        81867
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.18714 BRENDA SORENSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18715 BRENDA SORENSON                             VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.18716 BRENDA SORENSON                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18717 Brenda Sorenson                             VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18718 BRENDA TUCKER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                  Litigation
        WALKUP MELODIA KELLY&         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18719 BRENDA TUCKER                           VARIOUS                              Wildfire                UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                  Litigation
        PANISH SHEA &BOYLE, LLP       ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.18720 BRENDA TUCKER                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18721 BRENDA TUCKER                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE (SBN                                                          Litigation
        100077)ALISON E. CORDOVA      ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.18722 BRENDA WARREN                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18723 BRENDA WARREN                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18724 BRENDA WILLIAMS                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.18725 BRENDA WILLIAMS                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.18726 BRENDA WILLIAMS                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.18727 BRENDA WILLIAMS                          VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18728 BRENDA WILLIAMS                          VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18729 BRENDA WILLIAMS                          VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.18730 BRENDA WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18731 BRENDA WRIGHT                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18732 BRENDA WRIGHT                              VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.18733 BRENDA WRIGHT                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18734 BRENDA WRIGHT                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18735 BRENDAN DUNNIGAN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. CADDELLCYNTHIA                                                       Litigation
        B. CHAPMANAMY E. TABOR           ACCOUNT NO.: NOT AVAILABLE
        CADDELL & CHAPMAN
        628 EAST 9TH STREET
        HOUSTON, TX 77007-1722


3.18736 BRENDAN DUNNIGAN                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES A. FRANCIS (PRO HAC                                                       Litigation
        VICE FORTHCOMING)                ACCOUNT NO.: NOT AVAILABLE
        FRANCIS & MAILMAN, P .C.
        LAND TITLE BUILDING, 19TH
        FLOOR100 SOUTH BROAD
        STREET
        PHILADELPHIA, PA 19110




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.18737 BRENDAN FOSS                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18738 Brendan Foss                                VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.18739 BRENDAN FOSS                                VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18740 BRENDAN FOSS                                VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.18741 BRENDEN CORONADO                            VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                           Litigation
        SHEARJASON BOYER                  ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18742 BRENDEN CORONADO                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18743 BRENDEN CORONADO                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18744 BRENDEN CORONADO                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18745 BRENDEN CORONADO                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18746 BRENNA BLACK                               VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18747 BRENNA BLACK                               VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                        Litigation
        J. EBALLAR                       ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024



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Wildfire Claims

3.18748 BRENNAN, LISA                            VARIOUS                              Wildfire                UNDETERMINED
        14092 APPLE LANE                                                              Litigation
        CLEARLAKE OAKS, CA 95423       ACCOUNT NO.: NOT AVAILABLE


3.18749 BRENT CARNEGIE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18750 BRENT CARNEGIE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18751 BRENT CARNEGIE                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18752 BRENT CARNEGIE                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18753 BRENT MURUFAS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18754 BRENT MURUFAS                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18755 BRENT MURUFAS                            VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18756 BRENT MURUFAS                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18757 BRENT RUBY                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18758 BRENT RUBY                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18759 BRENT RUBY                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18760 BRENT RUBY                               VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18761 BRENTON SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                     Litigation
        SIMES RACHEL B.                ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.18762 BRENTON SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM F. MERLIN, JR.DENISE                                                  Litigation
        HSU SZESTEPHANIE POLI          ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.18763 BRENTON STRINE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18764 BRENTON STRINE                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18765 BRENTON STRINE                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18766 BRENTON STRINE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18767 BRENTON WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18768 BRENTON WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18769 BRENTON WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18770 BRENTON WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18771 BRET BARNES                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18772 BRET BARNES                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18773 BRET BARNES                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18774 BRET BARNES                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18775 BRET SANDY                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.18776 BRET SANDY                                    VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                        Litigation
         REINER, SLAUGHTER &                ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18777 BRET SANDY                                    VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                       Litigation
        ERIC RATINOFF LAW CORP.             ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18778 BRET SANDY                                    VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                           Litigation
        #117228                             ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18779 BRETT BURTON                                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18780 Brett Burton                                  VARIOUS                              Wildfire                UNDETERMINED
        Francisco Guerra (Pro Hae Vice                                                     Litigation
        application anticipated)Mikal C.    ACCOUNT NO.: NOT AVAILABLE
        Watts (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.18781 BRETT DICK                                    VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                      Litigation
        TOSDAL LAW FIRM                     ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.18782 BRETT DICK                                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                                Litigation
        MICHAEL S. FEINBERG, APLC           ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.18783 BRETT DICK                                     VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                            Litigation
        60768GAYLE M. BLATT, SBN             ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.18784 BRETT GLADSTONE                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                            Litigation
        NO. 197687)                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18785 Brett Gladstone                                VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                        Litigation
        application anticipated)Guy Watts    ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.18786 Brett Gripe                                    VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18787 BRETT GRIPE                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.18788 BRETT GRIPE                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.18789 BRETT L. GORDON                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18790 BRETT L. GORDON                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                       Litigation
        DOMENIC MARTINI               ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.18791 BRETT L. GORDON                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18792 BRETT L. GORDON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.18793 BRETT L. GORDON                                VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                             Litigation
        125868JUSTIN J. EBALLAR,             ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18794 BRETT NEWMAN                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18795 Brett Newman                                   VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.18796 BRETT NEWMAN                                   VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18797 BRETT OSTROM                                   VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                          Litigation
        100077ALISON E. CORDOVA,             ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18798 BRETT OSTROM                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18799 BRETT OSTROM                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18800 BRETT OSTROM                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18801 BRETT OSTROM                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18802 BREWSTER, LEILANI                          VARIOUS                              Wildfire                UNDETERMINED
        2247 NIGHTINGALE DR                                                             Litigation
        SANTA ROSA, CA 95403             ACCOUNT NO.: NOT AVAILABLE


3.18803 BREYANA WRIGHT                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18804 BREYANA WRIGHT                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18805 BRIAN AYERS                              VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.18806 BRIAN BELL                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18807 BRIAN BELL                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18808 BRIAN BELL                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18809 BRIAN BELL                                 VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18810 BRIAN BOLTON                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18811 BRIAN BOLTON                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18812 BRIAN BOLTON                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18813 BRIAN BOLTON                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18814 BRIAN BOLTON                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18815 BRIAN BOSTER                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.18816 BRIAN BOSTER                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.18817 BRIAN BUSHON                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. THOMPSON                                                            Litigation
        THOMPSON LAW OFFICES, P.C.     ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.18818 BRIAN CHENEY                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.18819 BRIAN CHENEY                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18820 BRIAN CHENEY                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18821 BRIAN CHENEY                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18822 BRIAN CHENEY                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18823 BRIAN CLEM                              VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.18824 BRIAN CLEM                              VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.18825 BRIAN CLEM                              VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.18826 BRIAN D. BEAM                           VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18827 BRIAN D. BEAM                            VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18828 BRIAN D. BEAM                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18829 BRIAN D. BEAM                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18830 BRIAN DAVIS                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18831 BRIAN DAVIS                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18832 BRIAN FLAHERTY                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18833 BRIAN FLAHERTY                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228BRETT R. PARKINSON,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18834 BRIAN FLAHERTY                           VARIOUS                              Wildfire                UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                    Litigation
        167700STEVEN S. KANE, ESQ.,    ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.18835 BRIAN FLAHERTY                           VARIOUS                              Wildfire                UNDETERMINED
        C. BROOKS CUTTER, SBN                                                         Litigation
        121407JOHN G. ROUSSAS,         ACCOUNT NO.: NOT AVAILABLE
        SBN 227325MATTHEW M.
        BREINING, SBN 306788
        CUTTER LAW P.C.
        401 WATT AVENUE

       SACRAMENTO, CA 95864


3.18836 BRIAN GILMAN                             VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                      Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.18837 BRIAN GIPSON                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.18838 Brian Gipson                                    VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.18839 BRIAN GRAHLMAN                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                     Litigation
        WALKUP, MELODIA, KELLY &              ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18840 BRIAN GRAHLMAN                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                       Litigation
        71460KHALDOUN A. BAGHDADI             ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18841 BRIAN GRAHLMAN                                  VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                           Litigation
        100077ALISON E. CORDOVA,              ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18842 BRIAN GRAHLMAN                                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                            Litigation
        SBN: 110909ANDREA R.                  ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18843 BRIAN GRAHLMAN                                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                    Litigation
        DREYER BABICH BUCCOLA                 ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18844 BRIAN GRIFFIN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. CADDELLCYNTHIA                                                     Litigation
        B. CHAPMANAMY E. TABOR         ACCOUNT NO.: NOT AVAILABLE
        CADDELL & CHAPMAN
        628 EAST 9TH STREET
        HOUSTON, TX 77007-1722


3.18845 BRIAN GRIFFIN                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES A. FRANCIS (PRO HAC                                                     Litigation
        VICE FORTHCOMING)              ACCOUNT NO.: NOT AVAILABLE
        FRANCIS & MAILMAN, P .C.
        LAND TITLE BUILDING, 19TH
        FLOOR100 SOUTH BROAD
        STREET
        PHILADELPHIA, PA 19110


3.18846 BRIAN HILL                               VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.18847 BRIAN HILL                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18848 BRIAN HILL                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18849 BRIAN HILL                               VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18850 BRIAN HILL                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18851 BRIAN HILLSKEMPER                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18852 BRIAN HILLSKEMPER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18853 BRIAN HILLSKEMPER                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18854 BRIAN HILLSKEMPER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18855 BRIAN HILLSKEMPER                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18856 BRIAN HOYT                               VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.18857 BRIAN HOYT                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18858 BRIAN J TINDALL                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18859 BRIAN J TINDALL                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18860 BRIAN J TINDALL                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18861 BRIAN J TINDALL                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18862 BRIAN J TINDALL                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18863 BRIAN J. PANKEY                            VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                        Litigation
        BRYSONKEVIN M. POLLACK           ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.18864 BRIAN KENDALL                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18865 BRIAN KENDALL                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18866 BRIAN KENDALL                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18867 BRIAN KENDALL                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18868 BRIAN KENDALL                           VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                       Litigation
        SHEARJASON BOYER              ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.18869 BRIAN KIRVEN                            VARIOUS                              Wildfire                UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                     Litigation
        D. GREENSCOTT R.              ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE
        2006
        SANTA ROSA, CA 95401


3.18870 BRIAN LARSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18871 BRIAN LARSON                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.18872 BRIAN LARSON                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18873 BRIAN LARSON                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18874 BRIAN LARSON                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18875 BRIAN LARSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18876 BRIAN LARSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18877 BRIAN LARSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18878 BRIAN MARSH                              VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.18879 BRIAN MARSH                            VARIOUS                              Wildfire                UNDETERMINED
        DONALD S. EDGAR                                                             Litigation
        EDGAR LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.18880 BRIAN MCAULIFFE                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18881 BRIAN MCAULIFFE                        VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                     Litigation
        (BAR NO. 295951) RACHEL      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.18882 BRIAN MCAULIFFE                        VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.18883 BRIAN MCAULIFFE                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18884 BRIAN MCDOWELL                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18885 BRIAN MCDOWELL                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18886 BRIAN MCDOWELL                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18887 BRIAN MCDOWELL                             VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.18888 BRIAN MCDOWELL                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18889 BRIAN MCLAUGHLIN                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782 AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18890 BRIAN MCLAUGHLIN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.18891 BRIAN MCLAUGHLIN                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.18892 BRIAN MILLS                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.18893 BRIAN MILLS                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.18894 BRIAN MILLS                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18895 BRIAN MILLS                                VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                              Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18896 BRIAN MILLS                                VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                      Litigation
        583 I 6)                         ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18897 BRIAN MOFFIT                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18898 BRIAN MOFFIT                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18899 BRIAN MOFFIT                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18900 BRIAN MOFFIT                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18901 BRIAN MOFFIT                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18902 BRIAN MOORE                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18903 BRIAN MOORE                                VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.18904 BRIAN MOORE                                VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.18905 BRIAN MOORE                                VARIOUS                              Wildfire                UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.18906 BRIAN MOORE                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18907 BRIAN NICHOLSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18908 BRIAN NICHOLSON                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18909 BRIAN NICHOLSON                          VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18910 BRIAN NICHOLSON                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18911 BRIAN P. HUGHES                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18912 BRIAN P. HUGHES                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.18913 BRIAN P. HUGHES                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.18914 BRIAN P. HUGHES                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18915 BRIAN P. HUGHES                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18916 BRIAN PANKEY                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                    Litigation
        VASQUEZ AMANDA LOCURTO       ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.18917 BRIAN PANKEY                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                   Litigation
        PENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.18918 BRIAN PANKEY                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                     Litigation
        DIXONROBERT J. CHAMBERS II   ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18919 BRIAN PANKEY                           VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                              Litigation
        LAW OFFICES OF ALEXANDER     ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18920 BRIAN PANKEY                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.18921 BRIAN PANKEY                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18922 BRIAN PEARSON                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.18923 BRIAN PEARSON                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.18924 BRIAN PEARSON                            VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.18925 BRIAN PEARSON                            VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18926 BRIAN PEARSON                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.18927 BRIAN PEARSON                            VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.18928 BRIAN QUEDENS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18929 BRIAN QUEDENS                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18930 BRIAN QUEDENS                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18931 BRIAN QUEDENS                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18932 BRIAN QUEDENS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18933 BRIAN REIS                               VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.18934 BRIAN REIS                               VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.18935 BRIAN REIS                               VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.18936 BRIAN SHERWOOD                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18937 BRIAN SHERWOOD                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18938 BRIAN SHERWOOD                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18939 BRIAN SHERWOOD                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18940 BRIAN TAYLOR                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.18941 BRIAN TAYLOR                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228BRETT R. PARKINSON,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18942 BRIAN TAYLOR                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18943 BRIAN TAYLOR                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18944 BRIAN W. VERTREE                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18945 BRIAN W. VERTREE                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.18946 BRIAN W. VERTREE                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.18947 BRIAN W. VERTREE                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.18948 BRIAN WAGNER                             VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.18949 BRIAN WAGNER                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401



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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.18950 BRIAN WHITE                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18951 BRIAN WHITE                            VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18952 BRIAN WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18953 BRIAN WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18954 BRIAN WILSON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18955 BRIAN WILSON                           VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                    Litigation
        60768ANGELA JAE CHUN, SBN    ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18956 BRIAN WILSON                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.18957 BRIAN WILSON                              VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.18958 BRIANA HAYWARD                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX,        ACCOUNT NO.: NOT AVAILABLE
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.18959 BRIANA HAYWARD                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                        Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSONPAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704


3.18960 BRIANA PIERCE                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18961 BRIANA PIERCE                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18962 BRIANA PIERCE                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.18963 BRIANA PIERCE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18964 BRIANNA DECKMAN                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.18965 BRIANNA DECKMAN                            VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.18966 BRIANNA DECKMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.18967 BRIANNA DECKMAN                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18968 BRIANNA DECKMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.18969 BRIANNA LEGG                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.18970 BRIANNA LEGG                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.18971 BRIANNA LEGG                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.18972 BRIANNA LEGG                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.18973 BRIANNA WHITE                             VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.18974 BRIANNA WHITE                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18975 BRIANNA WILSON                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.18976 BRIANNA WILSON                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.18977 BRIDANT, MATTHEW                         VARIOUS                              Wildfire                UNDETERMINED
        6004 MONTICELLO RD SPC 40                                                     Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.18978 BRIDGE RANDALL                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.18979 BRIDGE RANDALL                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.18980 BRIDGE RANDALL                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18981 BRIDGE RANDALL                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18982 BRIDGET CLAUSSEN                        VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.18983 BRIDGET CLAUSSEN                        VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.18984 BRIDGET CLAUSSEN                        VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.18985 BRIDGET LAZENBY                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.18986 BRIDGET LAZENBY                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18987 BRIDGET LAZENBY                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18988 BRIDGET LAZENBY                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18989 BRIDGET LAZENBY                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18990 BRIELLE SAGER                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                      Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104


3.18991 BRIELLE SAGER                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                       Litigation
        E. DAVIS KEVIN M. OSBORNE      ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.18992 BRIGETTE ALVERA FERGUSON                 VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.18993 BRIGETTE ALVERA FERGUSON                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.18994 BRIGETTE ALVERA FERGUSON                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.18995 BRIGETTE ALVERA FERGUSON                VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18996 BRIGETTE ALVERA FERGUSON                VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.18997 BRIGETTE FERGUSON                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.18998 BRIGETTE FERGUSON                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.18999 BRIGETTE FERGUSON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19000 BRIGETTE FERGUSON                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19001 BRIGETTE FERGUSON                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19002 BRIGHT, ALICIA                           VARIOUS                              Wildfire                UNDETERMINED
        3296 VICHY AVE                                                                Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.19003 BRIGHT, DENISE                           VARIOUS                              Wildfire                UNDETERMINED
        208 HAMPTON COURT                                                             Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19004 BRIGHT, DERALD                           VARIOUS                              Wildfire                UNDETERMINED
        1050 MOUNT GEORGE AVENUE                                                      Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.19005 BRIGMANN, RIA                            VARIOUS                              Wildfire                UNDETERMINED
        95 MOUNTAIN AVENUE                                                            Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.19006 BRIONA HENDSEN                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19007 BRIONA HENDSEN                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                    Litigation
        NO. 197687)                  ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19008 BRIONES, LISA                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI AMANDA                                                    Litigation
        L. RIDDLE CLARE CAPACCIOLI   ACCOUNT NO.: NOT AVAILABLE
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19009 BRIONES, LISA                          VARIOUS                              Wildfire                UNDETERMINED
        MIKE DANKOKRISTINE                                                          Litigation
        MEREDITHSHAWN                ACCOUNT NO.: NOT AVAILABLE
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19010 BRISKI, GREGORY A.                VARIOUS                                   Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                      Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19011 BRISKI, GREGORY A.                     VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                    Litigation
        VASQUEZAMANDA LOCUTRO        ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19012 BRISKI, GREGORY A.                     VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                        Litigation
        ZUMMER                       ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19013 BRISSA JENSEN                              VARIOUS                              Wildfire                UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.19014 BRISSA JENSEN                              VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.19015 BRISSA JENSEN                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19016 BRISSA JENSEN                              VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.19017 BRISSA JENSEN                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19018 BRIT SYNDICATE 2987                        VARIOUS                              Wildfire                UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                          Litigation
        REGANDAVID D. BRISCO             ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19019 BRIT SYNDICATE 2987                     VARIOUS                              Wildfire                UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                      Litigation
        JANG & ASSOCIATES LLP         ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.19020 BRIT SYNDICATE 2987                     VARIOUS                              Wildfire                UNDETERMINED
        HOWARD D. MAYCON                                                             Litigation
        COZEN O'CONNOR                ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.19021 BRITNEY N. WORTHINGTON                  VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19022 BRITNEY N. WORTHINGTON                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                       Litigation
        DOMENIC MARTINI               ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.19023 BRITNEY N. WORTHINGTON                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19024 BRITNEY N. WORTHINGTON                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19025 BRITNEY N. WORTHINGTON                    VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19026 BRITTANI HORNBACK                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.19027 BRITTANI HORNBACK                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.19028 BRITTANI HORNBACK                         VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.19029 BRITTANI HORNBACK                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19030 BRITTANY BURGER                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19031 BRITTANY BURGER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19032 BRITTANY BURGER                            VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19033 BRITTANY BURGER                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19034 BRITTANY DECKMAN                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19035 BRITTANY DECKMAN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19036 BRITTANY DECKMAN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19037 BRITTANY DECKMAN                        VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19038 BRITTANY DECKMAN                        VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                         Litigation
        #109455LAURA E. BROWN         ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.19039 BRITTANY GALKA                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19040 BRITTANY GALKA                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19041 BRITTANY GALKA                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19042 BRITTANY GALKA                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19043 BRITTANY GALKA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19044 BRITTANY GREGORY                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19045 BRITTANY GREGORY                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19046 BRITTANY GREGORY                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19047 BRITTANY GREGORY                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19048 BRITTANY MORROW                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19049 BRITTANY MORROW                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19050 BRITTANY MORROW                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19051 BRITTANY MORROW                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19052 BRITTANY NICOLE MARTIN                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19053 BRITTANY NICOLE MARTIN                   VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19054 BRITTANY REYES                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19055 BRITTANY REYES                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19056 BRITTANY WORTHEN                         VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.19057 BRITTANY WORTHEN                         VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.19058 BRITTANY WORTHEN                         VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19059 BRITTNEE BERRY                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.19060 BRITTNEE BERRY                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19061 BRITTNEE BERRY                           VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.19062 BRITTNEE BERRY                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.19063 BRITTNEE BERRY                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.19064 BRITTNEE BERRY                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19065 BRITTNEY BAILEY                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19066 BRITTNEY BAILEY                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19067 BRITTNEY CREVELING                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.19068 BRITTNEY CREVELING                       VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19069 BRITTNEY CRITES                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.19070 BRITTNEY CRITES                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19071 BRITTNEY CRITES                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                       Litigation
        ZUMMERAMANDA J.                   ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19072 BRITTNEY CRITES                             VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                       Litigation
        STATE BAR NO. 157400)             ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19073 BRITTNEY JOHNSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19074 Brittney Johnson                            VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19075 BRITTNEY JOHNSON                         VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                      Litigation
        315962)TODD LOGAN (SBN         ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.19076 BRITTNEY JOHNSON                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19077 BRITTNEY MORRISON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19078 BRITTNEY MORRISON                        VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19079 BRITTNEY MORRISON                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19080 BRITTNEY MORRISON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19081 BRITTNEY MORRISON                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19082 BRITTNEY MORRISON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19083 BRITTNEY MORRISON                        VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19084 BRITTNEY MORRISON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19085 BRITTNEY NICOLLE DAWSON                  VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19086 BRITTNEY NICOLLE DAWSON                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19087 BRITTNEY NICOLLE DAWSON                  VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19088 BRITTNEY NICOLLE DAWSON                  VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19089 BRITTON, KARA                            VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 2012                                                                   Litigation
        GUERNEVILLE, CA 95446          ACCOUNT NO.: NOT AVAILABLE


3.19090 BROCKMAN, SARA                           VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 1525                                                                   Litigation
        MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE


3.19091 BROCKWAY, AMANDA                         VARIOUS                              Wildfire                UNDETERMINED
        3749 OXFORD ST                                                                Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19092 BRODIE C MITCHELL                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19093 BRODIE C MITCHELL                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19094 BRODIE C MITCHELL                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19095 BRODIE C MITCHELL                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19096 BRODIE C MITCHELL                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19097 BRODIE, COLLEEN                         VARIOUS                              Wildfire                UNDETERMINED
        (INDIVIDUALLY, AND AS DOING                                                  Litigation
        BUSINESS AS ABC CLEANING      ACCOUNT NO.: NOT AVAILABLE
        SERVICE)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19098 BRODIE, COLLEEN                     VARIOUS                                  Wildfire                UNDETERMINED
        (INDIVIDUALLY, AND AS DOING                                                  Litigation
        BUSINESS AS ABC CLEANING    ACCOUNT NO.: NOT AVAILABLE
        SERVICE)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19099 BRODIE, COLLEEN                         VARIOUS                              Wildfire                UNDETERMINED
        (INDIVIDUALLY, AND AS DOING                                                  Litigation
        BUSINESS AS ABC CLEANING      ACCOUNT NO.: NOT AVAILABLE
        SERVICE)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19100 BROGAN, KRISTEN                         VARIOUS                              Wildfire                UNDETERMINED
        2274 DANCING PENNY WAY                                                       Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.19101 BROGAN, KRISTEN                         VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 14                                                                  Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.19102 BROGAN, SHAWN LEE                       VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                     Litigation
        VASQUEZAMANDA LOCUTRO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19103 BROGAN, SHAWN LEE                       VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                         Litigation
        ZUMMER                        ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19104 BROGAN, SHAWN LEE                 VARIOUS                                    Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19105 BROOK CLYDE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19106 BROOK CLYDE                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19107 BROOK CLYDE                              VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19108 BROOK CLYDE                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19109 BROOK SANDERS                            VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19110 BROOK SANDERS                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19111 BROOKE CASEY                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19112 BROOKE CASEY                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19113 BROOKE CASEY                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19114 BROOKE CASEY                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19115 BROOKE CASEY                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19116 BROOKE NICHOLE KERHOULAS                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19117 BROOKE NICHOLE KERHOULAS                 VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19118 BROOKE NICHOLE KERHOULAS                 VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19119 BROOKE NICHOLE KERHOULAS                 VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19120 BROOKE R HAYNES                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19121 BROOKE R HAYNES                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19122 BROOKE R HAYNES                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19123 BROOKE R HAYNES                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19124 BROOKE R HAYNES                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19125 BROOKE VENDRICK                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19126 BROOKE VENDRICK                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19127 BROOKE, MARGIE                           VARIOUS                              Wildfire                UNDETERMINED
        875 W NAPA ST                                                                 Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.19128 BROOKS, GEORGIANA                        VARIOUS                              Wildfire                UNDETERMINED
        5587 BIEBERDORF LANE                                                          Litigation
        PARADISE, CA 95969             ACCOUNT NO.: NOT AVAILABLE


3.19129 BROOKS, ROBERT                           VARIOUS                              Wildfire                UNDETERMINED
        3663 SOLANO AVE                                                               Litigation
        31                             ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.19130 BROOKS, VERONICA                         VARIOUS                              Wildfire                UNDETERMINED
        888 GLENWOOD DR                                                               Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19131 BROOKS, VIRGINIA LEE                   VARIOUS                              Wildfire                UNDETERMINED
        471 LAGUNA DR                                                               Litigation
        ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.19132 BROWN, CALAI                           VARIOUS                              Wildfire                UNDETERMINED
        353 COLLEGE AVE                                                             Litigation
        ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE


3.19133 BROWN, DON MAURICE;                    VARIOUS                              Wildfire                UNDETERMINED
        BROWN, JILL COLLEEN                                                         Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19134 BROWN, DON MAURICE;                    VARIOUS                              Wildfire                UNDETERMINED
        BROWN, JILL COLLEEN                                                         Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19135 BROWN, DON MAURICE;               VARIOUS                                   Wildfire                UNDETERMINED
        BROWN, JILL COLLEEN                                                         Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19136 BROWN, JANICE                          VARIOUS                              Wildfire                UNDETERMINED
        1957 WINDMILL CIR                                                           Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.19137 BROWN, LAWRENCE                        VARIOUS                              Wildfire                UNDETERMINED
        16615 MEADOW OAK DRIVE                                                      Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.19138 BROWN, STEPHANIE                       VARIOUS                              Wildfire                UNDETERMINED
        945 PONDEROSA AVE #108                                                      Litigation
        SUNNYVALE, CA 94086          ACCOUNT NO.: NOT AVAILABLE


3.19139 BROWN, STEVE                           VARIOUS                              Wildfire                UNDETERMINED
        677 CALISTOGA RD.                                                           Litigation
        #27                          ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19140 BROWN, STEVEN DEAN;                      VARIOUS                              Wildfire                UNDETERMINED
        BROWN, JUDY LEE; BROWN,                                                       Litigation
        JAMESON CALL; BROWN,           ACCOUNT NO.: NOT AVAILABLE
        STEWART STEVEN
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19141 BROWN, STEVEN DEAN;                      VARIOUS                              Wildfire                UNDETERMINED
        BROWN, JUDY LEE; BROWN,                                                       Litigation
        JAMESON CALL; BROWN,           ACCOUNT NO.: NOT AVAILABLE
        STEWART STEVEN
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101


3.19142 BROWN, STEVEN DEAN;                      VARIOUS                              Wildfire                UNDETERMINED
        BROWN, JUDY LEE; BROWN,                                                       Litigation
        JAMESON CALL; BROWN,           ACCOUNT NO.: NOT AVAILABLE
        STEWART STEVEN
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.19143 BROWN, TIM                               VARIOUS                              Wildfire                UNDETERMINED
        1009 EASTRIDGE DRIVE                                                          Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.19144 BROXON, HILDEGARD                        VARIOUS                              Wildfire                UNDETERMINED
        465 FALLING STAR COURT                                                        Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19145 BRUCE AHNFELDT                           VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.19146 BRUCE AHNFELDT                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19147 BRUCE BALDWIN                            VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19148 BRUCE BALDWIN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19149 BRUCE BALDWIN                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19150 BRUCE BALDWIN                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19151 BRUCE CLYMER                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. THOMPSON                                                            Litigation
        THOMPSON LAW OFFICES, P.C.     ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.19152 BRUCE COATS                              VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19153 BRUCE COATS                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19154 BRUCE COATS                              VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.19155 BRUCE EPPERSON                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19156 BRUCE EPPERSON                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19157 BRUCE EPPERSON                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19158 BRUCE EPPERSON                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19159 BRUCE EPPERSON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19160 BRUCE HALL                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19161 BRUCE HALL                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19162 BRUCE HALL                               VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19163 BRUCE HALL                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19164 BRUCE KLEINER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19165 BRUCE KLEINER                            VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                       Litigation
        (BAR NO. 295951) RACHEL        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19166 BRUCE KLEINER                          VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.19167 BRUCE KLEINER                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19168 BRUCE L. CRILE                         VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                   Litigation
        BAR #104975)                 ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.19169 BRUCE L. CRILE                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADIDORIS             ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19170 BRUCE M. WHITE                         VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                   Litigation
        BAR #104975)                 ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19171 BRUCE M. WHITE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19172 BRUCE MALMSTEAD                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19173 BRUCE MALMSTEAD                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.19174 BRUCE MALMSTEAD                          VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19175 BRUCE MALMSTEAD                          VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.19176 BRUCE MALMSTEAD                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19177 BRUCE MOELLER                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.19178 BRUCE MOELLER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.19179 BRUCE MOELLER                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.19180 BRUCE MORONI                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.19181 BRUCE MORONI                              VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19182 BRUCE MORONI                              VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.19183 BRUCE MUHLBAIER                           VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.19184 BRUCE MUHLBAIER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19185 BRUCE MUHLBAIER                           VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.19186 BRUCE MUHLBAIER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.19187 BRUCE POLAND                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19188 BRUCE POLAND                             VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.19189 BRUCE SIMMONS                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19190 BRUCE SIMMONS                            VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19191 BRUCE SNYDER                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19192 BRUCE SNYDER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19193 BRUCE SNYDER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19194 BRUCE SNYDER                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19195 BRUCE STERNITZKE                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19196 BRUCE STERNITZKE                         VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19197 BRUCE W. TOMLINSON                       VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J.                                                                  Litigation
        CABRASERROBERT J.              ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.19198 BRULEY, MADELINE                         VARIOUS                              Wildfire                UNDETERMINED
        6547 STONECROFT TER                                                           Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19199 BRUNO, ANGELA, INDIVIDUALLY              VARIOUS                              Wildfire                UNDETERMINED
        AND DBA HIGHWAY METALS                                                        Litigation
        ADDRESS NOT PROVIDED           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19200 BRUNO, ANNA                              VARIOUS                              Wildfire                UNDETERMINED
        5255 PRESSLEY ROAD                                                            Litigation
        SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.19201 BRUTON, DAVID                            VARIOUS                              Wildfire                UNDETERMINED
        2100 NAPA VALLEJO HWY UNIT                                                    Litigation
        T-12                           ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.19202 BRUTON, DAVID                            VARIOUS                              Wildfire                UNDETERMINED
        2100 NAPA VALLEJO HWY                                                         Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.19203 BRYAN D. RUUD                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19204 BRYAN D. RUUD                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19205 BRYAN D. RUUD                            VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19206 BRYAN D. RUUD                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19207 BRYAN JOHNSON                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19208 BRYAN JOHNSON                            VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19209 BRYAN KEITH MANZO                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19210 BRYAN KEITH MANZO                        VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19211 BRYAN KEITH MANZO                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19212 BRYAN KEITH MANZO                        VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19213 BRYAN LISLE                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19214 BRYAN LISLE                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19215 BRYAN LISLE                              VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19216 BRYAN LISLE                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19217 BRYAN LISLE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19218 BRYAN LONDO                              VARIOUS                              Wildfire                UNDETERMINED
        EUSTACE DE SAINT                                                              Litigation
        PHALLEJOSEPH R. LUCIA          ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19219 BRYAN LUTZ                               VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.19220 BRYAN LUTZ                               VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19221 BRYAN LUTZ                               VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19222 BRYAN LUTZ                               VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.19223 BRYAN LUTZ                               VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.19224 BRYAN LUTZ                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.19225 BRYAN M. ARVOLD                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19226 BRYAN M. ARVOLD                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19227 BRYAN M. ARVOLD                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.19228 BRYAN M. ARVOLD                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19229 BRYAN M. ARVOLD                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19230 BRYAN MERRITT                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19231 BRYAN MERRITT                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19232 BRYAN MERRITT                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19233 BRYAN MERRITT                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19234 BRYAN MERRITT                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19235 BRYAN TAYLOR                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19236 BRYAN TAYLOR                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19237 BRYAN TAYLOR                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19238 BRYAN TAYLOR                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19239 BRYAN TAYLOR                               VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.19240 BRYAN VENAAS                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19241 BRYAN VENAAS                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19242 BRYAN VENAAS                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19243 BRYAN VENAAS                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19244 BRYANT HERRER                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19245 BRYANT HERRER                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19246 BRYANT, MARTHA & DANNY                  VARIOUS                              Wildfire                UNDETERMINED
        1062 ELLIOTT RD.                                                             Litigation
        PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.19247 BRYCE BOSTON                            VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19248 BRYCE BOSTON                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19249 BRYCE BOSTON                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19250 BRYCE BOSTON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19251 BRYCE LUDIKHUIZE                         VARIOUS                              Wildfire                UNDETERMINED
        EUSTACE DE SAINT                                                              Litigation
        PHALLEJOSEPH R. LUCIA          ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523


3.19252 BRYON BARRETT                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.19253 BRYON BARRETT                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19254 BRYSON BENSON                            VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19255 BRYSON BENSON                           VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.19256 BRYSON BENSON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19257 BRYSON BENSON                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.19258 BRYSON, KENNETH                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFGREG STUCK                                                      Litigation
        ERIC RATINOFF LAW CORP.       ACCOUNT NO.: NOT AVAILABLE
        401 WATT AVENUE, SUITE 1
        SACRAMENTO, CA 95864


3.19259 BRYSON, LARRY                           VARIOUS                              Wildfire                UNDETERMINED
        3311 DAVID DR                                                                Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.19260 BRYTTANI ELWELL                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19261 BRYTTANI ELWELL                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19262 BRYTTANI ELWELL                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19263 BRYTTANI ELWELL                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19264 BRYTTANI ELWELL                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19265 BUCHALTER, JACK;                        VARIOUS                              Wildfire                UNDETERMINED
        BUCHALTER, ELINITA                                                           Litigation
        GERARD SINGLETONERIKA L.      ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19266 BUCHALTER, JACK;                  VARIOUS                                    Wildfire                UNDETERMINED
        BUCHALTER, ELINITA                                                           Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19267 BUCHALTER, JACK;                         VARIOUS                              Wildfire                UNDETERMINED
        BUCHALTER, ELINITA                                                            Litigation
        ELLIOT ADLERBRITTANY           ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19268 BUCHOLD, CHARLENE                        VARIOUS                              Wildfire                UNDETERMINED
        528 CALISTOGA RD.                                                             Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19269 BUCHOLD, LISA                            VARIOUS                              Wildfire                UNDETERMINED
        619 CRESTMONT DRIVE                                                           Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19270 BUCIO, JOSEFINA                          VARIOUS                              Wildfire                UNDETERMINED
        823 W COLLEGE AVE                                                             Litigation
        SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.19271 BUCK, ROBERT                             VARIOUS                              Wildfire                UNDETERMINED
        1444 TWILIGHT PL                                                              Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19272 BUD HOPSON                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19273 BUD HOPSON                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19274 BUD HOPSON                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19275 BUD HOPSON                               VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19276 BUD HOPSON                               VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19277 BUD RIGDON                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19278 BUD RIGDON                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19279 BUD RIGDON                               VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19280 BUD RIGDON                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19281 BUENDIA, BARBARA L.; DRULEY,             VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM R.                                                                    Litigation
        GERARD SINGLETONERIKA L.       ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19282 BUENDIA, BARBARA L.; DRULEY,         VARIOUS                                  Wildfire                UNDETERMINED
        WILLIAM R.                                                                    Litigation
        CO-COUNSELDEMETRIOS A.       ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19283 BUENDIA, BARBARA L.; DRULEY,             VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM R.                                                                    Litigation
        ELLIOT ADLERBRITTANY           ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19284 BUHR, TOMARA                             VARIOUS                              Wildfire                UNDETERMINED
        300 LOUISE WAY # 301                                                          Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.19285 BULLIVANT, SHAWNA                        VARIOUS                              Wildfire                UNDETERMINED
        12403 LITTLEFIELD RD.                                                         Litigation
        LOMA RICA, CA 95901            ACCOUNT NO.: NOT AVAILABLE


3.19286 BULLOCK, JOHN GREGORY,                   VARIOUS                              Wildfire                UNDETERMINED
        TRUSTEE OF 2004 THOMAS E.                                                     Litigation
        COPLEY REVOCABLE TRUST         ACCOUNT NO.: NOT AVAILABLE
        (BULLOCK); COPLEY, THOMAS
        (COLEMAN)
        FRANK M. PITRE, ALISON E.
        CORDOVA
        840 MALCOM ROAD
        SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19287 BUNKER, LLC-JEFFRIES,                    VARIOUS                              Wildfire                UNDETERMINED
        DEBORAH                                                                       Litigation
        3800 N DELTA HWY               ACCOUNT NO.: NOT AVAILABLE
        EUGENE, CA 97408


3.19288 BURGESS, MARY                            VARIOUS                              Wildfire                UNDETERMINED
        1015 LA LONDE LN                                                              Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.19289 BURGSTROM, MARY HELEN;               VARIOUS                                  Wildfire                UNDETERMINED
        LILY FRANCES CASTILLO; KATIE                                                  Litigation
        LYNN CASTILLO                ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19290 BURGSTROM, MARY HELEN;                   VARIOUS                              Wildfire                UNDETERMINED
        LILY FRANCES CASTILLO; KATIE                                                  Litigation
        LYNN CASTILLO                  ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19291 BURGSTROM, MARY HELEN;                   VARIOUS                              Wildfire                UNDETERMINED
        LILY FRANCES CASTILLO; KATIE                                                  Litigation
        LYNN CASTILLO                  ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19292 BURKIN, ANATOLE                          VARIOUS                              Wildfire                UNDETERMINED
        489 OAK BROOK CT                                                              Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19293 BURNS, JEREMIAH                          VARIOUS                              Wildfire                UNDETERMINED
        2700 WESTBERRY DRIVE                                                          Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.19294 BURNS, RICHARD                           VARIOUS                              Wildfire                UNDETERMINED
        11930 SHILOH LANE                                                             Litigation
        BROWNS VALLEY, CA 95918        ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.19295 Burr Baron                                  VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.19296 BURR BARON                                  VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.19297 BURR BARON                                  VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19298 BURR BARON                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19299 BURR, KELLY                                 VARIOUS                              Wildfire                UNDETERMINED
        1324 STEELE CANYON ROAD                                                          Litigation
        NAPA, CA 94558                    ACCOUNT NO.: NOT AVAILABLE


3.19300 BURRAGE, TIFFANIE                           VARIOUS                              Wildfire                UNDETERMINED
        1525 MAYFLOWER PLACE                                                             Litigation
        SANTA ROSA, CA 95403              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19301 BURRIS, SHEILA KAY; JAKOB              VARIOUS                              Wildfire                UNDETERMINED
        EDDIE MEDERIOS                                                              Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19302 BURRIS, SHEILA KAY; JAKOB         VARIOUS                                   Wildfire                UNDETERMINED
        EDDIE MEDERIOS                                                              Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19303 BURRIS, SHEILA KAY; JAKOB              VARIOUS                              Wildfire                UNDETERMINED
        EDDIE MEDERIOS                                                              Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19304 BURRISS, ROBERT AND                    VARIOUS                              Wildfire                UNDETERMINED
        CYNTHIA                                                                     Litigation
        DARIO DE GHETALDI AMANDA     ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19305 BURRISS, ROBERT AND                    VARIOUS                              Wildfire                UNDETERMINED
        CYNTHIA                                                                     Litigation
        MIKE DANKOKRISTINE           ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19306 BURTON, TERESA                         VARIOUS                              Wildfire                UNDETERMINED
        14783 NORTHWOOD DR.                                                         Litigation
        MAGALIA, CA 95954            ACCOUNT NO.: NOT AVAILABLE


3.19307 BUSCHINI, MARILYN & GARY               VARIOUS                              Wildfire                UNDETERMINED
        4613 DRY CREEK ROAD                                                         Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.19308 BUSHEY, JAY                                    VARIOUS                              Wildfire                UNDETERMINED
        4908 HOEN AVENUE                                                                    Litigation
        SANTA ROSA, CA 95405                 ACCOUNT NO.: NOT AVAILABLE


3.19309 BYERS, EVELYN                                  VARIOUS                              Wildfire                UNDETERMINED
        1034 ARROYO GRANDE DR                                                               Litigation
        NAPA, CA 94558                       ACCOUNT NO.: NOT AVAILABLE


3.19310 BYRON BARTLETT                                 VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                            Litigation
        NO. 197687)                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19311 BYRON BARTLETT                                 VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                              Litigation
        STATE BAR NO. 296841)PAIGE           ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19312 Byron Hancock                                  VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.19313 BYRON HANCOCK                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19314 BYRON HANCOCK                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.19315 C. DENISE BARTON                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.19316 C. DENISE BARTON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.19317 C. DENISE BARTON                        VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.19318 CA DEPT. OF FORESTRY AND                VARIOUS                              Wildfire                UNDETERMINED
        FIRE PROTECTION                                                              Litigation
        CALIFORNIA DEPARTMENT OF      ACCOUNT NO.: NOT AVAILABLE
        JUSTICE
        455 GOLDEN GATE AVE., STE.
        1100
        SAN FRANCISCO, CA




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19319 CABALLERO, ERICK                           VARIOUS                              Wildfire                UNDETERMINED
        1701 LAKE ST APT 1                                                              Litigation
        CALISTOGA, CA 43874              ACCOUNT NO.: NOT AVAILABLE


3.19320 CACERES, SHANNA                            VARIOUS                              Wildfire                UNDETERMINED
        1800 YELLOWSTONE ST                                                             Litigation
        NAPA, CA 94558                   ACCOUNT NO.: NOT AVAILABLE


3.19321 CACHUEX, JASON                             VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19322 CACHUEX, JASON                    VARIOUS                                       Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                          Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19323 CACHUEX, JASON                             VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19324 CADENCE MORGAN                             VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.19325 CADENCE MORGAN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19326 CADENCE MORGAN                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19327 CADENCE MORGAN                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19328 CADENCE MORGAN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19329 CAFFO, CHRIS                            VARIOUS                              Wildfire                UNDETERMINED
        5412 EVONNE AVE                                                              Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.19330 CAIRES, MARGARET; JUAREZ,               VARIOUS                              Wildfire                UNDETERMINED
        BERANCIO                                                                     Litigation
        DARIO DE GHETALDI AMANDA      ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19331 CAIRES, MARGARET; JUAREZ,               VARIOUS                              Wildfire                UNDETERMINED
        BERANCIO                                                                     Litigation
        MIKE DANKOKRISTINE            ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19332 CAITLIN FOBERT                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19333 CAITLIN FOBERT                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19334 CAITLIN FOBERT                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19335 CAITLIN FOBERT                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19336 CAITLIN KNOWLES                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19337 CAITLIN KNOWLES                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19338 CAITLIN KNOWLES                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.19339 CAITLIN KNOWLES                          VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19340 CAITLIN KNOWLES                          VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.19341 CAITLIN MEDEROS                          VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19342 CAITLIN MEDEROS                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


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Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.19343 CAL FIRE                                         VARIOUS                              Wildfire                UNDETERMINED
        DEPARTMENT OF FORESTRY                                                                Litigation
        AND FIRE PROTECTION                    ACCOUNT NO.: NOT AVAILABLE
        1234 EAST SHAW AVE
        FRESNO, CA 93710-7840


3.19344 CAL FIRE                                         VARIOUS                              Wildfire                UNDETERMINED
        DEPARTMENT OF FORESTRY                                                                Litigation
        AND FIRE PROTECTION                    ACCOUNT NO.: NOT AVAILABLE
        1234 EAST SHAW AVE
        FRESNO, CA 93710


3.19345 CAL Fire                                         VARIOUS                              Wildfire                UNDETERMINED
        Sierra S. Arballo, Taylor G.                                                          Litigation
        Rhodes, Deputy Attorneys General,      ACCOUNT NO.: NOT AVAILABLE
        State of California Office of the
        Attorney General, Attorneys for Cal.
        Dept of Forestry and Fire
        Protection (Cal Fire)
        1300 I Street, Suite 125, P.O. Box
        944255
        Sacramento, CA 94244-2550


3.19346 CAL FIRE                                         VARIOUS                              Wildfire                UNDETERMINED
        JEFFREY P. REUSCH,                                                                    Litigation
        ESQ.KELLY WELCHANS,                    ACCOUNT NO.: NOT AVAILABLE
        ESQ.DEPUTY ATTORNEY
        GENERAL
        CA AG
        1300 I STREETP.O. BOX 944255
        SACRAMENTO, CA 94244-2550


3.19347 CALABRESE, RAYMOND                               VARIOUS                              Wildfire                UNDETERMINED
        16620 MEADOW OAK DR                                                                   Litigation
        SONOMA, CA 95476                       ACCOUNT NO.: NOT AVAILABLE


3.19348 CALAVERAS COUNTY WATER                           VARIOUS                              Wildfire                UNDETERMINED
        DISTRICT                                                                              Litigation
        SCOTT SAMMY, ESQ.BRITT K.              ACCOUNT NO.: NOT AVAILABLE
        STROTTMAN, ESQ.JOHN
        FISKE, ESQ.
        BARON & BUDD
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.19349 Calderon, Amanda Michelle;                  VARIOUS                              Wildfire                UNDETERMINED
        Norman, Clay Daniel; Rezentes,                                                   Litigation
        Lawrence Thomas; and Griffin,     ACCOUNT NO.: NOT AVAILABLE
        Gracie Lee Ruth; Norman, Hudson
        Skylar, minors by and through
        (Minors, By And Through Their
        Guardian Ad Litem, Amanda
        Michelle Calderon)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.19350 Calderon, Amanda Michelle;                  VARIOUS                              Wildfire                UNDETERMINED
        Norman, Clay Daniel; Rezentes,                                                   Litigation
        Lawrence Thomas; and Griffin,     ACCOUNT NO.: NOT AVAILABLE
        Gracie Lee Ruth; Norman, Hudson
        Skylar, minors by and through
        (Minors, By And Through Their
        Guardian Ad Litem, Amanda
        Michelle Calderon)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.19351 Calderon, Amanda Michelle;                  VARIOUS                              Wildfire                UNDETERMINED
        Norman, Clay Daniel; Rezentes,                                                   Litigation
        Lawrence Thomas; and Griffin,     ACCOUNT NO.: NOT AVAILABLE
        Gracie Lee Ruth; Norman, Hudson
        Skylar, minors by and through
        (Minors, By And Through Their
        Guardian Ad Litem, Amanda
        Michelle Calderon)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.19352 CALDERON, SAMUEL                            VARIOUS                              Wildfire                UNDETERMINED
        242 FUENTE LANE                                                                  Litigation
        SONOMA, CA 95476                  ACCOUNT NO.: NOT AVAILABLE


3.19353 CALDWELL, NANCY                             VARIOUS                              Wildfire                UNDETERMINED
        316 MOUNTIAN VISTA COURT                                                         Litigation
        SANTA ROSA, CA 95409              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19354 CALEB ANDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19355 CALEB ANDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19356 CALEB ANDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19357 CALEB ANDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19358 CALEB ANDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19359 CALIFORNIA AUTOMOBILE                   VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        VICENTE VALENCIA, JR.         ACCOUNT NO.: NOT AVAILABLE
        RAFFALOW, BRETOI, LUTZ &
        STELE
        444 W. OCEAN BLVD., SUITE
        1800
        LONG BEACH, CA 90802




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19360 CALIFORNIA AUTOMOBILE                   VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        TIMOTHYE CARY SBN             ACCOUNT NO.: NOT AVAILABLE
        093608NATHAN R. HURD SBN
        279593
        LAW OFFICES OF ROBERT A.
        STUTMAN, P.C.
        1260 CORONA POINTE COURT,
        SUITE 306
        CORONA, CALIFORNIA 92879


3.19361 CALIFORNIA CAPITAL                      VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        MARK S. GROTEFELDMAURA        ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.19362 CALIFORNIA CAPITAL                      VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        ERIC M. SCHROEDER (SBN        ACCOUNT NO.: NOT AVAILABLE
        153251) WILLIAM LOSCOTOTL
        (SBN 224638) AMANDA
        STEVENS (SBN 2S23S0)
        SCHROEDER LOSCOTOFF, LLP
        7410 OREENBAVEN DRIVE,
        SUITE 200
        SACRAMENTO, CA 95831


3.19363 CALIFORNIA CAPITAL                      VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.19364 CALIFORNIA CASUALTY                     VARIOUS                              Wildfire                UNDETERMINED
        INDEMNITY EXCHANGE                                                           Litigation
        BERGER KAHN, A LAW            ACCOUNT NO.: NOT AVAILABLE
        CORPORATION
        1 PARK PLAZA
        SUITE 340
        IRVINE, CA 92614




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19365 CALIFORNIA CASUALTY                       VARIOUS                              Wildfire                UNDETERMINED
        INDEMNITY EXCHANGE                                                             Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.19366 CALIFORNIA CASUALTY                       VARIOUS                              Wildfire                UNDETERMINED
        INDEMNITY EXCHANGE                                                             Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.19367 CALIFORNIA DEPT OF                        VARIOUS                              Wildfire                UNDETERMINED
        VETERANS AFFAIRS                                                               Litigation
        MATTHEW DANADENISE              ACCOUNT NO.: NOT AVAILABLE
        LEWISSHIRLEY
        OGATAJOVANNA SCHMIDT
        DEPT OF VETERANS AFFAIRS
        1227 "O" STREET ROOM 306
        SACRAMENTO, CA 95814


3.19368 CALIFORNIA FAIR PLAN                      VARIOUS                              Wildfire                UNDETERMINED
        ASSOCIATION                                                                    Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CALIFORNIA 92614-8516


3.19369 CALIFORNIA FAIR PLAN                      VARIOUS                              Wildfire                UNDETERMINED
        ASSOCIATION                                                                    Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.19370 CALIFORNIA JOINT POWERS                   VARIOUS                              Wildfire                UNDETERMINED
        RISK MANAGEMENT AUTHORITY                                                      Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19371 CALIFORNIA JOINT POWERS                   VARIOUS                              Wildfire                UNDETERMINED
        RISK MANAGEMENT AUTHORITY                                                      Litigation
        AHMED S. DIABDEBORAH S.         ACCOUNT NO.: NOT AVAILABLE
        DIXONROBERT J. CHAMBERS II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19372 CALIFORNIA JOINT POWERS                   VARIOUS                              Wildfire                UNDETERMINED
        RISK MANAGEMENT AUTHORITY                                                      Litigation
        SCOTT SUMMY (PRO HAC            ACCOUNT NO.: NOT AVAILABLE
        VICE)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, STE. 265
        SAN DIEGO, CA 92127


3.19373 CALIFORNIA MUTUAL                         VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES, LLP
        1766 LACASSIDE AVE, SUITE 200
        WALNUT CREEK, CA 94596


3.19374 CALLAHAN, LORRIE                          VARIOUS                              Wildfire                UNDETERMINED
        P. O. BOX 207                                                                  Litigation
        DOBBINS, CA 95935               ACCOUNT NO.: NOT AVAILABLE


3.19375 CALLAWAY JR, DWIGHT                       VARIOUS                              Wildfire                UNDETERMINED
        1900 ORO DAM BLVD. #12 205                                                     Litigation
        OROVILLE, CA 95966              ACCOUNT NO.: NOT AVAILABLE


3.19376 CALPINE (MCCABE) PART 2                   VARIOUS                              Wildfire                UNDETERMINED
        MARK MCKANE, KIRKLAND &                                                        Litigation
        ELLIS LLP                       ACCOUNT NO.: NOT AVAILABLE
        555 CALIFORNIA STREET, 29TH
        FLOOR
        SAN FRANCISCO, CA 94104


3.19377 CALUM MURRAY                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19378 CALUM MURRAY                             VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19379 CALUM MURRAY                             VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FIRM     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.19380 CALVILLO, DENISE                         VARIOUS                              Wildfire                UNDETERMINED
        400 LOUISE WAY                                                                Litigation
        207                            ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.19381 CALVILLO, NORMA                          VARIOUS                              Wildfire                UNDETERMINED
        18318 LUCAS AVE                                                               Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.19382 CALVIN EVANS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19383 CALVIN EVANS                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19384 CALVIN EVANS                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19385 CALVIN EVANS                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19386 CALVIN GURULE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19387 CALVIN GURULE                            VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19388 CALVIN GURULE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19389 CALVIN GURULE                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19390 CALVIN M. PERRY III                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19391 CALVIN M. PERRY III                    VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.19392 CALVIN M. PERRY III                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19393 CALVIN M. PERRY III                    VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                     Litigation
        (BAR NO. 295951) RACHEL      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.19394 CAM FOLKS                              VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR.                                                       Litigation
        ROBINSON CALCAGNIE, INC.     ACCOUNT NO.: NOT AVAILABLE
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.19395 CAM LUU                                VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19396 CAM LUU                                VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                    Litigation
        BRYSONKEVIN M. POLLACK       ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19397 CAM LUU                                 VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19398 CAMACHO, JOANN & MELBA                  VARIOUS                              Wildfire                UNDETERMINED
        DONNELL                                                                      Litigation
        DANIEL G. WHALEN              ACCOUNT NO.: NOT AVAILABLE
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.19399 CAMACHO, NORMA                          VARIOUS                              Wildfire                UNDETERMINED
        206 FUENTE LANE, APT. # 206                                                  Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.19400 CAMARENA, BLANCA                        VARIOUS                              Wildfire                UNDETERMINED
        226 FUENTE LANE                                                              Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.19401 CAMBLIN, MARK                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SAMMY, ESQ.BRITT K.                                                    Litigation
        STROTTMAN, ESQ.JOHN           ACCOUNT NO.: NOT AVAILABLE
        FISKE, ESQ.
        BARON & BUDD
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19402 CAMBLIN, MARK                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN GOMEZAHMED DIAB                                                         Litigation
        GOMEZ TRIAL ATTORNEYS         ACCOUNT NO.: NOT AVAILABLE
        655 W. BROADWAY, SUITE 1700
        SAN DIEGO, CA 92101


3.19403 CAMBRA, JOSEPH LOUIS;                   VARIOUS                              Wildfire                UNDETERMINED
        CAMBRA, NICOLE; CAMBRA,                                                      Litigation
        CAYSON RUSSELL AND            ACCOUNT NO.: NOT AVAILABLE
        CAMBRA, BENTLY ROSE,
        MINORS BY AND THROUGH
        THEIR GUARDIAN AD LITEM,
        JOSEPH LOUIS CAMBRA
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.19404 Cambra, Joseph Louis; Cambra,                VARIOUS                              Wildfire                UNDETERMINED
        Nicole; Cambra, Cayson Russell                                                    Litigation
        and Cambra, Bently Rose, minors    ACCOUNT NO.: NOT AVAILABLE
        By And Through Their Guardian Ad
        Litem, Joseph Louis Cambra
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.19405 Cambra, Joseph Louis; Cambra,                VARIOUS                              Wildfire                UNDETERMINED
        Nicole; Cambra, Cayson Russell                                                    Litigation
        and Cambra, Bently Rose, minors    ACCOUNT NO.: NOT AVAILABLE
        By And Through Their Guardian Ad
        Litem, Joseph Louis Cambra
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.19406 CAMCACHO, OLGA                               VARIOUS                              Wildfire                UNDETERMINED
        1912 GENOA PL                                                                     Litigation
        SANTA ROSA, CA 95403               ACCOUNT NO.: NOT AVAILABLE


3.19407 CAMELIA LOPEZ                                VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                          Litigation
        J. EBALLAR                         ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.19408 CAMELIA LOPEZ                                VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                          Litigation
        AMANWILLIAM P. HARRIS              ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19409 CAMERON FILDES, BEVERLY                      VARIOUS                              Wildfire                UNDETERMINED
        12870 DOUGLAS WAY                                                                 Litigation
        LOMA RICA, CA 95901                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19410 CAMERON HUFFMAN                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19411 CAMERON HUFFMAN                          VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.19412 CAMERON HUFFMAN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19413 CAMERON HUFFMAN                          VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.19414 CAMERON RAY                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19415 CAMERON RAY                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19416 CAMERON RAY                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19417 CAMERON RAY                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19418 CAMERON TRANG                          VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19419 CAMERON TRANG                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19420 CAMERON WAYLAND                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                       Litigation
        208783)ERIKA L. VASQUEZ      ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19421 CAMERON WAYLAND                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                        Litigation
        VICEPENDING)JOHN P. FISKE    ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19422 CAMERON WAYLAND                          VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19423 CAMERON WAYLAND                          VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.19424 CAMERON WAYLAND                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.19425 CAMERON, JOY                             VARIOUS                              Wildfire                UNDETERMINED
        4393 SONOMA HWY                                                               Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19426 CAMERYN SCHULTE                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19427 CAMERYN SCHULTE                          VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19428 CAMERYN SCHULTE                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19429 CAMERYN SCHULTE                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19430 CAMEY STOCKDALE                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19431 CAMEY STOCKDALE                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19432 CAMEY STOCKDALE                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19433 CAMEY STOCKDALE                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19434 CAMPBELL, ANNA & GAGNON,               VARIOUS                              Wildfire                UNDETERMINED
        GEORGE                                                                      Litigation
        DANIEL G. WHALEN             ACCOUNT NO.: NOT AVAILABLE
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.19435 CAMPBELL, TAMI SUE                VARIOUS                                   Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                      Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19436 CAMPBELL, TAMI SUE                     VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                    Litigation
        VASQUEZAMANDA LOCUTRO        ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19437 CAMPBELL, TAMI SUE                     VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                        Litigation
        ZUMMER                       ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19438 CAMPUS MARKET AND DELI                 VARIOUS                              Wildfire                UNDETERMINED
        1880 MEDOCINO AVE                                                           Litigation
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.19439 CANADA, CHARLES W. AND                 VARIOUS                              Wildfire                UNDETERMINED
        CYNTHIA A.                                                                  Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19440 CANADA, CHARLES W. AND            VARIOUS                                   Wildfire                UNDETERMINED
        CYNTHIA A.                                                                  Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19441 CANADA, CHARLES W. AND                    VARIOUS                              Wildfire                UNDETERMINED
        CYNTHIA A.                                                                     Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19442 CANCHOLA, MARISELA                        VARIOUS                              Wildfire                UNDETERMINED
        512 AIRPORT BLVD. APT. #24                                                     Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.19443 CANDACE WIKOFF                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19444 CANDACE WIKOFF                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19445 CANDACE WIKOFF                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.19446 CANDACE WIKOFF                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.19447 CANDICE BOYDSTON                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19448 CANDICE BOYDSTON                           VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.19449 CANDICE BOYDSTON                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19450 CANDICE BOYDSTON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19451 CANDICE BOYDSTON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19452 CANDICE KING                               VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                    Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19453 CANDICE KING                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19454 CANDICE KING                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.19455 CANDICE KING                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19456 CANDICE KING                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19457 CANDICE KING                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19458 CANDICE KING                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19459 CANDICE KING                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.19460 CANDICE KING                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.19461 CANDICE L. DEPPE                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19462 CANDICE L. DEPPE                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19463 CANDICE L. DEPPE                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19464 CANDICE L. DEPPE                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19465 CANDICE L. DEPPE                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.19466 CANDICE NICHOLS                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19467 CANDICE NICHOLS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19468 CANDICE NICHOLS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19469 CANDICE NICHOLS                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19470 CANDICE SEALS                              VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.19471 CANDICE SEALS                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19472 CANDICE SEALS                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.19473 CANDICE SEALS                              VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.19474 CANDICE SEALS                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19475 CANDIDA APPLEBAUM                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228BRETT R. PARKINSON,       ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19476 CANDIDA APPLEBAUM                        VARIOUS                              Wildfire                UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                     Litigation
        SBN: 147086                    ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.19477 CANDIDA APPLEBAUM                        VARIOUS                              Wildfire                UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                    Litigation
        167700STEVEN S. KANE, ESQ.,    ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.19478 CANDIDA APPLEBAUM                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19479 CANELO, INGRID                           VARIOUS                              Wildfire                UNDETERMINED
        6420 BRIDGEWOOD DR                                                            Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19480 CANNIFF, COLLIN S.; CANNIFF,             VARIOUS                              Wildfire                UNDETERMINED
        GALEN M.; CANNIFF, KEELY H.;                                                  Litigation
        CANNIFF, MARY M.; CANNIFF,     ACCOUNT NO.: NOT AVAILABLE
        MICHAEL L.; FIGEL, SEAN M.
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19481 CANNIFF, COLLIN S.; CANNIFF,         VARIOUS                                  Wildfire                UNDETERMINED
        GALEN M.; CANNIFF, KEELY H.;                                                  Litigation
        CANNIFF, MARY M.; CANNIFF,   ACCOUNT NO.: NOT AVAILABLE
        MICHAEL L.; FIGEL, SEAN M.
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19482 CANNIFF, COLLIN S.; CANNIFF,             VARIOUS                              Wildfire                UNDETERMINED
        GALEN M.; CANNIFF, KEELY H.;                                                  Litigation
        CANNIFF, MARY M.; CANNIFF,     ACCOUNT NO.: NOT AVAILABLE
        MICHAEL L.; FIGEL, SEAN M.
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19483 CANNON DANIELS                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19484 CANNON DANIELS                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19485 CANNON DANIELS                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19486 CANNON DANIELS                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19487 CANNON DANIELS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Wildfire Claims

3.19488 CANNON, MICHAEL                         VARIOUS                              Wildfire                UNDETERMINED
        17109 HIGHWAY 12                                                             Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.19489 CANOPIUS MANAGING AGENTS                VARIOUS                              Wildfire                UNDETERMINED
        LIMITED                                                                      Litigation
        HOWARD D. MAYCON              ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.19490 CANOPIUS MANAGING AGENTS                VARIOUS                              Wildfire                UNDETERMINED
        LIMITED                                                                      Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.19491 CANOPIUS MANAGING AGENTS                VARIOUS                              Wildfire                UNDETERMINED
        LIMITED                                                                      Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.19492 CANOPIUS SYNDICATE 4444                 VARIOUS                              Wildfire                UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                      Litigation
        JANG & ASSOCIATES LLP         ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.19493 CANOPIUS SYNDICATE 4444                 VARIOUS                              Wildfire                UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                       Litigation
        REGANDAVID D. BRISCO          ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.19494 CANOPIUS SYNDICATE 4444                 VARIOUS                              Wildfire                UNDETERMINED
        HOWARD D. MAYCON                                                             Litigation
        COZEN O'CONNOR                ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017



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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.19495 CANTINE, STEVEN; DURKAY,              VARIOUS                              Wildfire                UNDETERMINED
        LAWRENCE (NOW DECEASED)                                                    Litigation
        ERIC RATINOFFGREG STUCK     ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP.
        401 WATT AVENUE, SUITE 1
        SACRAMENTO, CA 95864


3.19496 CANTRELL, JAMES                       VARIOUS                              Wildfire                UNDETERMINED
        448 KORTUM CANYON RD                                                       Litigation
        CALISTOGA, CA 94515         ACCOUNT NO.: NOT AVAILABLE


3.19497 CAPP, JACOB                           VARIOUS                              Wildfire                UNDETERMINED
        1310 WOODEN VALLEY CROSS                                                   Litigation
        RD                          ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.19498 CAPP, MELINDA                         VARIOUS                              Wildfire                UNDETERMINED
        1310 WOODEN VALLEY CROSS                                                   Litigation
        RD                          ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.19499 CAPPUCCI, DOMINIC                     VARIOUS                              Wildfire                UNDETERMINED
        1764 WOODEN VALLEY RD                                                      Litigation
        NAPA, CA 94558              ACCOUNT NO.: NOT AVAILABLE


3.19500 CARA KOLOYARTSEV                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19501 CARA KOLOYARTSEV                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19502 CARA KOLOYARTSEV                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19503 CARA KOLOYARTSEV                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19504 CARA KOLOYARTSEV                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19505 CARA RECINE                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19506 CARA RECINE                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19507 CARBIS, BRIAN                           VARIOUS                              Wildfire                UNDETERMINED
        104 PARKVIEW LANE                                                            Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.19508 CARDENAS, RAMONA & IGNACIO              VARIOUS                              Wildfire                UNDETERMINED
        4057 BROWNS VALLEY RD                                                        Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.19509 CARDONA, LEAH                           VARIOUS                              Wildfire                UNDETERMINED
        5452 PINE HILL COURT                                                         Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.19510 CARDONA, RAQUEL                         VARIOUS                              Wildfire                UNDETERMINED
        200 ELAINE'S WAY                                                             Litigation
        301                           ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19511 CAREY, ELTON                            VARIOUS                              Wildfire                UNDETERMINED
        739 HILLMONT ST                                                              Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.19512 CAREY, KAREN                            VARIOUS                              Wildfire                UNDETERMINED
        5648 DEL MONTE CT                                                            Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.19513 CARGILE, COURTNEY                       VARIOUS                              Wildfire                UNDETERMINED
        1114 SONOMA GLEN CIR                                                         Litigation
        GLEN ELLEN, CA 95442          ACCOUNT NO.: NOT AVAILABLE


3.19514 CARGILE, DEBRA                          VARIOUS                              Wildfire                UNDETERMINED
        850 RUSSELL AVE APT S8                                                       Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.19515 CARGILE, ROCHELE                        VARIOUS                              Wildfire                UNDETERMINED
        2823 HARDIES LN                                                              Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.19516 CARIDAD                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.19517 CARIDAD                                 VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19518 CARIDAD                                  VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.19519 CARIE LERNER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19520 CARIE LERNER                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19521 CARIE LERNER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19522 CARIE LERNER                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19523 CARIN JACO                               VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.19524 CARIN JACO                               VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19525 CARINALLI, ALICIA                        VARIOUS                              Wildfire                UNDETERMINED
        5134 FIG TREE LANE                                                            Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19526 CARL BENDER                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19527 CARL BENDER                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19528 CARL BENDER                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19529 CARL BENDER                              VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19530 CARL BOLLMAN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19531 CARL BOLLMAN                             VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19532 CARL BOLLMAN                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19533 CARL BOLLMAN                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19534 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19535 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19536 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19537 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19538 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19539 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19540 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19541 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19542 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19543 CARL COLEMAN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19544 CARL COLLINS                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19545 CARL COLLINS                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.19546 CARL COLLINS                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19547 CARL COLLINS                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.19548 CARL COLLINS                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.19549 CARL COLLINS                             VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.19550 CARL INGERMANSON                         VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.19551 CARL JOHNSEN                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19552 CARL JOHNSEN                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19553 CARL JOHNSEN                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19554 CARL JOHNSEN                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19555 CARL JOHNSEN                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19556 CARL MITCHELL                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19557 CARL MITCHELL                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.19558 CARL MITCHELL                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.19559 CARL MITCHELL                             VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19560 CARLA GUTIETIEZ                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19561 CARLA GUTIETIEZ                          VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19562 CARLA KAYE KELLER                        VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19563 CARLA KAYE KELLER                        VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FINN     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.19564 CARLA KAYE KELLER                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19565 CARLA MOLNAR                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19566 CARLA MOLNAR                               VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19567 CARLA TATOIAN                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADIDORIS                 ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19568 CARLEEN EDWARDS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19569 CARLEEN EDWARDS                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19570 CARLEEN EDWARDS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19571 CARLEEN EDWARDS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19572 CARLEEN EDWARDS                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                     Litigation
        SBN: 110909ANDREA R.           ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19573 CARLEEN JENNETTE STYRON                  VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19574 CARLEEN JENNETTE STYRON                  VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19575 CARLEEN JENNETTE STYRON                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19576 CARLEEN JENNETTE STYRON                  VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19577 CARLETON, CHARLES                        VARIOUS                              Wildfire                UNDETERMINED
        409 OAK BROOK PL                                                              Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19578 CARLISLE ENGELHARDT                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                     Litigation
        SBN: 110909ROBERT A.          ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19579 CARLOS AVILES                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19580 CARLOS AVILES                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19581 CARLOS AVILES                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19582 CARLOS AVILES                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19583 CARLOS AVILES                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.19584 CARLOS CALDERON                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19585 CARLOS CALDERON                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19586 CARLOS CALDERON                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19587 CARLOS CALDERON                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19588 CARLOS CALDERON                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.19589 CARLOS F. FLORES                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.19590 CARLOS F. FLORES                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19591 CARLOS F. FLORES                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19592 CARLOS F. FLORES                      VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19593 CARLOS F. FLORES                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19594 CARLOS J CASTLE                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19595 CARLOS J CASTLE                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19596 CARLOS J CASTLE                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19597 CARLOS J CASTLE                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19598 CARLOS J CASTLE                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19599 CARLOS MARTINEZ                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19600 CARLOS MARTINEZ                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19601 CARLOS MARTINEZ                          VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19602 CARLOS MARTINEZ                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19603 CARLOS PEDRAZA-                          VARIOUS                              Wildfire                UNDETERMINED
        VILLAFUERTE                                                                   Litigation
        RYAN L. THOMPSON (CAL.         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 296841)PAIGE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19604 CARLOS PEDRAZA-                          VARIOUS                              Wildfire                UNDETERMINED
        VILLAFUERTE                                                                   Litigation
        JOHN COX (CAL. STATE BAR       ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19605 CARLOS REYES                             VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.19606 CARLOS REYNOSO                           VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE, ESQ      ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.19607 CARLOS REYNOSO JR.                       VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE, ESQ      ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.19608 CARLSON, JACQUELINE                      VARIOUS                              Wildfire                UNDETERMINED
        2070 RED OAK CIR                                                              Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19609 CARLSON, JACQUELINE                     VARIOUS                              Wildfire                UNDETERMINED
        2066 RED OAK CIR                                                             Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.19610 CARLSON, JOHN                           VARIOUS                              Wildfire                UNDETERMINED
        5900 WRAGG CANYON RD                                                         Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.19611 CARLSON, STEVEN; RICH                   VARIOUS                              Wildfire                UNDETERMINED
        GULCH RANCH INC.; NOWHERE                                                    Litigation
        RANCH CO; JOHANNA N.          ACCOUNT NO.: NOT AVAILABLE
        SWEIGART
        MIKE DANKOKRISTINE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19612 CARLSON, STEVEN; RICH                   VARIOUS                              Wildfire                UNDETERMINED
        GULCH RANCH INC.; NOWHERE                                                    Litigation
        RANCH CO; JOHANNA N.          ACCOUNT NO.: NOT AVAILABLE
        SWEIGART
        DARIO DE GHETALDI AMANDA
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19613 CARLTON SCHREINER                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19614 CARLTON SCHREINER                       VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19615 CARLTON SCHREINER                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19616 CARLTON SCHREINER                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19617 CARMA SIMONSEN                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.19618 CARMA SIMONSEN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.19619 CARMA SIMONSEN                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19620 CARMAN, LEE ANN                            VARIOUS                              Wildfire                UNDETERMINED
        15055 TWIN PINE RD                                                              Litigation
        MAGALIA, CA 95954                ACCOUNT NO.: NOT AVAILABLE


3.19621 CARMEL MCCOSHUM                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19622 CARMEL MCCOSHUM                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19623 CARMEL MCCOSHUM                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19624 CARMEL MCCOSHUM                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19625 CARMEL MCCOSHUM                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19626 CARMELA CROSHER                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19627 CARMELA CROSHER                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19628 CARMELITA SANCHEZ                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19629 CARMELITA SANCHEZ                        VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                     Litigation
        (SBN 99126)NATASHA N.          ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.19630 CARMELITA SANCHEZ                        VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                   Litigation
        9858)JESSICA W. HAYES.,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.19631 CARMELITA SANCHEZ                        VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19632 CARMELO PACHECO VALENCIA                VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.19633 CARMEN BACA                             VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.19634 CARMEN BACA                             VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.19635 CARMEN BACA                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19636 CARMEN BACA                             VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19637 CARMEN MAZA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19638 CARMEN MAZA                              VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19639 CARMEN MAZA                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19640 CARMEN MAZA                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19641 CARMEN MAZA                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19642 CARMEN RUIZ                              VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE,          ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19643 CARMEN T. MEISSNER                      VARIOUS                              Wildfire                UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                  Litigation
        116060RAHUL RAVIPUDI,         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.19644 CARMEN T. MEISSNER                      VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                    Litigation
        NO. 100077                    ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.19645 CARMEN T. MEISSNER                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                  Litigation
        NO. 71460                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.19646 CARMONA, BONIFACIO                      VARIOUS                              Wildfire                UNDETERMINED
        2310 PINER RD                                                                Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.19647 CARNELLA MARKS                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19648 CARNELLA MARKS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19649 CARNELLA MARKS                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19650 CARNELLA MARKS                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19651 CARNELLA MARKS                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19652 CARNIGLIA, JANET                         VARIOUS                              Wildfire                UNDETERMINED
        74 PIXY PLACE                                                                 Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19653 CAROL A. HUBBARD                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19654 CAROL A. HUBBARD                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19655 CAROL A. HUBBARD                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19656 CAROL A. HUBBARD                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19657 CAROL ALBRECHT                           VARIOUS                              Wildfire                UNDETERMINED
        IVY T. NGO (SBN 249860)                                                       Litigation
        FRANKLIN D. AZAR &             ACCOUNT NO.: NOT AVAILABLE
        ASSOCIATES
        14426 EAST EVANS AVENUE
        AURORA, CO 80014


3.19658 CAROL ALBRECHT                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN R. GARNER (SBN                                                           Litigation
        246729)MARIA E. MINNEY (SBN    ACCOUNT NO.: NOT AVAILABLE
        289131)
        GARNER & ASSOCIATES
        P.O. BOX 908109 N. MARSHALL
        AVE.
        WILLOWS, CA 95988


3.19659 CAROL AMAYA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19660 CAROL AMAYA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19661 CAROL AMAYA                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19662 CAROL AMAYA                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19663 CAROL ANDERBERG                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19664 CAROL ANDERBERG                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19665 CAROL ANDERBERG                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19666 CAROL ANDERBERG                          VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19667 CAROL ANN REYNOLDS                        VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.19668 CAROL ANN REYNOLDS                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.19669 CAROL ANN REYNOLDS                        VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.19670 CAROL BAKER                               VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                           Litigation
        #109455LAURA E. BROWN           ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.19671 CAROL BAKER                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19672 CAROL BAKER                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19673 CAROL BAKER                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19674 CAROL BAKER                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19675 CAROL CAMPBELL                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19676 CAROL CAMPBELL                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19677 CAROL CAMPBELL                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19678 CAROL CAMPBELL                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19679 CAROL CAMPBELL                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19680 CAROL CARLENZOLI                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19681 CAROL CARLENZOLI                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.19682 CAROL CARLENZOLI                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.19683 CAROL CARLENZOLI                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19684 CAROL CARLENZOLI                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19685 CAROL CLEMENS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19686 CAROL CLEMENS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19687 CAROL CLEMENS                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19688 CAROL CLEMENS                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19689 CAROL COWEN                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19690 CAROL COWEN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.19691 CAROL COWEN                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.19692 CAROL CRAIK                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19693 CAROL CRAIK                               VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.19694 CAROL CRAIK                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.19695 CAROL CRAIK                               VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19696 CAROL CRAWFORD                         VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19697 CAROL CRAWFORD                         VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19698 CAROL D PHILLIPS                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19699 CAROL D PHILLIPS                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19700 CAROL D PHILLIPS                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19701 CAROL D PHILLIPS                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19702 CAROL D PHILLIPS                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19703 CAROL FUNK                              VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD,                                                        Litigation
        ESQ.MICHAEL H. ARTINIAN,      ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.19704 CAROL FUNK                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                  Litigation
        C. AMAN, ESQ.WILLIAM P.       ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19705 CAROL FUNK                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.19706 CAROL GOEKE                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19707 CAROL GOEKE                              VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19708 CAROL GOEKE                              VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19709 CAROL GOEKE                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19710 CAROL HEMPHILL                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19711 CAROL HEMPHILL                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19712 CAROL HEMPHILL                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19713 CAROL HEMPHILL                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19714 CAROL HUMPHREY                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.19715 CAROL HUMPHREY                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19716 CAROL HUMPHREY                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19717 CAROL HUMPHREY                          VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                           Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19718 CAROL HUMPHREY                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.19719 CAROL L DAVIDSON                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19720 CAROL L DAVIDSON                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19721 CAROL L DAVIDSON                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19722 CAROL L DAVIDSON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19723 CAROL L DAVIDSON                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19724 CAROL L. MORRIS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19725 CAROL L. MORRIS                          VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                     Litigation
        BAR #104975)                   ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.19726 CAROL L. SMITH                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19727 CAROL L. SMITH                           VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.19728 CAROL L. SMITH                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19729 CAROL L. SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.19730 CAROL LADRINI                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19731 CAROL LADRINI                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.19732 CAROL LADRINI                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.19733 CAROL LADRINI                             VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.19734 CAROL LOUISE RENN                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19735 CAROL LOUISE RENN                        VARIOUS                              Wildfire                UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                     Litigation
        (STATE BAR #33422) DIANE       ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.19736 CAROL LOUISE RENN                        VARIOUS                              Wildfire                UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                        Litigation
        (STATE BAR #103252)BRIANNA     ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.19737 CAROL LOUISE RENN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19738 CAROL LOUISE RENN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19739 CAROL MANLEY                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19740 CAROL MANLEY                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19741 CAROL MANLEY                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19742 CAROL MANLEY                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19743 CAROL MARIE GERRANS                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19744 CAROL MARIE GERRANS                      VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19745 CAROL MARTUCCI                           VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                     Litigation
        BAR #104975)                   ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.19746 CAROL MARTUCCI                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19747 CAROL MCHENRY                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19748 CAROL MCHENRY                              VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.19749 CAROL MCHENRY                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19750 CAROL MCHENRY                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19751 CAROL MCHENRY                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19752 CAROL MICHADA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19753 CAROL MICHADA                            VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.19754 CAROL MICHADA                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19755 CAROL MICHADA                            VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.19756 CAROL PETERSON                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19757 CAROL PETERSON                           VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                          Litigation
        #109455LAURA E. BROWN          ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.19758 CAROL PETERSON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19759 CAROL PETERSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19760 CAROL PETERSON                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19761 CAROL POOLE                                VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                         Litigation
        R. PARKINSONDANIEL E.            ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19762 CAROL POOLE                                VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                           Litigation
        SIMMONS                          ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19763 CAROL POOLE                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                   Litigation
        DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.19764 CAROL POOLE                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                              Litigation
        FRIEDEMANN GOLDBERG LLP          ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19765 CAROL RACINE                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19766 CAROL RACINE                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.19767 CAROL RACINE                             VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.19768 CAROL RACINE                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.19769 CAROL RACINE                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.19770 CAROL RACINE                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19771 CAROL SOUZA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19772 CAROL SOUZA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19773 CAROL SOUZA                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19774 CAROL SOUZA                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19775 CAROL SPEAR                              VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR.                                                         Litigation
        ROBINSON CALCAGNIE, INC.       ACCOUNT NO.: NOT AVAILABLE
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.19776 CAROL SPEARS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19777 CAROL SPEARS                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19778 CAROL SPEARS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19779 CAROL SPEARS                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19780 CAROL SWART                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19781 CAROL SWART                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19782 CAROL SWART                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19783 CAROL SWART                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19784 CAROLE COOPER                            VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.19785 CAROLE COOPER                            VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.19786 CAROLE COOPER                            VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.19787 CAROLE DAVIS                             VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                   Litigation
        SBN 119554MICHAEL H.           ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19788 CAROLE DAVIS                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.19789 CAROLE DAVIS                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19790 CAROLE DAVIS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19791 CAROLE DAVIS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19792 CAROLE HOLLEY                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.19793 CAROLE HOLLEY                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19794 CAROLE WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19795 CAROLE WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19796 CAROLE WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19797 CAROLE WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19798 CAROLEE FISH                             VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.19799 CAROLEE FISH                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19800 CAROLEE FISH                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19801 CAROLEE FISH                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19802 CAROLEE FISH                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19803 CAROLINE BOLIN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.19804 CAROLINE BOLIN                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.19805 CAROLINE BOLIN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19806 CAROLINE BOLIN                          VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19807 CAROLINE BOLIN                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19808 CAROLINE CARDOZA                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19809 CAROLINE CARDOZA                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.19810 CAROLINE CARDOZA                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19811 Caroline Cardoza                           VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                     Litigation
        126782 Amanda L. Riddle - Bar    ACCOUNT NO.: NOT AVAILABLE
        No. 215221 Steven M. Berki -
        Bar No. 245426 Sumble
        Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.19812 CAROLINE CHRISTOFOLIS                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19813 CAROLINE CHRISTOFOLIS                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19814 CAROLINE CHRISTOFOLIS                      VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19815 CAROLINE CHRISTOFOLIS                      VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19816 CAROLINE HOGAN                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19817 CAROLINE HOGAN                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                      Litigation
        COTCHETTALISON E.             ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19818 CAROLINE LONG                           VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                    Litigation
        BAR #104975)                  ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.19819 CAROLINE LONG                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADIDORIS              ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19820 CAROLINE PRYOR                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19821 CAROLINE PRYOR                          VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                       Litigation
        SHEARJASON BOYER              ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19822 CAROLINE PRYOR                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19823 CAROLINE PRYOR                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19824 CAROLINE PRYOR                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19825 CAROLINE WOODS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19826 CAROLINE WOODS                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                          Litigation
        110909)                          ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19827 CAROLINE WOODS                             VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. PANISH (SBN 116060)                                                    Litigation
        PANISH SHEA &BOYLE, LLP          ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.19828 CAROLINE WOODS                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE (SBN                                                                Litigation
        100077)ALISON E. CORDOVA            ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA


3.19829 CAROLYN ASH                                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.19830 Carolyn Ash                                   VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.19831 CAROLYN BOYETTE                               VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                           Litigation
        J. EBALLAR                          ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.19832 CAROLYN BOYETTE                               VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                           Litigation
        AMANWILLIAM P. HARRIS               ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19833 CAROLYN CANTARUTTI                      VARIOUS                              Wildfire                UNDETERMINED
        RICHARD SAX                                                                  Litigation
        LAW OFFICES OF RICHARD SAX    ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401


3.19834 CAROLYN CANTARUTTI                      VARIOUS                              Wildfire                UNDETERMINED
        RICHARD SAX                                                                  Litigation
        LAW OFFICES OF RICHARD SAX    ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401


3.19835 CAROLYN CANTARUTTI                      VARIOUS                              Wildfire                UNDETERMINED
        RICHARD SAX                                                                  Litigation
        LAW OFFICES OF RICHARD SAX    ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401


3.19836 CAROLYN CORDES                          VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J.                                                                 Litigation
        CABRASERROBERT J.             ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.19837 CAROLYN EDIE                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19838 CAROLYN EDIE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19839 CAROLYN EDIE                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19840 CAROLYN EDIE                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19841 CAROLYN EDIE                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19842 CAROLYN ELLIOTT                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                           Litigation
        208783)ERIKA L. VASQUEZ          ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.19843 CAROLYN ELLIOTT                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.19844 CAROLYN ELLIOTT                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.                ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19845 CAROLYN ELLIOTT                          VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.19846 CAROLYN ELLIOTT                          VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.19847 CAROLYN HAYWOOD                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19848 CAROLYN HAYWOOD                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.19849 CAROLYN HILL                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                     Litigation
        SBN: 110909ANDREA R.           ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19850 CAROLYN HILL                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19851 CAROLYN HILL                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19852 CAROLYN HILL                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19853 CAROLYN HILL                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19854 CAROLYN IOTT                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19855 CAROLYN IOTT                               VARIOUS                              Wildfire                UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                      Litigation
        167700STEVEN S. KANE, ESQ.,      ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.19856 CAROLYN IOTT                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228BRETT R. PARKINSON,       ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19857 CAROLYN IOTT                            VARIOUS                              Wildfire                UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                    Litigation
        SBN: 147086                   ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.19858 CAROLYN JEAN POUNDS                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19859 CAROLYN JEAN POUNDS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19860 CAROLYN JEAN POUNDS                     VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                    Litigation
        160461)                       ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.19861 CAROLYN JEAN POUNDS                     VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                     Litigation
        315962)TODD LOGAN (SBN        ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)BRANDT SILVER-KORN
        (SBN 323530)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.19862 CAROLYN JEAN POUNDS                     VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J. CABRASER (SBN                                                   Litigation
        083151)LEXI J. HAZAM (SBN     ACCOUNT NO.: NOT AVAILABLE
        224457)ABBY R. WOLF(SBN
        313049)
        LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94111




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19863 CAROLYN LOMAX                             VARIOUS                              Wildfire                UNDETERMINED
        C. BROOKS CUTTERJOHN G.                                                        Litigation
        ROUSSASMATTHEW M.               ACCOUNT NO.: NOT AVAILABLE
        BREINING
        CUTTER LAW P.C.
        401 WATT AVENUE
        SACRAMENTO, CA 95864


3.19864 CAROLYN M. MAX                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19865 CAROLYN M. MAX                            VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.19866 CAROLYN M. MAX                            VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.19867 CAROLYN M. MAX                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19868 CAROLYN M. WALLIN                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.19869 CAROLYN M. WALLIN                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19870 CAROLYN M. WALLIN                        VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                      Litigation
        60768GAYLE M. BLATT, SBN       ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.19871 CAROLYN MEDINA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19872 CAROLYN MEDINA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19873 CAROLYN MEDINA                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19874 CAROLYN MEDINA                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19875 CAROLYN NICOLE POTTER                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19876 CAROLYN NICOLE POTTER                    VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19877 CAROLYN NICOLE POTTER                    VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19878 CAROLYN NICOLE POTTER                    VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19879 CAROLYN PECK                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19880 CAROLYN PECK                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.19881 CAROLYN PECK                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.19882 CAROLYN R HIMANGO                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19883 CAROLYN R HIMANGO                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19884 CAROLYN R HIMANGO                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19885 CAROLYN R HIMANGO                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19886 CAROLYN R HIMANGO                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19887 CAROLYN ROSE LEBOEUF                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19888 CAROLYN ROSE LEBOEUF                     VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19889 CAROLYN ROSE LEBOEUF                     VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19890 CAROLYN ROSE LEBOEUF                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19891 CARR, LAKEISHA                           VARIOUS                              Wildfire                UNDETERMINED
        14224 HALE ST                                                                 Litigation
        CLEARLAKE, CA 95422            ACCOUNT NO.: NOT AVAILABLE


3.19892 CARR, TITA                               VARIOUS                              Wildfire                UNDETERMINED
        18157 HAPPY LANE                                                              Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19893 CARREON, ANGELA                          VARIOUS                              Wildfire                UNDETERMINED
        1104 DILLON DRIVE                                                             Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.19894 CARREON, MICHELLE                        VARIOUS                              Wildfire                UNDETERMINED
        1400 TALLAC ST                                                                Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.19895 CARRI SAEPHANH                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19896 CARRI SAEPHANH                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.19897 CARRIE CUNNINGHAM                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19898 CARRIE CUNNINGHAM                        VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19899 CARRIE CUNNINGHAM                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19900 CARRIE CUNNINGHAM                        VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19901 CARRIE FREYER                            VARIOUS                              Wildfire                UNDETERMINED
        LAWRENCE G. PAPALE, SBN:                                                      Litigation
        67068                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF LAWRENCE G.
        PAPALE
        THE CORNERSTONE
        BUILDING1308 MAIN STREET,
        SUITE 117
        ST. HELENA, CALIFORNIA 94574


3.19902 CARRIE FREYER                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH JOHN TURRI, SBN:                                                       Litigation
        181994ATTILA PANCZEL, SBN:     ACCOUNT NO.: NOT AVAILABLE
        250799
        INSURANCE LITIGATORS &
        COUNSELOR PLC
        445 NORTH STATE STREET
        UKIAH, CA 95482


3.19903 CARRIE TRIVINO                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19904 CARRIE TRIVINO                           VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.19905 CARRIE TRIVINO                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19906 CARRILLO, TANYA                         VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                         Litigation
        ZUMMER                        ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19907 CARRILLO, TANYA                   VARIOUS                                    Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19908 CARRILLO, TANYA                         VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                     Litigation
        VASQUEZAMANDA LOCUTRO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19909 CARRINGTON, ELIZA                       VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 9130                                                                  Litigation
        SANTA ROSA, CA 95405          ACCOUNT NO.: NOT AVAILABLE


3.19910 CARROLL CHASE                           VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD,                                                        Litigation
        ESQ.MICHAEL H. ARTINIAN,      ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.19911 CARROLL CHASE                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                  Litigation
        C. AMAN, ESQ.WILLIAM P.       ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19912 CARROLL CHASE                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.19913 CARROLL, JESSICA                         VARIOUS                              Wildfire                UNDETERMINED
        2208 IRONBANK DR                                                              Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.19914 CARSON SCHULTE                           VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.19915 CARSON SCHULTE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19916 CARSON SCHULTE                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19917 CARSON SCHULTE                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19918 CARTER S. ROBINSON                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19919 CARTER S. ROBINSON                      VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19920 CARTER S. ROBINSON                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19921 CARTER S. ROBINSON                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19922 CARTER S. ROBINSON                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19923 CARTER SHIMMEL                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.19924 CARTER SHIMMEL                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19925 CARTER, JEANNE                           VARIOUS                              Wildfire                UNDETERMINED
        14045 ROSEWOOD LANE                                                           Litigation
        CLEARLAKE, CA 95422            ACCOUNT NO.: NOT AVAILABLE


3.19926 CARTER, TULLAH                           VARIOUS                              Wildfire                UNDETERMINED
        20 BALBOA AVE                                                                 Litigation
        VALLEJO, CA 95491              ACCOUNT NO.: NOT AVAILABLE


3.19927 CARVALHO, MARY                           VARIOUS                              Wildfire                UNDETERMINED
        1339 ST.FRANCIS ROAD                                                          Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19928 CARY SAULS                               VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH JOHN TURRI, SBN:                                                       Litigation
        181994ATTILA PANCZEL, SBN:     ACCOUNT NO.: NOT AVAILABLE
        250799
        INSURANCE LITIGATORS &
        COUNSELOR PLC
        445 NORTH STATE STREET
        UKIAH, CA 95482


3.19929 CARY SAULS                               VARIOUS                              Wildfire                UNDETERMINED
        LAWRENCE G. PAPALE, SBN:                                                      Litigation
        67068                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF LAWRENCE G.
        PAPALE
        THE CORNERSTONE
        BUILDING1308 MAIN STREET,
        SUITE 117
        ST. HELENA, CALIFORNIA 94574


3.19930 CARY, GINETTE                            VARIOUS                              Wildfire                UNDETERMINED
        364 LAS CASITAS CT                                                            Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.19931 CASANDRA SHERWOOD                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19932 CASANDRA SHERWOOD                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19933 CASANDRA SHERWOOD                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19934 CASANDRA SHERWOOD                        VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19935 CASE, VICTORENE                          VARIOUS                              Wildfire                UNDETERMINED
        104 CAROLYN DR                                                                Litigation
        AMERICAN CANYON, CA 94503      ACCOUNT NO.: NOT AVAILABLE


3.19936 CASEMENT, CAROLYN                        VARIOUS                              Wildfire                UNDETERMINED
        10 MEADOWGREEN CIR                                                            Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.19937 CASEY A BELCHER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19938 CASEY A BELCHER                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19939 CASEY A BELCHER                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19940 CASEY A BELCHER                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19941 CASEY A BELCHER                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19942 CASEY FOUTS                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.19943 CASEY FOUTS                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.19944 CASEY FOUTS                                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19945 Casey Goderum                                  VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.19946 CASEY GODERUM                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19947 CASEY GODERUM                                  VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.19948 CASEY STROMER                                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                            Litigation
        NO. 197687)                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19949 CASEY STROMER                              VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                          Litigation
        STATE BAR NO. 296841)PAIGE       ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19950 CASEY TAYLOR                               VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.19951 CASEY TAYLOR                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19952 CASEY TAYLOR                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.19953 CASEY TAYLOR                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19954 CASEY TAYLOR                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19955 CASEY YEAKEY                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.19956 CASEY YEAKEY                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.19957 CASEY, AMBER                             VARIOUS                              Wildfire                UNDETERMINED
        133 TRENT DR                                                                  Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.19958 CASHA, SUSAN J. AND THOMAS               VARIOUS                              Wildfire                UNDETERMINED
        K.                                                                            Litigation
        MIKE DANKOKRISTINE             ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.19959 CASHA, SUSAN J. AND THOMAS               VARIOUS                              Wildfire                UNDETERMINED
        K.                                                                            Litigation
        DARIO DE GHETALDI AMANDA       ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.19960 CASOLLA, ELIAS                           VARIOUS                              Wildfire                UNDETERMINED
        970 GLENWOOD DR                                                               Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.19961 CASPARY, BARBARA, RICKY,                VARIOUS                              Wildfire                UNDETERMINED
        AND NICHOLAS                                                                 Litigation
        ERIC RATINOFFGREG STUCK       ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP.
        401 WATT AVENUE, SUITE 1
        SACRAMENTO, CA 95864


3.19962 CASS, LYDIA                             VARIOUS                              Wildfire                UNDETERMINED
        2156 CREEKFIELD DR.                                                          Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.19963 CASSANDRA A DAVALLE-                    VARIOUS                              Wildfire                UNDETERMINED
        CHERVELLERA                                                                  Litigation
        MICHAEL A. KELLY              ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19964 CASSANDRA A DAVALLE-                    VARIOUS                              Wildfire                UNDETERMINED
        CHERVELLERA                                                                  Litigation
        STEVEN M. CAMPORA             ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19965 CASSANDRA A DAVALLE-                    VARIOUS                              Wildfire                UNDETERMINED
        CHERVELLERA                                                                  Litigation
        PATRICK MCNICHOLAS, ABN       ACCOUNT NO.: NOT AVAILABLE
        125868JUSTIN J. EBALLAR,
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19966 CASSANDRA A DAVALLE-                    VARIOUS                              Wildfire                UNDETERMINED
        CHERVELLERA                                                                  Litigation
        JOHN F. MCGUIREJ. DOMENIC     ACCOUNT NO.: NOT AVAILABLE
        MARTINI
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.19967 CASSANDRA A DAVALLE-                      VARIOUS                              Wildfire                UNDETERMINED
        CHERVELLERA                                                                    Litigation
        GERALD SINGLETONTERRY           ACCOUNT NO.: NOT AVAILABLE
        SINGLETONERIKA L.
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19968 CASSANDRA BRIDGES                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.19969 CASSANDRA BRIDGES                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.19970 CASSANDRA BRIDGES                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.19971 CASSANDRA BRIDGES                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.19972 CASSANDRA LEWIS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19973 CASSANDRA LEWIS                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.19974 CASSANDRA LEWIS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19975 CASSANDRA LEWIS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.19976 CASSANDRA LEWIS                            VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.19977 CASSEL, BRET TRAVIS; CASSEL,               VARIOUS                              Wildfire                UNDETERMINED
        CAROL LYNN                                                                      Litigation
        GERARD SINGLETONERIKA L.         ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19978 CASSEL, BRET TRAVIS; CASSEL,         VARIOUS                                    Wildfire                UNDETERMINED
        CAROL LYNN                                                                      Litigation
        CO-COUNSELDEMETRIOS A.       ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19979 CASSEL, BRET TRAVIS; CASSEL,               VARIOUS                              Wildfire                UNDETERMINED
        CAROL LYNN                                                                      Litigation
        ELLIOT ADLERBRITTANY             ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19980 CASSIDY KEMPTON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19981 CASSIDY KEMPTON                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.19982 CASSIDY KEMPTON                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.19983 CASSIDY KEMPTON                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19984 CASSIE GRIMALDO                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                      Litigation
        SBN: 110909ROBERT A.           ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.19985 CASTANEDA, IRMA                          VARIOUS                              Wildfire                UNDETERMINED
        2903 COMANCHE ST                                                              Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.19986 CASTELAIN, ADELA                       VARIOUS                              Wildfire                UNDETERMINED
        645 SUMMERFIELD RD.                                                         Litigation
        SANTA ROSA, CA 95405         ACCOUNT NO.: NOT AVAILABLE


3.19987 CASTILLO, DENISE                       VARIOUS                              Wildfire                UNDETERMINED
        4772 WARM SPRINGS                                                           Litigation
        GLEN ELLEN, CA 95442         ACCOUNT NO.: NOT AVAILABLE


3.19988 CASTILLO, GERARDO                 VARIOUS                                   Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                      Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.19989 CASTILLO, GERARDO                      VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                        Litigation
        ZUMMER                       ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.19990 CASTILLO, GERARDO                      VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                    Litigation
        VASQUEZAMANDA LOCUTRO        ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19991 CASTILLO, JANICE                       VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 662                                                                Litigation
        KENWOOD, CA 95452            ACCOUNT NO.: NOT AVAILABLE


3.19992 CASTO, ANA                             VARIOUS                              Wildfire                UNDETERMINED
        1447 LAKE ST                                                                Litigation
        CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.19993 CATALANA DETRO                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.19994 CATALANA DETRO                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.19995 CATALANA DETRO                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.19996 CATALANA DETRO                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.19997 CATALANA DETRO                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.19998 CATALINA LOPEZ LOPEZ                     VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.19999 CATALINA LOPEZ LOPEZ                     VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FINN     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.20000 CATALINA LOPEZ LOPEZ                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20001 CATALINA STANFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20002 CATALINA STANFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20003 CATALINA STANFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20004 CATALINA STANFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20005 CATALINA STANFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20006 CATALINA WETZEL                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. THOMPSON                                                            Litigation
        THOMPSON LAW OFFICES, P.C.     ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.20007 CATERINA PASSMORE                        VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20008 CATERINA PASSMORE                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20009 CATERINA PASSMORE                         VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.20010 CATHERINE ANN MONROE                      VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.20011 CATHERINE ANN MONROE                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.20012 CATHERINE ANN MONROE                      VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.20013 CATHERINE BURKE-GUNVALSEN          VARIOUS                                     Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.         ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.20014 CATHERINE BURKE-GUNVALSEN                 VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20015 Catherine Burke-Gunvalsen                      VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Sumble Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.20016 CATHERINE DORNAN                               VARIOUS                              Wildfire                UNDETERMINED
        DAVID P. MATTHEWS- PRO HAC                                                          Litigation
        VICE TO BE FILED                     ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES LAW
        FIRM
        290S SACKETT ST.
        HOUSTON, TEXAS 77098


3.20017 CATHERINE DORNAN                               VARIOUS                              Wildfire                UNDETERMINED
        MELVIN C. BELLI - BAR NO.                                                           Litigation
        111309ROBERT J.A. FORDIANI           ACCOUNT NO.: NOT AVAILABLE
        — BAR NO. 256041
        THE BELLI LAW FIRM
        33 MILLER AVE
        MILL VALLEY, CALIFORNIA 94941


3.20018 CATHERINE DORNAN                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20019 CATHERINE DORNAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20020 CATHERINE DORNAN                               VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                           Litigation
        160461)                              ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20021 CATHERINE FALLON                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20022 CATHERINE FALLON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20023 CATHERINE FALLON                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20024 CATHERINE FALLON                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20025 CATHERINE FALLON                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                       Litigation
        DOMENIC MARTINI               ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.20026 CATHERINE GRACE                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                      Litigation
        R. PARKINSONDANIEL E.         ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20027 CATHERINE GRACE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                           Litigation
        SIMMONS                          ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20028 CATHERINE GRACE                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                   Litigation
        DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.20029 CATHERINE GRACE                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                              Litigation
        FRIEDEMANN GOLDBERG LLP          ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.20030 CATHERINE HAWN                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20031 CATHERINE HAWN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20032 CATHERINE HAWN                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20033 CATHERINE HAWN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20034 CATHERINE HAWN                          VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                       Litigation
        SHEARJASON BOYER              ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.20035 CATHERINE JOHNSEN                       VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20036 CATHERINE JOHNSEN                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.20037 CATHERINE LISA DOLAN                    VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                    Litigation
        BAR #104975)                  ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.20038 CATHERINE LISA DOLAN                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADIDORIS              ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20039 CATHERINE MCKEON                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204COELL M. SIMMONS,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #292218
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20040 CATHERINE MCKEON                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20041 CATHERINE MCKEON                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.20042 CATHERINE MCKEON                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS, ESQ., #161563                                                   Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.20043 CATHERINE MCNAMEE                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20044 CATHERINE MCNAMEE                         VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREALISON E.                                                        Litigation
        CORDOVADONALD J.                ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.20045 CATHERINE MCNAMEE                           VARIOUS                              Wildfire                UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.20046 CATHERINE MCNAMEE                           VARIOUS                              Wildfire                UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.20047 CATHERINE MCNAMEE                           VARIOUS                              Wildfire                UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.20048 CATHERINE MERKEL                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                          Litigation
        COTCHETTALISON E.                 ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20049 CATHERINE MERKEL                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20050 CATHERINE NELSON                          VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.20051 CATHERINE NELSON                          VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.20052 CATHERINE NELSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20053 CATHERINE NELSON                          VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.20054 CATHERINE ROBERTS                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.20055 CATHERINE ROBERTS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20056 CATHERINE ROBERTS                        VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                      Litigation
        60768GAYLE M. BLATT, SBN       ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.20057 CATHERINE TARBOX                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20058 CATHERINE TARBOX                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20059 CATHERINE TARBOX                         VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20060 CATHERINE TARBOX                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20061 CATHERINE TARBOX                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20062 CATHIE FISHER                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20063 CATHIE FISHER                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.20064 CATHLEEN CROWLEY                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.20065 CATHLEEN CROWLEY                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.20066 CATHLEEN CROWLEY                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20067 CATHLEEN CROWLEY                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20068 CATHLEEN CROWLEY                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20069 CATHLEEN WILSON                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.20070 CATHLEEN WILSON                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.20071 CATHLEEN WILSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20072 CATHOLIC MUTUAL GROUP                    VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176) IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN 198917)

       BRETT J. SCHREIBER, ESQ.
       (SBN 239707)
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH AVENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.20073 CATHOLIC MUTUAL GROUP                    VARIOUS                              Wildfire                UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                       Litigation
        SBN                            ACCOUNT NO.: NOT AVAILABLE
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20074 CATHOLIC MUTUAL GROUP                    VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN 262319)                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DEBORAH S. DIXON (SBN
       248965) ROBERT J.
       CHAMBERS II (SBN 244688)
       DIXON DIAB & CHAMBERS LLP
       501 W. BROADWAY, SUITE 800
       SAN DIEGO, CA 92101


3.20075 CATHOLIC MUTUAL GROUP                    VARIOUS                              Wildfire                UNDETERMINED
        TAD S. SHAPIRO                                                                Litigation
        SHAPIRO GALVIN SHAPIRO &       ACCOUNT NO.: NOT AVAILABLE
        MORAN
        640 THIRD STREET, SECOND
        FLOOR
        SANTA ROSA, CA 95404


3.20076 CATHOLIC MUTUAL GROUP                    VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        58316)                         ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20077 CATHRYN HORNE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20078 CATHRYN HORNE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20079 CATHRYN HORNE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20080 CATHRYN HORNE                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20081 CATHRYNA L. ROBINSON                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.20082 CATHRYNA L. ROBINSON                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20083 CATHRYNA L. ROBINSON                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20084 CATHRYNA L. ROBINSON                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20085 CATHRYNA L. ROBINSON                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20086 CATHY ANN STEWART-LEMOS                  VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20087 CATHY ANN STEWART-LEMOS                  VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20088 CATHY ANN STEWART-LEMOS                  VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20089 CATHY ANN STEWART-LEMOS                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20090 CATHY FERENCE                           VARIOUS                              Wildfire                UNDETERMINED
        FRANCIS O. SCARPULLA                                                         Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       PATRICK B. CLAYTON
       LAW OFFICES OF FRANCIS O.
       SCARPULLA
       456 MONTGOMERY STREET,
       17TH FLOOR
       SAN FRANCISCO, CA 94104


3.20091 CATHY FERENCE                           VARIOUS                              Wildfire                UNDETERMINED
        QUENTIN L. KOPPFREDERICK                                                     Litigation
        P. FURTHDANIEL S. MASON       ACCOUNT NO.: NOT AVAILABLE

       THOMAS W. JACKSON
       FURTH SALEM MASON & LI LLP
       101 CALIFORNIA STREET, SUITE
       2710
       SAN FRANCISCO, CA 94111


3.20092 CATHY FERENCE                           VARIOUS                              Wildfire                UNDETERMINED
        EDWARD J. NEVIN, JR.                                                         Litigation
        LAW OFFICES OF EDWARD J.      ACCOUNT NO.: NOT AVAILABLE
        NEVIN
        396 WINDMILL LANE
        PETALUMA, CA 94954


3.20093 CATHY FERENCE                           VARIOUS                              Wildfire                UNDETERMINED
        JEREMIAH F. HALLISEY                                                         Litigation
        HALLISEY AND JOHNSON, PC      ACCOUNT NO.: NOT AVAILABLE
        465 CALIFORNIA STREETM
        SUITE 405
        SAN FANCISCO, CA 94104-1812


3.20094 CATHY FERENCE                           VARIOUS                              Wildfire                UNDETERMINED
        TAD S. SHAPIRO                                                               Litigation
        SHAPIRO, GALVIN, SHAPIRO &    ACCOUNT NO.: NOT AVAILABLE
        MORGAN
        640 THIRD STREET
        SANTA ROSA, CA 95404


3.20095 CATHY FERENCE                           VARIOUS                              Wildfire                UNDETERMINED
        FRANKLIN D. AZARHUGH                                                         Litigation
        ZACHARY BALKIN                ACCOUNT NO.: NOT AVAILABLE
        FRANKLIN D. AZAR &
        ASSOCIATES, P.C.
        14426 EAST EVANS AVENUE
        AURORA, CO 80014




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